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 1                   IN THE UNITED STATES DISTRICT COURT FOR

 2                      THE EASTERN DISTRICT OF LOUISIANA

 3                                 AT NEW ORLEANS

 4
     KURIAN DAVID, et al.,                     )
 5                                             )
                Plaintiffs,                    )
 6                                             )
                            v.                 )   Case No. 08-1220;
 7                                             )   12-557; 13-6218 "E"
     SIGNAL INTERNATIONAL, LLC, et al.,        )   January 30, 2015
 8                                             )   Jury Trial
                      Defendant.               )   Day Thirteen, AM Session
 9                                             )
     RELATED CASE:                             )   Daily Copy Transcript
10                                             )
     EQUAL EMPLOYMENT OPPORTUNITY              )
11   COMMISSION,                               )
                                               )
12                          Plaintiff,         )
                                               )
13              v.                             )
                                               )
14   SIGNAL INTERNATIONAL, LLC, et al.,        )
                                               )
15                          Defendants.        )
     RELATED CASE:                             )
16                                             )
     LAKSHMANAN PONNAYAN ACHARI, et al.,       )
17                                             )
                            Plaintiff,         )
18                                             )
                v.                             )
19                                             )
     SIGNAL INTERNATIONAL, LLC, et al.,        )
20                                             )
                            Defendant.         )
21                                             )
                                               )
22   APPLIES TO:     DAVID (08-1220)           )

23
                            TRANSCRIPT OF PROCEEDINGS
24
                        BEFORE THE HONORABLE SUSIE MORGAN
25
                          UNITED STATES DISTRICT JUDGE

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10                                         of MISSISSIPPI
                                         J&M MARINE & INDUSTRIAL, LLC
11                                       BILLY R. WILKS
                                         INDO-AMERI SOFT, LLC
12                                       KURELLA RAO

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 3
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 4             (Deposition Read Into Record)

 5        THOMAS CAFFREY                             2579
               (Deposition Read Into Record)
 6
          RAMESH GUNISETTI                           2589
 7             Direct by Ms. Bollman

 8

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 1            NEW ORLEANS; LOUISIANA; FRIDAY, JANUARY 30, 2015

 2                                     8:20 A.M.

 3               THE COURT:   Good morning.    Mr. Rabbani, I think you had        08:23AM


 4   some exhibits that you wanted me to look at.                                  08:23AM


 5               MR. RABBANI:   Yes, Your Honor.      Demonstrative aids.          08:23AM


 6               THE COURT:   So these are photographs that were not on            08:23AM


 7   the exhibit list.                                                             08:23AM


 8               MR. RABBANI:   Your Honor, it's actually physical                 08:23AM


 9   evidence that we have at our office.          The safety sign is a            08:23AM


10   little bit bigger than that white board, and it's made of                     08:23AM


11   aluminum, so I didn't want to bring it down here if Your Honor                08:24AM


12   wasn't going to let us use it.                                                08:24AM


13               THE COURT:   So these are photographs of the physical             08:24AM


14   evidence.                                                                     08:24AM


15               MR. RABBANI:   Yes.                                               08:24AM


16               THE COURT:   And were photographs of either the evidence          08:24AM


17   or photographs produced during discovery?                                     08:24AM


18               MR. RABBANI:   Your Honor, I can't give you an answer             08:24AM


19   for certain.    I'm not sure if they were or they were not.                   08:24AM


20                    They were?                                                   08:24AM


21               THE COURT:   And they're not -- the photographs are not           08:24AM


22   on the exhibit list?                                                          08:24AM


23               MR. RABBANI:   The photographs are not on the exhibit             08:24AM


24   list.                                                                         08:24AM


25                    Our thought was that we would use them as                    08:24AM




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 1   demonstrative aids in order to help the witness relay                         08:24AM


 2   information to the jury so that that information was more                     08:24AM


 3   understandable for the jury.                                                  08:24AM


 4                   A respirator is something that actually I didn't              08:24AM


 5   even know what it was until it became an issue.         And we have a         08:24AM


 6   fear that perhaps the jury won't understand what a respirator                 08:24AM


 7   is, without actually seeing it and having someone discuss what                08:25AM


 8   it is.                                                                        08:25AM


 9                   The safety sign as well is written in another                 08:25AM


10   language, it's in Hindi.     A lot of the jurors, I assume, are               08:25AM


11   unfamiliar with the language.      And it would be helpful for the            08:25AM


12   jury to understand the sign if they were able to see the symbols              08:25AM


13   as they relate to the English word on those signs.                            08:25AM


14                   And the safety license, Your Honor, is something              08:25AM


15   that, again, unless you're in the industry -- and Signal is one               08:25AM


16   of the only shipyards in the country, as far as I'm aware, that               08:25AM


17   has something like this, an actual license the size of a                      08:25AM


18   driver's license that would allow a worker to stop work if they               08:25AM


19   see a dangerous situation.      That's also something that the jury           08:25AM


20   may not be familiar with.     The thought is that perhaps we could            08:25AM


21   show them it on the Elmo, and they could see the language and                 08:25AM


22   understand the process.                                                       08:25AM


23             THE COURT:    And who are you going to use these with?              08:25AM


24             MR. RABBANI:    Mr. Terry Eley.     He's the safety manager         08:26AM


25   at the Signal's Mississippi yard.       He is the person on the               08:26AM




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 1   ground, actually on the yard, that's over all of safety at                    08:26AM


 2   Signal.                                                                       08:26AM


 3             THE COURT:    Okay, Mr. Werner.                                     08:26AM


 4             MR. WERNER:    Your Honor, these are physical exhibits.             08:26AM


 5   These are not demonstratives.                                                 08:26AM


 6                   And this has happened before, where Signal is                 08:26AM


 7   trying to make an end-run around not including exhibits on their              08:26AM


 8   exhibit list.                                                                 08:26AM


 9                   The sign is substantive.      It's not a demonstration        08:26AM


10   of what the Hindi language looks like.        It's a substantive              08:26AM


11   safety sign that just simply was not on the exhibit list.           And       08:26AM


12   it shouldn't -- they shouldn't be able to present it to the jury              08:26AM


13   or show it to the jury without including it as an exhibit.                    08:26AM


14             THE COURT:    Well, were either these photographs or the            08:26AM


15   objects themselves produced during discovery?                                 08:26AM


16             MR. WERNER:    Not that I'm aware of, no, Your Honor.               08:27AM


17                   And I would note as well, the safety license is               08:27AM


18   exactly what -- I believe it was Mr. Shouse tried to take out of              08:27AM


19   his wallet, you know, and show the jury.        And, obviously, he            08:27AM


20   wasn't allowed to do so for the very same reasons, because it                 08:27AM


21   wasn't on the exhibit list.                                                   08:27AM


22             MR. RABBANI:    Your Honor, if I may, but the safety                08:27AM


23   license was absolutely used in depositions.            Almost -- and I can    08:27AM


24   say this with a high degree of certainty -- almost every single               08:27AM


25   plaintiff saw the safety license and identified the safety                    08:27AM




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 1   license in their depositions, and they were entered as exhibits               08:27AM


 2   in those depositions.                                                         08:27AM


 3                    We have a safety sign on the bench book.        I            08:27AM


 4   believe it's 1872.       It's a longer sign.   It's a Hindi sign and          08:27AM


 5   an American signed, I think the word Always.           And then another       08:27AM


 6   maybe a Spanish sign.       That is on the bench book.                        08:27AM


 7   This is a blowup, an actual physical sign that we took down off               08:27AM


 8   the wall.                                                                     08:27AM


 9               THE COURT:    So you have available to you photographs of         08:28AM


10   other safety signs?                                                           08:28AM


11               MR. RABBANI:    We do.   But this particular safety sign          08:28AM


12   that is in the bench book is exclusively in Hindi.          And the           08:28AM


13   letters are, for instance, that big.       And there is no                    08:28AM


14   translation next to the symbols, the Hindi symbols.                           08:28AM


15                    But, on this photograph and in the actual physical           08:28AM


16   sign, it's the English language and then the Hindi.           So you know     08:28AM


17   that the -- what is in Hindi is actually represented above in                 08:28AM


18   English.    It's the same idea.                                               08:28AM


19               THE COURT:    Okay.   Well, I'm not going to -- the               08:28AM


20   concept is, you list the things that you're going to use during               08:28AM


21   trial in your exhibit list, and these were not listed on the                  08:28AM


22   exhibit list.    So I'm going to exclude them.                                08:28AM


23               MR. WERNER:    Thank you, Your Honor.                             08:28AM


24               MR. RABBANI:    Thank you, Your Honor.                            08:28AM


25               THE COURT:    The objection is sustained.                         08:28AM




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 1                   Anyone else?                                                   08:28AM


 2             MR. RYDBERG:     Good morning, Your Honor.     I just came           08:29AM


 3   over in case anyone wanted the update on Ms. Hangartner.                       08:29AM


 4             THE COURT:    We would like to hear.                                 08:29AM


 5             MR. RYDBERG:     First of all, she thanks you and all                08:29AM


 6   counsel for their good wishes.                                                 08:29AM


 7                   She was released from the hospital last night.                 08:29AM


 8   She has not been released from her doctor's care.         She is not           08:29AM


 9   able to return to work yet.                                                    08:29AM


10                   They believe she had not really a full-blown                   08:29AM


11   stroke, as I understand it -- and I'm out of my depth here --                  08:29AM


12   but what's called a transient ischemic attack.                                 08:29AM


13                   So it was probably dehydration, coupled with the               08:29AM


14   effect of some medication she was taking that lowered her heart                08:29AM


15   rate, so she wasn't getting enough blood to her brain.                         08:29AM


16   Hopefully, she'll be back soon, but it won't be today.          I don't        08:29AM


17   know about by Monday.     But anyway ...                                       08:29AM


18             THE COURT:    Well, that's all good news.                            08:29AM


19             MR. RYDBERG:     It is.                                              08:29AM


20             THE COURT:    I'm so pleased, and just tell her we're                08:29AM


21   still thinking about her and hope she's better soon.                           08:29AM


22             MR. RYDBERG:     Thank you.    I will.                               08:29AM


23             THE COURT:    All right.    So let's bring in the jury.              08:30AM


24             CASE MANAGER:     We have some exhibits.                             08:30AM


25             THE COURT:    We need to catch up on our exhibits from               08:30AM




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 1   yesterday and the day before.                                                  08:30AM


 2                   We have John Sanders' exhibits.                                08:30AM


 3                   Does anyone have those for Signal?                             08:30AM


 4              MS. BOLLMAN:    I have a list here, Your Honor.      I'm            08:31AM


 5   sorry.                                                                         08:31AM


 6                   1775, 1016, 1130, 364, 187, 730 --                             08:31AM


 7              THE COURT:   Slow down a little.                                    08:31AM


 8              MS. BOLLMAN:    I'm sorry.                                          08:31AM


 9                   730, okay?     1954, 1985.    Signal would like to             08:31AM


10   offer and introduce into evidence those exhibits from Mr.                      08:31AM


11   Sanders.                                                                       08:31AM


12              THE COURT:   Any objection?                                         08:31AM


13                   Those are admitted.                                            08:31AM


14              CASE MANAGER:     I have two more, Judge.                           08:31AM


15              THE COURT:   Let's check on these two.                              08:31AM


16              CASE MANAGER:     1096.                                             08:31AM


17              MS. BOLLMAN:    I don't have it on the list.                        08:31AM


18              THE COURT:   During Signal's?      Or maybe it was somebody         08:31AM


19   else?                                                                          08:31AM


20              MS. BOLLMAN:    Oh, yes, I'm sorry.      That was from              08:31AM


21   yesterday.    I apologize.                                                     08:31AM


22                   1096 and 1367.                                                 08:31AM


23              CASE MANAGER:     And 1775.                                         08:31AM


24              MS. BOLLMAN:    I said that second one, 1775.                       08:32AM


25              CASE MANAGER:     Okay.                                             08:32AM




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 1              THE COURT:    All right.   Those are admitted.                      08:32AM


 2                    (Exhibits admitted.)                                          08:32AM


 3              THE COURT:    Do have plaintiffs have any additional for            08:32AM


 4   John Sanders?                                                                  08:32AM


 5              MR. HOWARD:    No.    I think they have covered all of              08:32AM


 6   them.                                                                          08:32AM


 7              MR. CERNIGLIA:    Nothing further, Your Honor.                      08:32AM


 8              THE COURT:    All right.   So that takes care of John               08:32AM


 9   Sanders.                                                                       08:32AM


10                    Hemant Khuttan exhibits?                                      08:32AM


11              MR. HOWARD:    Your Honor, the person who has our list of           08:32AM


12   exhibits to Mr. Khuttan and the other witnesses is not in court                08:32AM


13   right now.     Can we get those to you on the next break?                      08:32AM


14              THE COURT:    Okay.   We'll do those.                               08:32AM


15                    And then Mr. Shouse's exhibits?                               08:32AM


16              MR. HOWARD:    The same for us.                                     08:32AM


17              THE COURT:    So we'll do Khuttan, Shouse and Cochran at            08:32AM


18   the break.     And then by that time we'll be ready to do Mr.                  08:32AM


19   Killen also.                                                                   08:32AM


20              MR. HOWARD:    Perfect.                                             08:32AM


21              MR. RYDBERG:    I think I can save just a little time               08:32AM


22   with Cochran.     The only exhibits were 710 and 696.       And those          08:32AM


23   were already in, I believe.                                                    08:32AM


24              THE COURT:    Of course, the plaintiffs, you need to                08:32AM


25   check to see if you have any?                                                  08:32AM




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 1             MR. HOWARD:     Exactly.                                             08:32AM


 2             CASE MANAGER:     I have that they used one.                         08:33AM


 3             THE COURT:    Okay.    So we'll do all of those at the               08:33AM


 4   first break.                                                                   08:33AM


 5                    And then I understand there are some exhibits -- I            08:33AM


 6   think Mr. Roux sent us some exhibits that we need to discuss.                  08:33AM


 7   And so he asked if we could have oral argument over the lunch                  08:33AM


 8   break.   And so what we'll do is, fifteen minutes before the jury              08:33AM


 9   is supposed to come back, we'll discuss those exhibits                         08:33AM


10             MR. RABBANI:     Yes, Your Honor.     I'll let Mr. Roux know.        08:33AM


11             THE COURT:    Thank you.                                             08:33AM


12                    So now we're ready.                                           08:33AM


13                    (Jury enters.)                                                08:35AM


14             THE COURT:    Be seated.    Good morning, ladies and                 08:35AM


15   gentlemen of the jury.                                                         08:35AM


16                    We were -- where we left on Wednesday, Mr. Pat                08:35AM


17   Killen was on the stand, and he's returning this morning.                      08:35AM


18   Mr. Killen, you're still under oath.                                           08:35AM


19                               CROSS EXAMINATION                                  08:35AM


20   BY MR. WERNER:                                                                 08:35AM


21   Q    Good morning, Mr. Killen.                                                 08:36AM


22   A    Good morning, sir.                                                        08:36AM


23   Q    My name is Dan Werner.     I'm one of the attorneys for the               08:36AM


24   plaintiffs in this case.                                                       08:36AM


25                    And, if you remember, we attended a deposition                08:36AM




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 1   together back in June of last year.                                            08:36AM


 2   A    Yes, sir.                                                                 08:36AM


 3   Q    And, during that deposition, you swore to tell the truth; is              08:36AM


 4   that correct?                                                                  08:36AM


 5   A    Yes, sir.                                                                 08:36AM


 6   Q    And you had an opportunity to review and make any                         08:36AM


 7   corrections to the transcript?                                                 08:36AM


 8   A    Yes, sir.                                                                 08:36AM


 9   Q    Now, I'd like to start out this morning talking a little bit              08:36AM


10   about how injuries are handled at Signal.                                      08:36AM


11                    First, can you remind the jury, you are the                   08:36AM


12   director of Environmental Health and Safety at Signal?                         08:36AM


13   A    Yes, sir.                                                                 08:36AM


14   Q    And, on Wednesday, you testified about Signal's safety                    08:36AM


15   record; correct?                                                               08:37AM


16   A    Correct.                                                                  08:37AM


17   Q    And you said it was one of the best in the industry?                      08:37AM


18   A    Yes, sir.   In the marine industry, yes, sir.                             08:37AM


19   Q    And this was based on OSHA reportables, which means                       08:37AM


20   incidents in which there was some kind of treatment, as opposed                08:37AM


21   to just diagnostics, like an x-ray?                                            08:37AM


22   A    Yes, sir.   That's correct.                                               08:37AM


23   Q    And there has also been some testimony this week about                    08:37AM


24   Signal's safety bonus program.       And, as I understand it, the              08:37AM


25   safety bonus program was an hourly rate that was paid to certain               08:37AM




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 1   workers?                                                                       08:37AM


 2   A    Yes, sir.   Fundamentally, yes, sir.                                      08:37AM


 3   Q    And so it was like 25 or 35 cents an hour that they would                 08:37AM


 4   get over the course of a month if they were eligible for the                   08:37AM


 5   bonus?                                                                         08:37AM


 6   A    Yes, sir.   It was a tiered structured program.        The                08:37AM


 7   employees would get one rate, a supervisor who had more                        08:37AM


 8   responsibility would get maybe like a nickel more, you know.                   08:37AM


 9   And up the line, yes, sir.                                                     08:38AM


10   Q    So, if a worker was getting, say, 25 cents an hour as a                   08:38AM


11   safety bonus and was eligible for that safety bonus, and that                  08:38AM


12   worker worked 200 hours in a month, that worker would get a $50                08:38AM


13   safety bonus check at the end of the month?                                    08:38AM


14   A    Not good with math; but yes, sir.                                         08:38AM


15   Q    And the workers liked getting those checks?                               08:38AM


16   A    Yes, sir.                                                                 08:38AM


17   Q    I think in your deposition you called them a no-mama check?               08:38AM


18   A    Yes, sir.                                                                 08:38AM


19   Q    What did that refer to?                                                   08:38AM


20   A    It was a separated check from their payroll check.           It           08:38AM


21   wasn't a regular check.      So it was just kind of cliche, the guys           08:38AM


22   would say:    It's a no-mama check because mama don't know nothing             08:38AM


23   about it.    They'd go buy fishing rods and all that kind of                   08:38AM


24   stuff.                                                                         08:38AM


25   Q    And the way the safety bonus program was set up, if a worker              08:38AM




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 1   had -- if a worker, an individual worker had a safety violation,               08:38AM


 2   that worker would not get the safety bonus for the month?                      08:39AM


 3   A    Not a violation, sir.     Would be an OSHA recordable.                    08:39AM


 4   Q    Well, as I understood it -- and I believe you testified                   08:39AM


 5   about this during your deposition -- there were two ways that                  08:39AM


 6   somebody could lose their eligibility for the safety bonus:                    08:39AM


 7                    First would be an individual worker having a                  08:39AM


 8   safety violation, that individual worker would lose eligibility?               08:39AM


 9   A    A written -- I want to specify, a written safety violation,               08:39AM


10   yes, sir.                                                                      08:39AM


11   Q    Okay.   Understood.    A written safety violation.                        08:39AM


12   A    Yes, sir.                                                                 08:39AM


13   Q    And then the second way that a safety bonus could be lost                 08:39AM


14   would be if there was an OSHA reportable by any worker on a                    08:39AM


15   crew, the entire crew would lose the safety bonus, as well as                  08:39AM


16   the supervisor would lose his safety bonus?                                    08:39AM


17   A    Yes, sir.   That's correct.                                               08:40AM


18   Q    So, if a worker went to the doctor and received treatment                 08:40AM


19   that made it an OSHA reportable, you could imagine that some of                08:40AM


20   his coworkers might become irked because they would lose their                 08:40AM


21   safety bonus for the month.                                                    08:40AM


22   A    That would be subjective, sir.                                            08:40AM


23   Q    But you could imagine a scenario where that would happen?                 08:40AM


24   A    That's a possibility, yes, sir.                                           08:40AM


25   Q    And, the fewer reportables, the cheaper Signal's insurance;               08:40AM




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 1   is that right?                                                                 08:40AM


 2   A      Yes, sir.                                                               08:40AM


 3   Q      Okay.                                                                   08:40AM


 4                       And, the fewer reportables, the more safety awards         08:40AM


 5   Signal gets?                                                                   08:40AM


 6   A      I'm sorry?                                                              08:40AM


 7   Q      The more safety awards Signal gets?                                     08:40AM


 8   A      Yes, sir.                                                               08:40AM


 9   Q      I'd like to ask you a little bit about the first aid                    08:40AM


10   station.       I believe you testified about that on Wednesday.                08:40AM


11   A      Yes, sir.    I did.                                                     08:40AM


12   Q      And first, to be clear, the first aid station is in the                 08:40AM


13   yard; is that correct?                                                         08:41AM


14   A      Correct, yes, sir.                                                      08:41AM


15   Q      It's not at the man camp?                                               08:41AM


16   A      No, sir.    It's at the front gate.                                     08:41AM


17   Q      And it's not a health clinic.       This isn't like the Minute          08:41AM


18   Clinic or something like that.         It's a first aid station.               08:41AM


19   A      Correct, sir.                                                           08:41AM


20   Q      And it's the place where workers go if they get hurt on the             08:41AM


21   job?                                                                           08:41AM


22   A      Initially, yes, sir.                                                    08:41AM


23                       And let me clarify.    If the injury is a minor            08:41AM


24   issue.    If, you know, it's a severe injury, we definitely take               08:41AM


25   them straight to the -- or we call 911.                                        08:41AM




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 1   Q    Fair enough.                                                              08:41AM


 2                    And, if someone had the flu, they would go to the             08:41AM


 3   doctor in town.     They wouldn't go to the first aid station.                 08:41AM


 4   A    Not necessarily, sir.                                                     08:41AM


 5   Q    And, in fact, if somebody got sick on the job, the protocol               08:41AM


 6   would really be that they would tell their foreman, say:           I'm         08:41AM


 7   feeling sick, I need to go home, but that wouldn't be reported                 08:41AM


 8   to medical?                                                                    08:42AM


 9   A    Correct, sir.                                                             08:42AM


10   Q    And, if a worker got hurt on the job and was patched up at                08:42AM


11   Signal at the first aid station, that would not count as an OSHA               08:42AM


12   recordable?                                                                    08:42AM


13   A    We can't patch anyone up, sir, at first aid.                              08:42AM


14   Q    But if somebody had an injury, say, that required a bandage,              08:42AM


15   that would not be an OSHA recordable?                                          08:42AM


16   A    Correct, yes, sir.                                                        08:42AM


17   Q    But if a worker had, say, some kind of a laceration and went              08:42AM


18   into town to go to the doctor, and that laceration required some               08:42AM


19   kind of treatment, that would be an OSHA reportable?                           08:42AM


20   A    Yes, sir.    Yes, sir.                                                    08:42AM


21   Q    So Signal's preference, therefore, would be that somebody                 08:42AM


22   who received an injury would first go to the first aid station                 08:42AM


23   to receive treatment so that they would avoid it being an OSHA                 08:43AM


24   reportable?                                                                    08:43AM


25   A    We don't have a preference in that, sir.           The employee makes     08:43AM




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 1   that decision.                                                                 08:43AM


 2   Q    But the purpose of the first aid station was to treat                     08:43AM


 3   injuries that occurred at the workplace, and part of the purpose               08:43AM


 4   of that was hopefully to prevent an OSHA reportable from                       08:43AM


 5   happening?                                                                     08:43AM


 6   A    No, sir.    That's not correct.                                           08:43AM


 7                    The first aid station is not a treatment center to            08:43AM


 8   prevent any OSHA recordable.       It's to kind of help in the minor           08:43AM


 9   headaches, band-aids, washing the eyes out.             It's not meant to      08:43AM


10   prevent quote-unquote an OSHA recordable.         We just don't handle         08:43AM


11   it that way.                                                                   08:44AM


12   Q    But it probably did prevent some OSHA recordables?                        08:44AM


13   A    Oh, I'm sure.    Absolutely.                                              08:44AM


14   Q    And again, the fewer OSHA reportables, the cheaper Signal's               08:44AM


15   insurance, and the more safety awards Signal gets?                             08:44AM


16   A    Yes, sir.                                                                 08:44AM


17   Q    And to be clear, if one of the Indian H-2B workers fell ill               08:44AM


18   at the man camp, that's not what the first aid station was for?                08:44AM


19   A    No, sir.                                                                  08:44AM


20   Q    Earlier this week, the jury was read from John Sanders'                   08:44AM


21   diary where he described the Indian H-2B workers at the man camp               08:44AM


22   as dropping from sickness like flies, and he talked about the                  08:44AM


23   man camp as a bacterial breeding ground.                                       08:44AM


24                    At the man camp, there wouldn't be any efforts to,            08:44AM


25   say, quarantine a worker who fell ill from the rest of the                     08:45AM




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 1   workers?                                                                       08:45AM


 2   A    Not to my knowledge, no, sir.                                             08:45AM


 3   Q    That wouldn't have fallen under your department?                          08:45AM


 4   A    No, sir.                                                                  08:45AM


 5   Q    Even though it's a health issue?                                          08:45AM


 6   A    Yes.   Yes, sir.                                                          08:45AM


 7   Q    At Signal's facility?                                                     08:45AM


 8   A    Yes, sir.                                                                 08:45AM


 9   Q    And the workers were paid to live and to eat at Signal's                  08:45AM


10   facility?                                                                      08:45AM


11   A    Yes, sir.                                                                 08:45AM


12   Q    And yet, you did view it as a concern for your department,                08:45AM


13   which is the health and safety department, that somebody might                 08:45AM


14   have had a communicable illness, living in quarters with                       08:45AM


15   twenty-four other men, at a man camp with hundreds of men that                 08:45AM


16   was on Signal's facility?                                                      08:45AM


17   A    No, sir.    It was a separate issue.                                      08:45AM


18   Q    So you didn't feel like that was something your department                08:45AM


19   needed to be concerned about?                                                  08:45AM


20   A    No, sir.    Not necessarily.                                              08:45AM


21               MR. WERNER:   I'd like to pull up Exhibit 1105, please.            08:46AM


22   BY MR. WERNER:                                                                 08:46AM


23   Q    I'm going to show you some pictures from Signal's man camp                08:46AM


24   kitchen.    I want to just ask, do these -- looking at this                    08:46AM


25   picture as a health and safety director, do these conditions                   08:46AM




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 1   look clean and safe to you?                                                    08:46AM


 2   A    No, sir.                                                                  08:46AM


 3             MR. WERNER:    Let's look at 1104.                                   08:46AM


 4   BY MR. WERNER:                                                                 08:46AM


 5   Q    Does this -- do the conditions in this picture look clean                 08:46AM


 6   and safe to you?                                                               08:46AM


 7   A    No, sir.    It's dirty.                                                   08:46AM


 8             MR. WERNER:    And let's look at 1102.                               08:46AM


 9   BY MR. WERNER:                                                                 08:46AM


10   Q    Do these conditions look clean and safe to you?                           08:46AM


11   A    Once again, no, sir.                                                      08:46AM


12   Q    And, yet, you did nothing to remedy this?                                 08:46AM


13   A    It was not under my responsibility, sir.                                  08:47AM


14             MR. WERNER:    Let's look at Exhibit 1191, please.                   08:47AM


15   BY MR. WERNER:                                                                 08:47AM


16   Q    Do you recognize this image?                                              08:47AM


17   A    Yes, sir.                                                                 08:47AM


18   Q    I believe you looked at it on Wednesday?                                  08:47AM


19   A    Yes, sir.                                                                 08:47AM


20   Q    And this is an image of Signal's Pascagoula Greenwood Island              08:47AM


21   yard; is that correct?                                                         08:47AM


22   A    Yes, sir, that's correct.                                                 08:47AM


23   Q    And you told the jury on Wednesday that the --                            08:47AM


24                    Actually, could you circle the administrative                 08:47AM


25   building again, please?                                                        08:47AM




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 1   A    Yes, sir.                                                                 08:47AM


 2   Q    And why don't you go ahead and circle the man camp as well.               08:47AM


 3   A    (Witness complies.)                                                       08:47AM


 4   Q    And you told the jury on Wednesday that both the                          08:47AM


 5   administrative building and the labor camp were built on top of                08:47AM


 6   a lead-contaminated site?                                                      08:48AM


 7   A    Formerly lead-contaminated site, yes, sir.                                08:48AM


 8   Q    And the administrative building is -- looking at this image,              08:48AM


 9   it's about the same size as the man camp; is that right?                       08:48AM


10   A    Yes, sir.                                                                 08:48AM


11   Q    And how many people worked in the administration building?                08:48AM


12   A    I have no idea.                                                           08:48AM


13   Q    Is it less than fifty?                                                    08:48AM


14   A    We fluctuate, sir, greatly.      So I have no idea.                       08:48AM


15   Q    Okay.                                                                     08:48AM


16                    It's going to be less than 100?                               08:48AM


17   A    No.    Not necessarily.    It could be more than 100.                     08:48AM


18   Q    There aren't 250 to 300 people working in the administration              08:48AM


19   building?                                                                      08:48AM


20   A    No, sir.    There's not.                                                  08:48AM


21   Q    There were 250 to 300 people living in the man camp?                      08:48AM


22   A    Yes, sir.                                                                 08:48AM


23   Q    People didn't sleep in the administration building?                       08:48AM


24   A    No, sir.                                                                  08:48AM


25   Q    Or, at least, they shouldn't have?                                        08:48AM




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 1   A    Yeah.   We hope not.                                                      08:49AM


 2   Q    They didn't prepare their meals there, except maybe throwing              08:49AM


 3   their lunch in the microwave?                                                  08:49AM


 4   A    Correct.                                                                  08:49AM


 5   Q    And they didn't shower there every day?                                   08:49AM


 6   A    No, sir.                                                                  08:49AM


 7   Q    Now, you told the jury on Wednesday that the clay cap over                08:49AM


 8   this lead-contaminated material was not breached during the                    08:49AM


 9   construction of the man camp; is that correct?                                 08:49AM


10   A    That was my understanding, yes, sir.                                      08:49AM


11   Q    That was your understanding.                                              08:49AM


12                    But your understanding was that, in order to                  08:49AM


13   breach the clay clap, a dig would have to go all the way through               08:49AM


14   the clay cap and actually hit the contaminated material; is that               08:50AM


15   correct?                                                                       08:50AM


16   A    Correct, sir.                                                             08:50AM


17   Q    So, if there was even a millimeter of clay between the                    08:50AM


18   contaminated material and the hole, you would not consider that                08:50AM


19   to be a breach of the clay cap?                                                08:50AM


20   A    Yes, sir.                                                                 08:50AM


21   Q    And, in preparation for your deposition last June, you                    08:50AM


22   really for the first time you tried to look up what a breach                   08:50AM


23   technically would be?                                                          08:50AM


24   A    Correct.    Yes, sir.                                                     08:50AM


25   Q    And you couldn't find an answer?                                          08:50AM




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 1   A    No, sir, I didn't.                                                        08:50AM


 2   Q    And you never asked anybody at the Mississippi Department of              08:50AM


 3   Environmental Quality at any time:        What is a breach?                    08:50AM


 4   A    No, sir, I didn't.                                                        08:50AM


 5   Q    Wednesday, you testified also about the sewage lift station               08:50AM


 6   and the concerns that that was breaching -- that that might                    08:51AM


 7   breach the clay cap?                                                           08:51AM


 8   A    Yes, sir.                                                                 08:51AM


 9   Q    And the jury was shown some plans showing that the sewage                 08:51AM


10   lift station went almost all the way through the clay cap but                  08:51AM


11   didn't breach it by your definition.                                           08:51AM


12   A    I don't know if it went to the clay cap.           But it didn't          08:51AM


13   breach the cap, no, sir.                                                       08:51AM


14   Q    But the jury was not told that there was an identical issue               08:51AM


15   with the grease trap for the kitchen -- I think that was                       08:51AM


16   something that we saw a picture of earlier, one of the kitchen                 08:51AM


17   pictures -- at the labor camp?                                                 08:51AM


18   A    I have no idea about the grease trap, sir.                                08:51AM


19             MR. RABBANI:     Your Honor, objection.                              08:52AM


20                    Can we have a sidebar, please?                                08:52AM


21             THE COURT:    I'm sorry?                                             08:52AM


22             MR. RABBANI:     Sidebar, please.                                    08:52AM


23             THE COURT:    All right.    Approach.                                08:52AM


24                    (Sidebar conference.     Jury not present.)                   08:52AM


25             MR. RABBANI:     I believe Your Honor has already ruled              08:52AM




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 1   that the plaintiffs should not be using the term labor camp.                   08:52AM


 2             THE COURT:    No.   I denied that motion in limine.         But      08:52AM


 3   what they were referring to is that I'm trying to have you call                08:52AM


 4   things the same thing, to be consistent.         So I said -- I                08:52AM


 5   requested that they call it the man camp just for consistency,                 08:52AM


 6   not because I think labor camp is prejudicial.                                 08:52AM


 7             MR. WERNER:    And I'm certainly not -- that's just what             08:52AM


 8   blows off of the top.     I'll call it man camp from now on.                   08:52AM


 9             THE COURT:    Thank you.                                             08:52AM


10                    (Sidebar concluded.     Jury now present.)                    08:53AM


11             MR. WERNER:    Why don't we go ahead and pull up 855,                08:53AM


12   please.                                                                        08:53AM


13   BY MR. WERNER:                                                                 08:53AM


14   Q    Now, discussing this grease trap --                                       08:53AM


15             MR. WERNER:    And why don't you go ahead and zoom in on             08:53AM


16   the middle email.                                                              08:53AM


17             MR. RABBANI:     Objection, Your Honor.       Foundation.            08:53AM


18             THE COURT:    Sustained.                                             08:53AM


19   BY MR. WERNER:                                                                 08:53AM


20   Q    You were not aware that there was a similar issue with the                08:53AM


21   grease trap at the man camp until your June 24, 2014 deposition?               08:53AM


22   A    Yes, sir.                                                                 08:54AM


23   Q    And nobody ever consulted you, as director of environmental               08:54AM


24   safety and health -- I should say Environmental Health and                     08:54AM


25   Safety, don't want to get that backwards -- to ask whether that                08:54AM




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 1   particular breach was okay?                                                    08:54AM


 2   A    No, sir.    I don't recall.                                               08:54AM


 3   Q    And nobody ever asked you the best way to resolve that                    08:54AM


 4   problem?                                                                       08:54AM


 5   A    I'm sorry?                                                                08:54AM


 6   Q    Nobody ever asked you the best way to resolve that problem?               08:54AM


 7   A    No, sir.                                                                  08:54AM


 8   Q    Now, you first went to the Mississippi Department of                      08:54AM


 9   Environmental Quality to ask for permission to build the man                   08:54AM


10   camp on this lead-contaminated site during the second week of                  08:54AM


11   October of 2006; is that correct?                                              08:54AM


12   A    Yes, sir.                                                                 08:54AM


13   Q    And, in fact, you'd already started building the man camp?                08:54AM


14   A    Yes, sir, we had.                                                         08:54AM


15              MR. WERNER:   Let me go ahead and pull up Exhibit 482.              08:54AM


16   BY MR. WERNER:                                                                 08:54AM


17   Q    And I'm showing you what's been marked as Exhibit 482, which              08:55AM


18   is an October 13th, 2006 letter from you to Tony Russell at the                08:55AM


19   Mississippi Department of Environmental Quality.                               08:55AM


20                     Do you recognize this letter?                                08:55AM


21   A    Yes, sir, I do.                                                           08:55AM


22   Q    Now, on Wednesday, your counsel showed the jury only part of              08:55AM


23   this letter, which was the second paragraph.            What the jury did      08:55AM


24   not see was the third paragraph of this letter.                                08:55AM


25              MR. WERNER:   If we can go ahead and zoom in on that.               08:55AM




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 1   BY MR. WERNER:                                                                 08:55AM


 2   Q    And in the third paragraph of the letter, again dated                     08:55AM


 3   October 13, 2006, Signal, you wrote:        Signal proposes to                 08:55AM


 4   assemble a temporary housing complex on Greenwood Island.                      08:55AM


 5                    Did I read that correctly?                                    08:56AM


 6   A    Yes, sir, you did.                                                        08:56AM


 7   Q    But, again, construction had already begun?                               08:56AM


 8   A    Correct.    Yes, sir.                                                     08:56AM


 9   Q    So it was not accurate to suggest that Signal was proposing               08:56AM


10   to assemble the housing complex at the time you wrote this                     08:56AM


11   letter?                                                                        08:56AM


12   A    No, sir.    We were under construction.                                   08:56AM


13   Q    And two paragraphs later, another paragraph that was not                  08:56AM


14   shown --                                                                       08:56AM


15              MR. WERNER:    If we can zoom in on that, short                     08:56AM


16   paragraph.                                                                     08:56AM


17   BY MR. WERNER:                                                                 08:56AM


18   Q    -- you indicated that Signal proposes to add an additional                08:56AM


19   ten inches of fill material.                                                   08:56AM


20                    Did I read that correctly?                                    08:56AM


21   A    Yes, sir.                                                                 08:56AM


22   Q    And, yet, the construction had already begun?                             08:56AM


23   A    Yes, sir.                                                                 08:56AM


24   Q    And so these statements were not truthful or accurate?                    08:56AM


25   A    Not necessarily, sir.                                                     08:57AM




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 1   Q    These statements to a governmental authority were not                     08:57AM


 2   truthful?                                                                      08:57AM


 3   A    No, sir.                                                                  08:57AM


 4   Q    The jury also didn't see the last full paragraph on this                  08:57AM


 5   page, which reads:     The shipyard further acknowledges that upon             08:57AM


 6   cessation of the need for the aforementioned temporary housing                 08:57AM


 7   complex, which is currently estimated to be eighteen months, the               08:57AM


 8   area will be restored to its pre-temporary housing complex usage               08:57AM


 9   status.                                                                        08:57AM


10                    Did I read that correctly?                                    08:57AM


11   A    Yes, sir, you did.                                                        08:57AM


12   Q    And you said eighteen months in this letter.        It was in part        08:57AM


13   because of a rumor that it would be a year to a year and a                     08:58AM


14   half-ish, I think you testified in your deposition, that it                    08:58AM


15   would be occupied?                                                             08:58AM


16   A    Yes, sir.   That was the estimate.                                        08:58AM


17   Q    And it was also partially because Ron Schnoor told you it                 08:58AM


18   would be around a year and a half?                                             08:58AM


19   A    It was senior management.      Yes, sir.                                  08:58AM


20   Q    Including Ron Schnoor?                                                    08:58AM


21   A    Yes, sir.                                                                 08:58AM


22   Q    Now, the man camp is still in use; is that right?                         08:58AM


23   A    Yes, sir.                                                                 08:58AM


24   Q    Except that it's been converted now.        Every trailer, instead        08:58AM


25   of having twenty-four men living in the trailer, there are two                 08:58AM




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 1   two-man apartments in each trailer; is that correct?                           08:58AM


 2   A    I don't know, sir.                                                        08:58AM


 3   Q    So you don't know whether it's now -- there are now four                  08:58AM


 4   people instead of twenty-two people living in the trailer?                     08:58AM


 5   A    I don't know that, sir.                                                   08:58AM


 6   Q    There's been testimony about that earlier.                                08:58AM


 7                    Now, you never told the Mississippi Department of             08:58AM


 8   Environmental Quality after those eighteen months expired that                 08:58AM


 9   you had not restored the area to its pre-housing complex usage?                08:59AM


10   A    No, sir, we didn't.                                                       08:59AM


11             MR. WERNER:     Let's go ahead and pull up Exhibit 1147.             08:59AM


12   Scroll down to page 43.                                                        08:59AM


13   BY MR. WERNER:                                                                 08:59AM


14   Q    On Wednesday -- I keep wanting to say yesterday --                        08:59AM


15   Wednesday, your counsel showed the jury this letter as well; is                08:59AM


16   that correct?                                                                  08:59AM


17   A    Yes, sir.                                                                 08:59AM


18   Q    But your counsel actually blacked out the letter except for               08:59AM


19   the second paragraph.     Do you remember that?                                08:59AM


20   A    I don't recall it being blacked out, sir.                                 08:59AM


21   Q    Well, part of what was blacked out on Wednesday was the                   08:59AM


22   third paragraph.                                                               08:59AM


23             MR. WERNER:     And if we can go ahead and zoom in on                08:59AM


24   that.                                                                          09:00AM


25   BY MR. WERNER:                                                                 09:00AM




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 1   Q    And, just to be clear, this is a November 3, 2006 letter                  09:00AM


 2   from the port engineer at the Jackson County Port Authority to                 09:00AM


 3   you; is that correct?                                                          09:00AM


 4   A    Yes, sir.                                                                 09:00AM


 5                    Actually, sir, it's to the port engineer from the             09:00AM


 6   Department of Environmental Quality.        The Enrique at the bottom,         09:00AM


 7   that is the -- was the -- he's the gentleman who signed it for                 09:00AM


 8   the Mississippi Department of Environmental Quality.                           09:00AM


 9   Q    I understand.    He signed it.                                            09:00AM


10                    But it was a letter to you?                                   09:00AM


11   A    No, sir.    It's addressed to Michael Smith.                              09:00AM


12                    Michael Smith forwarded the letter to me, sir.                09:00AM


13   Q    So Michael Smith forwarded the letter to you?                             09:01AM


14   A    Yes, sir.                                                                 09:01AM


15   Q    And the paragraph that was blacked out when it was shown to               09:01AM


16   the jury reads:    Please provide this office with a ten-day                   09:01AM


17   notice prior to commencement of construction activities so that                09:01AM


18   the site activities can be observed.                                           09:01AM


19                    Did I read that correctly?                                    09:01AM


20   A    Yes, sir.                                                                 09:01AM


21   Q    Okay.                                                                     09:01AM


22                    Now, this letter was dated November 3, 2006.                  09:01AM


23   A    Yes, sir.                                                                 09:01AM


24   Q    The camp was already fully constructed.                                   09:01AM


25   A    Yes, sir.                                                                 09:01AM




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 1   Q    And, in fact, there were already Indian H-2B workers living               09:01AM


 2   in the camp at this time?                                                      09:01AM


 3   A    Yes, sir.                                                                 09:01AM


 4             MR. WERNER:    Thank you.     I have nothing further.                09:01AM


 5             MR. CERNIGLIA:     No questions, Your Honor.                         09:01AM


 6             MR. SHAPIRO:     No questions, Your Honor.                           09:01AM


 7             THE COURT:    Thank you, Mr. Killen.          You are excused.       09:01AM


 8             MR. RABBANI:     Your Honor, short redirect?                         09:01AM


 9             THE COURT:    Oh, I'm sorry.     Pardon me.                          09:01AM


10                             REDIRECT EXAMINATION                                 09:01AM


11   BY MR. RABBANI:                                                                09:01AM


12   Q    Mr. Killen, the letter that plaintiffs' counsel just showed               09:02AM


13   you regarding -- actually, the letter from the port or the                     09:02AM


14   M.D.Q. to the port, was that letter blacked out at all when I                  09:02AM


15   took your direct examination?                                                  09:02AM


16   A    No, sir.                                                                  09:02AM


17   Q    And were you in charge of the running the man camp?                       09:02AM


18   A    No, sir.                                                                  09:02AM


19   Q    Is it possible that there was an area to quarantine sick                  09:02AM


20   workers and you wouldn't know about it?                                        09:02AM


21   A    If a health issue would have gotten to that level, we have                09:02AM


22   field individuals that work in my group, and they notify me of                 09:02AM


23   anything like that, yes, sir.                                                  09:02AM


24   Q    So is it possible that there was a room that someone who had              09:02AM


25   the flu could go spend some time alone in that room?                           09:02AM




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 1   A    I'm sorry?                                                                09:02AM


 2   Q    At the man camp.                                                          09:02AM


 3   A    I don't know, sir.                                                        09:02AM


 4   Q    Who would be the best person to answer a question like that?              09:02AM


 5   A    Ms. Rhonda George.                                                        09:02AM


 6   Q    And do you recall a few moments ago plaintiffs' counsel                   09:02AM


 7   asked you about Signal's first aid station?                                    09:03AM


 8   A    Yes, sir.                                                                 09:03AM


 9   Q    If Indian H-2B workers had something like the flu at the man              09:03AM


10   camp, was it possible for that H-2B worker to walk over to the                 09:03AM


11   first aid station and get treatment if he so chose?                            09:03AM


12   A    Yes, sir.                                                                 09:03AM


13                     Not just H-2B visa workers, any worker.                      09:03AM


14   Q    Are things like cough medicine or cough drops and things                  09:03AM


15   like that available at the first aid station?                                  09:03AM


16   A    Absolutely, yes, sir.                                                     09:03AM


17             MR. RABBANI:     Thank you.    No further questions.                 09:03AM


18             THE COURT:    Now you are excused.                                   09:03AM


19                     (Witness excused.)                                           09:03AM


20             THE COURT:    Signal can call its next witness.                      09:03AM


21             MR. ROUX:     Your Honor, Signal has two designations                09:03AM


22   for --                                                                         09:03AM


23             THE COURT:    Let's come up to the podium.                           09:03AM


24                     Let's get your reader on the stand.                          09:04AM


25             MR. ROUX:     Signal has two designations to read, one for           09:04AM




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 1   Michael Kelleher and one for Thomas Caffrey.                                   09:04AM


 2                THE COURT:    Will you tell the jury who the witness is?          09:04AM


 3   Or I can do it if you want me to.           But you can do it.                 09:04AM


 4                MR. ROUX:    So Michael Kelleher is the pastor of Sacred          09:04AM


 5   Heart Catholic Church in Pascagoula, Mississippi.                              09:04AM


 6                THE COURT:    And if you'd identify -- say your name for          09:04AM


 7   the record.                                                                    09:04AM


 8                THE READER:    Kevin Kinross, K-I-N-R-O-S-S.                      09:04AM


 9                MR. ROUX:    May I approach, Your Honor?                          09:04AM


10                     May I approach the witness?                                  09:05AM


11                THE COURT:    Yes.                                                09:05AM


12                     (Following Deposition Of Father Michael Kelleher             09:04AM


13   Was Read Into the Record.)                                                     09:05AM


14   BY MR. ROUX:                                                                   09:05AM


15   Q    Sir, can I begin by asking where you attended undergraduate               09:05AM


16   education?                                                                     09:05AM


17   A    St. Patrick's College, Turlis, Ireland.                                   09:05AM


18   Q    And when did you graduate from there?                                     09:05AM


19   A    1965.                                                                     09:05AM


20   Q    And what is your degree in?                                               09:05AM


21   A    Theology.                                                                 09:05AM


22   Q    While you were there, did you participate in any student                  09:05AM


23   groups?                                                                        09:05AM


24   A    No.                                                                       09:05AM


25   Q    And did you attend graduate school?                                       09:05AM




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 1   A    In the same school.                                                       09:05AM


 2   Q    Same school.                                                              09:05AM


 3                     And when did you graduate from there?                        09:05AM


 4   A    I was ordained in 1965.                                                   09:05AM


 5   Q    I'm sorry?                                                                09:05AM


 6   A    '65, 1965.                                                                09:05AM


 7   Q    So you finished graduate school and undergraduate at the                  09:05AM


 8   same time?                                                                     09:05AM


 9   A    Right.   Well, it was a six-year course in the same school.               09:05AM


10   Q    I see.                                                                    09:05AM


11                     And the graduate degree was in the same subject              09:05AM


12   area?                                                                          09:06AM


13   A    Yes.                                                                      09:06AM


14   Q    And what seminary did you attend?                                         09:06AM


15   A    St. Patrick's.     It was all the same institution.                       09:06AM


16   Q    The same program all the way through, okay.                               09:06AM


17                     And that would also be 1965 when you finished                09:06AM


18   seminary?                                                                      09:06AM


19   A    From 1959 to '65.                                                         09:06AM


20   Q    And when were you ordained?                                               09:06AM


21   A    June 13th, 1965.                                                          09:06AM


22   Q    And I assume in Ireland; is that correct?                                 09:06AM


23   A    Yes.                                                                      09:06AM


24   Q    Where were you first stationed after ordination?                          09:06AM


25   A    Biloxi, Mississippi.                                                      09:06AM




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 1   Q    In which parish?                                                          09:06AM


 2   A    Nativity B.V.M. - Blessed Virgin Mary.                                    09:06AM


 3   Q    When were you assigned to Sacred Heart?                                   09:06AM


 4   A    Seventeen years ago in the month of September.         I don't know       09:06AM


 5   the actual year, but seventeen years ago.                                      09:06AM


 6   Q    That's fine.                                                              09:06AM


 7                     And, when you were assigned there, were you                  09:06AM


 8   assigned as pastor, or as a priest?                                            09:06AM


 9   A    As pastor.                                                                09:06AM


10   Q    Pastor.                                                                   09:06AM


11                     Was Sacred Heart new at the time, or was it a                09:06AM


12   pre-existing parish?                                                           09:06AM


13   A    It had been in existence for over forty years.                            09:06AM


14   Q    And you were there from 2006 to 2008; is that correct?             You    09:06AM


15   were stationed there from 2006 during the time frame of 2006 to                09:07AM


16   2008?                                                                          09:07AM


17   A    Oh, yes.   Uh-huh.                                                        09:07AM


18   Q    And you're still assigned there today?                                    09:07AM


19   A    Yes.                                                                      09:07AM


20   Q    Could you describe how Katrina impacted your parish.                      09:07AM


21   A    I would describe it as devastating the parish, in the sense               09:07AM


22   that buildings were destroyed, the school was destroyed, and the               09:07AM


23   community was very disrupted, the church community.                            09:07AM


24   Q    I assume you stayed at a rectory; is that correct?                        09:07AM


25   A    Yes.                                                                      09:07AM




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 1   Q    Did the rectory suffer any significant damage?                            09:07AM


 2   A    Very much significant damage.                                             09:07AM


 3   Q    Did it displace you?                                                      09:07AM


 4   A    Yes.                                                                      09:07AM


 5   Q    Where did you go in the interim after you were displaced?                 09:07AM


 6   A    I rented a trailer.     The institution paid for it, the                  09:07AM


 7   church, and I lived in it for over a year.                                     09:07AM


 8   Q    And after that point was the rectory --                                   09:07AM


 9   A    It was refurbished and liveable again.                                    09:07AM


10   Q    How long did it take before all the church facilities had                 09:07AM


11   been refurbished or reconstructed?                                             09:07AM


12   A    I'm guessing several years.                                               09:07AM


13   Q    What about parishioners at your church, how were they                     09:07AM


14   affected by the storm?                                                         09:07AM


15   A    Many of them lost their properties and had to relocate out                09:07AM


16   of the parish.     And some never came back to the parish.       So, in        09:07AM


17   that sense, the parish was very severely impacted.                             09:08AM


18   Q    Are you aware that there were a number of Signal workers                  09:08AM


19   from India that attended your church between 2006 and 2008?                    09:08AM


20   A    Yes.                                                                      09:08AM


21   Q    How did you first meet or become aware of them?                           09:08AM


22   A    I saw them.    They were obvious.                                         09:08AM


23   Q    You saw them where?                                                       09:08AM


24   A    In church.                                                                09:08AM


25   Q    Approximately how many attended mass at your church                       09:08AM




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 1   initially?    When you first became aware.       I'll clarify.                 09:08AM


 2   A    I'm going to guess about forty came every Sunday.                         09:08AM


 3   Q    Did they approach you, or did you first approach them?                    09:08AM


 4   A    They approached me.                                                       09:08AM


 5   Q    And did they have a specific reason for approaching you?                  09:08AM


 6   A    May I ask a question?     When you say approach me, what do you           09:08AM


 7   mean?                                                                          09:08AM


 8   Q    The first time they talked to you or you talked to them on a              09:08AM


 9   one-on-one basis, as opposed to just seeing them in mass.                      09:08AM


10   A    They came to church and I would greet them.        I would                09:08AM


11   introduce myself and they would introduce themselves.          I always        09:08AM


12   found them very gracious.      And just the introduction led to the            09:08AM


13   conversation and more questions.        And that's how I came to know          09:08AM


14   of them as a community.                                                        09:09AM


15   Q    I see.                                                                    09:09AM


16                   What kind of questions did they have for you?                  09:09AM


17   A    Initially, no questions, other than inquiring about maybe                 09:09AM


18   church services and what was available at the church.                          09:09AM


19                   And, later on, when I presume there were some                  09:09AM


20   difficulties with their situation, they -- the big question was                09:09AM


21   could they use our facilities for meeting purposes.                            09:09AM


22   Q    When about did they ask you about using your facility for                 09:09AM


23   meeting purposes?                                                              09:09AM


24   A    When?                                                                     09:09AM


25   Q    When.                                                                     09:09AM




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 1   A    I have no specific dates at all.       It was, I'm going to               09:09AM


 2   guess, maybe probably a few months after I first met them.              And    09:09AM


 3   that's just purely a guess on my part.                                         09:09AM


 4   Q    Did you know Sabulal Vijayan?                                             09:09AM


 5   A    I'm sorry?                                                                09:09AM


 6   Q    Sabulal Vijayan?                                                          09:09AM


 7   A    Is that a name?                                                           09:09AM


 8   Q    Uh-huh.                                                                   09:09AM


 9   A    I can't say I did know him.                                               09:09AM


10   Q    Did you know Ramesh Gunisetti?                                            09:09AM


11   A    No.   I mean, I can't say that I do.       They would introduce           09:09AM


12   themselves, and these names were totally foreign to me, and they               09:09AM


13   didn't register.                                                               09:09AM


14   Q    That's fine.                                                              09:10AM


15                     I just have a few more names to see -- just to see           09:10AM


16   if any of them ring a bell, if that's okay.                                    09:10AM


17                     Did you know Virgeet Kurnan?                                 09:10AM


18   A    No.                                                                       09:10AM


19   Q    Did you know Hemant Khuttan?                                              09:10AM


20   A    No.                                                                       09:10AM


21   Q    Did you know Sony Vasudevan Sulekha?                                      09:10AM


22   A    Would you repeat that name, please?                                       09:10AM


23   Q    Sony Vasudevan Sulekha.                                                   09:10AM


24   A    The name Sony rings a bell.                                               09:10AM


25   Q    Did you know Palanyandi Thangamani?                                       09:10AM




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 1   A    I knew them by their appearances but not by their names.                  09:10AM


 2   Q    What about Isaac Andrews Padavettiyil?                                    09:10AM


 3   A    Again, the name Isaac rings a bell and that's all.                        09:10AM


 4   Q    And, finally, Jacob Joseph Kadakkarappally?                               09:10AM


 5   A    Kadakkarappally I think kind of rings a bell, too.                        09:10AM


 6   Q    How much interaction did you have with the Signal Indian                  09:10AM


 7   workers?                                                                       09:10AM


 8   A    No official interaction with them at all.          Just chit-chat         09:10AM


 9   before church services and maybe social events, like a dinner                  09:10AM


10   after the services some times.       And they would be telling me              09:11AM


11   about their difficult life here and how they were a regretting                 09:11AM


12   that their families couldn't be with them and that their living                09:11AM


13   conditions were not exactly suitable and they were finding it                  09:11AM


14   difficult there.                                                               09:11AM


15                   And I was led to believe, again through casual                 09:11AM


16   conversation with them, that, you know, they were disappointed                 09:11AM


17   because they were maybe not going to have a path to citizenship.               09:11AM


18   That seemed to be a difficulty for them.                                       09:11AM


19                   And I kind of was reading between the lines,                   09:11AM


20   presuming that they had been promised something like that.                     09:11AM


21   Q    And when you visited the housing facility did you visit the               09:11AM


22   entertainment lounges?                                                         09:11AM


23   A    That's what it was, the entertainment lounge.          Their common       09:11AM


24   room, their refectory.      I think it was all one, I thought.          I      09:11AM


25   was just in that one building.                                                 09:11AM




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 1   Q    So, when you say that one building, was this their sleeping               09:11AM


 2   quarters?                                                                      09:11AM


 3   A    I don't know.    I didn't see any beds, but I was led to                  09:11AM


 4   believe that the beds were right around there.          And I remember         09:11AM


 5   there was a television.      I think that was the only furniture in            09:11AM


 6   the building.                                                                  09:11AM


 7   Q    Did the Indian workers tell you that there was a cafeteria                09:11AM


 8   facility in the housing facility itself?                                       09:11AM


 9   A    I'm pretty sure they did, that they ate in the facility.                  09:12AM


10   Q    So you weren't under the impression that they ate in the TV               09:12AM


11   room that you've just described being in; were you?                            09:12AM


12   A    I was under the impression that, yes, that's where they had               09:12AM


13   all their activity there.      That's where they interacted among              09:12AM


14   themselves, watched television, ate.                                           09:12AM


15   Q    So you were under the impression that that was the extent of              09:12AM


16   their living accommodation; is that correct?                                   09:12AM


17   A    Yes.                                                                      09:12AM


18   Q    Did they say anything else that they had problems with the                09:12AM


19   living conditions?                                                             09:12AM


20   A    I don't remember it.                                                      09:12AM


21   Q    What did you think of the food that you ate there?                        09:12AM


22   A    It was Indian food.     I didn't like it, but they seemed to              09:12AM


23   enjoy it very much.                                                            09:12AM


24   Q    So you would say the Indian workers seemed to enjoy the                   09:12AM


25   food?                                                                          09:12AM




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 1   A     I had that impression, yes.                                              09:12AM


 2   Q     I understand.                                                            09:12AM


 3                    Did the workers ever complain about being denied              09:12AM


 4   access to religious services?                                                  09:12AM


 5   A     No.                                                                      09:12AM


 6   Q     Did the workers ever complain about having any difficulty                09:12AM


 7   getting to church?                                                             09:12AM


 8   A     No.                                                                      09:12AM


 9   Q     Do you know how the workers got to your church?                          09:12AM


10   A     I think the institution they worked for provided                         09:12AM


11   transportation.    And it wouldn't always be on time to pick them              09:12AM


12   up after services but I think they always did get a ride.                      09:13AM


13                    There might have been one or two --                           09:13AM


14               THE READER:    Should I keep reading even though it                09:13AM


15   doesn't designate further?                                                     09:13AM


16               THE COURT:    Which page are you on?                               09:13AM


17               THE READER:    Page twenty-eight.      The designation shows       09:13AM


18   that it stops at line 12.                                                      09:13AM


19               MR. ROUX:    It looks like there's two lines after that            09:13AM


20   that weren't designated.                                                       09:13AM


21               THE COURT:    All right.    But they are part of the same          09:13AM


22   sentence?                                                                      09:13AM


23               MR. ROUX:    Yes.                                                  09:13AM


24               THE COURT:    Start the sentence over and keep reading             09:13AM


25   it.                                                                            09:13AM




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 1             THE READER:    I think the institution they worked for               09:13AM


 2   provided transportation.      And it wouldn't always be on time to             09:13AM


 3   pick them up after services but I think they did always get a                  09:13AM


 4   ride.                                                                          09:13AM


 5                   There might have been one or two occasions where I             09:13AM


 6   actually offered to transport them back to their quarters.                     09:13AM


 7   BY MR. ROUX:                                                                   09:13AM


 8   Q    Based on your reading of this email, does it seem like                    09:13AM


 9   Signal was concerned about meeting the needs of the workers with               09:13AM


10   regards to their transportation?                                               09:13AM


11   A    It would seem like they were, yes.                                        09:13AM


12   Q    Did the Indian workers attend mainly morning mass, or were                09:13AM


13   there multiple?                                                                09:13AM


14   A    Multiple, morning and evening.                                            09:13AM


15   Q    Do you know if that was consistent with day shift workers                 09:14AM


16   and night shift workers?                                                       09:14AM


17   A    I presumed it was always, yes.                                            09:14AM


18   Q    Did the workers ever complain about transportation?                       09:14AM


19   A    Not to me, no.                                                            09:14AM


20   Q    Have you heard about it since reading it in the newspaper?                09:14AM


21   A    Yes, I have.                                                              09:14AM


22   Q    When this national news commentator came to interview the                 09:14AM


23   workers or to interview a lawyer representing the Indians, I                   09:14AM


24   think he --                                                                    09:14AM


25   A    Well, I learned of it just immediately before the interview               09:14AM




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 1   took place.    I was presuming they would interview --                         09:14AM


 2             MR. ROUX:    Hold on.    I think you skipped.                        09:14AM


 3             THE READER:     We're on page?                                       09:14AM


 4             MR. ROUX:    I'm at thirty-seven, line 22.      I just read          09:14AM


 5   22, line 3.                                                                    09:14AM


 6             THE READER:     22.                                                  09:14AM


 7   BY MR. ROUX:                                                                   09:14AM


 8   A    Yes, I have.                                                              09:14AM


 9   Q    Could you describe that for me.                                           09:14AM


10   A    When the national news commentator came to interview the                  09:14AM


11   workers or to interview a lawyer representing the Indians, I                   09:14AM


12   think he --                                                                    09:15AM


13   Q    I'm sorry, continue.                                                      09:15AM


14   A    They -- what was his name?      I can't recall his name.                  09:15AM


15   Q    Was it Dan Rather?                                                        09:15AM


16             THE COURT:    Will you speak up a little bit.                        09:15AM


17             THE READER:     Yes, ma'am.                                          09:15AM


18   BY MR. ROUX:                                                                   09:15AM


19   A    Dan Rather.    I got a call if I can make some facilities                 09:15AM


20   available for this interview to take place, and I said yes.             In     09:15AM


21   due time, the arrangements were made.         And the interview took           09:15AM


22   place in the church, which surprised me.         We have lots of               09:15AM


23   facilities, but someone chose the actual sanctuary itself, which               09:15AM


24   wouldn't have been my idea for an interview.                                   09:15AM


25   Q    Who called you about setting it up?                                       09:15AM




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 1   A    I honestly have no recollection.       I don't remember.                  09:15AM


 2   Q    Do you remember if it was somebody with Dan Rather, or if it              09:15AM


 3   was somebody from another organization?                                        09:15AM


 4   A    I honestly don't remember.      I purposely paid no attention to          09:15AM


 5   those details then or I still don't.        It's not -- you know, I            09:15AM


 6   feel as a pastor I answer all questions and I don't question                   09:15AM


 7   where they're coming from.                                                     09:15AM


 8   Q    You said that you were surprised that they conducted the                  09:15AM


 9   interview in the sanctuary.       Did they inform you beforehand that          09:15AM


10   they were going to do that, or did you learn of it after the                   09:15AM


11   interview had happened?                                                        09:16AM


12   A    Well, I learned of it just immediately before the interview               09:16AM


13   took place.    I was presuming they would interview in one of the              09:16AM


14   other buildings or around the facility.                                        09:16AM


15   Q    Before the fire alarm went off, Father, I believe I was                   09:16AM


16   asking you about the meetings at your church and I had confirmed               09:16AM


17   that you were approached by Indian workers, and I had questioned               09:16AM


18   whether it was the workers themselves or whether it was somebody               09:16AM


19   else on their behalf that asked about using your facility for                  09:16AM


20   these meetings.                                                                09:16AM


21   A    I think it was the workers themselves.                                    09:16AM


22   Q    Do you remember which workers asked you this?                             09:16AM


23   A    No, I don't.                                                              09:16AM


24   Q    Do you remember if this was an individual, or a group?                    09:16AM


25   A    Well, one did the asking.      But there would always be another          09:16AM




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 1   one or two around in close proximity.                                          09:16AM


 2   Q    Did you attend any of these meetings?                                     09:16AM


 3   A    I was invited to attend.      I chose not to.      I would, out of        09:16AM


 4   courtesy, accept their invitation to drop in and socialize with                09:16AM


 5   them possibly towards the end of the meeting.                                  09:16AM


 6   Q    So you were not at the meetings during any of the                         09:16AM


 7   discussions?                                                                   09:16AM


 8   A    No.                                                                       09:16AM


 9   Q    But you were at the meetings toward the end to socialize?                 09:16AM


10   A    Right.    On more than one occasion.                                      09:17AM


11   Q    To your knowledge, were all of the Indian workers who came                09:17AM


12   to meet at the church Catholic?                                                09:17AM


13   A    I'm going to say that it was my impression that ninety-nine               09:17AM


14   percent of them were Catholic.       On one or two occasions, I would          09:17AM


15   be introduced to maybe one or two who might not have been                      09:17AM


16   Catholic.                                                                      09:17AM


17   Q    Do you know if any of them were Muslims?                                  09:17AM


18   A    My impression was that they were Hindus, not Muslims.                     09:17AM


19   Q    Does the name Saket Soni sound familiar?                                  09:17AM


20   A    I recall hearing that name, Saket.                                        09:17AM


21   Q    Have you ever spoken to Saket Soni?                                       09:17AM


22   A    Again, I don't recall.     I'm sure we had -- my conversations            09:17AM


23   with everyone present was just chitchat, nothing about their                   09:17AM


24   situation, the business of the meeting.         Just chitchat.                 09:17AM


25   Q    How many times did they meet at your church?                              09:17AM




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 1   A    Again, it's a guess.     Not more than six.        Three, four, five      09:17AM


 2   possibly.                                                                      09:17AM


 3   Q    So you said you felt it was your obligation or part of your               09:17AM


 4   ministry, would that be correct, to let them meet there?                       09:18AM


 5   A    That's correct, yes.                                                      09:18AM


 6   Q    If you felt it was part of your ministry to assist in this                09:18AM


 7   manner, why didn't you attend the meetings?                                    09:18AM


 8   A    Well, the meetings were called for the purpose of -- for the              09:18AM


 9   purpose of -- they had professional representation that knew the               09:18AM


10   facts.    I was not privy to the facts at all with regard to their             09:18AM


11   work, their contracts with the company.         And I knew people from         09:18AM


12   Signal Company, and I felt -- I would have felt equally                        09:18AM


13   obligated to respond if they requested the church buildings for                09:18AM


14   a meeting.                                                                     09:18AM


15   Q    Is it routine for lawyers to meet with individuals at your                09:18AM


16   church?                                                                        09:18AM


17   A    It never arose before that.      That was a first-time                    09:18AM


18   experience.                                                                    09:18AM


19   Q    Did they ever complain about the bedding situation in the                 09:18AM


20   bunkhouses?                                                                    09:18AM


21   A    Not to me, no.                                                            09:18AM


22   Q    Did they ever complain about the food?                                    09:18AM


23   A    Again, not to me, no.                                                     09:18AM


24   Q    Did the workers ever complain about fees they paid in India?              09:18AM


25   A    Not to me, no.                                                            09:18AM




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 1   Q    Did the workers ever complain about the work itself that                  09:18AM


 2   they did at Signal?                                                            09:18AM


 3   A    No, not to me.                                                            09:18AM


 4   Q    Did they ever complain that they felt unsafe because of the               09:18AM


 5   work?                                                                          09:19AM


 6   A    No.                                                                       09:19AM


 7   Q    Did they ever complain that they felt like they were being                09:19AM


 8   -- they were given the dirtiest jobs at Signal?                                09:19AM


 9   A    No.                                                                       09:19AM


10   Q    Did they ever complain about their health benefits?                       09:19AM


11   A    No.                                                                       09:19AM


12   Q    Did they ever complain about being given false promises?                  09:19AM


13   A    I think they certainly led me to believe that they were,                  09:19AM


14   that that was the case.      But I was not privy to what the false             09:19AM


15   promise was.                                                                   09:19AM


16   Q    Is that correct that earlier you testified that there were                09:19AM


17   between three and five, perhaps six meetings at your church?                   09:19AM


18   A    Roughly, yes.    I think that would be about correct.                     09:19AM


19   Q    Did these occur over the course of six months?                            09:19AM


20   A    Within a six-month timeframe, I would say yes.         Maybe              09:19AM


21   shorter.                                                                       09:19AM


22   Q    Would it be correct to say that they met once every month or              09:19AM


23   was it more frequent?                                                          09:19AM


24   A    Once a month would be approximate, I think.                               09:19AM


25   Q    Did any of the workers ever mention human trafficking to                  09:19AM




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 1   you?                                                                           09:19AM


 2   A      No.                                                                     09:19AM


 3   Q      Did the workers ever tell you they liked working at Signal?             09:19AM


 4   A      No.    They never told me that.                                         09:20AM


 5   Q      Did they ever tell you that they disliked working at Signal?            09:20AM


 6   A      They never verbally said so, but they sure implied that with            09:20AM


 7   their -- the impression of unhappiness that they were                          09:20AM


 8   projecting.                                                                    09:20AM


 9   Q      When you say that they were projecting, what do you mean by             09:20AM


10   that?                                                                          09:20AM


11   A      They would come to church -- you see, I was not privy to                09:20AM


12   their contracts with Signal.        I purposely didn't want to get             09:20AM


13   involved in any of their business.         But they would give the             09:20AM


14   impression that they were unhappy and that they were being                     09:20AM


15   mistreated.                                                                    09:20AM


16                      And, you know, requested if they need to air their          09:20AM


17   grievances, and I provided that.         Other than that, I had no             09:20AM


18   dealings with their business affairs at all.                                   09:20AM


19   Q      Did any of the workers appear emaciated?                                09:20AM


20   A      No.                                                                     09:20AM


21   Q      Did any of the workers appear overweight?                               09:20AM


22   A      No.                                                                     09:20AM


23   Q      Did the workers appear fit?                                             09:20AM


24   A      Yes.                                                                    09:20AM


25   Q      Before today had you ever seen the Dan Rather piece?                    09:20AM




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 1   A    No.    I have not seen that.                                              09:21AM


 2   Q    In the piece Saket Soni refers to the first meeting he had                09:21AM


 3   with the workers, and said that there were 110 workers that                    09:21AM


 4   showed up, exceeding his expectation of a few.                                 09:21AM


 5                    Would you agree with that characterization of what            09:21AM


 6   he said?                                                                       09:21AM


 7   A    It did not take place in the church to the best --                        09:21AM


 8   Q    Let me back up.      Do you agree with my summary of what he              09:21AM


 9   said on the video clip?                                                        09:21AM


10   A    Yes.    I heard what he said.                                             09:21AM


11   Q    The only reason I ask is because, for the record, what he                 09:21AM


12   said isn't on the record itself.                                               09:21AM


13               MR. BHATNAGAR:     Your Honor, there was a passage                 09:21AM


14   omitted.    I know it was inadvertent.                                         09:21AM


15               MR. ROUX:    Oh.   Oh, I'm sorry.                                  09:21AM


16               MR. BHATNAGAR:     Line 11.                                        09:21AM


17   BY MR. ROUX:                                                                   09:21AM


18   Q    Did anything that you experienced with them or witness with               09:21AM


19   them or understood from them in this context make you feel like                09:21AM


20   they were in danger?                                                           09:21AM


21   A    Not physical danger, not -- I may not have my facts.                      09:21AM


22                    It seems like the issue of their passports came up            09:21AM


23   and they were not free to go around, move around.                              09:22AM


24                    And, like I say, my knowledge is not accurate, I              09:22AM


25   know that.     But they felt -- I got the impression from them that            09:22AM




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 1   they had the feeling of being trapped here because of their                    09:22AM


 2   legal status, their contract with Signal.         I think I got the            09:22AM


 3   impression from them that they would have gladly left here to                  09:22AM


 4   seek employment elsewhere if they could, but they weren't able                 09:22AM


 5   to do that.                                                                    09:22AM


 6   Q    Let me back up.    Do you agree with my summary of what he                09:22AM


 7   said on the video clip?                                                        09:22AM


 8   A    Yes.   I heard what he said.                                              09:22AM


 9   Q    The only reason I ask is because, for the record, what he                 09:22AM


10   said isn't on the record itself.                                               09:22AM


11                   Did that initial meeting happen at Sacred Heart?               09:22AM


12   A    At Sacred Heart, but not in the church itself.                            09:22AM


13   Q    Not in the church itself.                                                 09:22AM


14                   Where did that initial happen?                                 09:22AM


15   A    In the old cafeteria where the group met for the business                 09:22AM


16   meetings.                                                                      09:22AM


17   Q    Did the group always meet in the cafeteria?                               09:22AM


18   A    Yes.                                                                      09:22AM


19   Q    Did you ever meet Saket Soni, having now seen him on the                  09:22AM


20   screen?                                                                        09:23AM


21   A    Yes.   I remember seeing him.                                             09:23AM


22   Q    Do you recall ever talking to him?                                        09:23AM


23   A    Well, I remember just exchanging pleasantries maybe, but                  09:23AM


24   absolutely no knowledge of anything we said.                                   09:23AM


25   Q    I'll rephrase the question.                                               09:23AM




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 1                    Would you say that the meetings being held between            09:23AM


 2   the workers and the other parties were -- was clandestine in                   09:23AM


 3   nature, or was it open?                                                        09:23AM


 4   A    Open to the general public, no.                                           09:23AM


 5   Q    Open in terms of them not hiding that they were meeting?                  09:23AM


 6   A    I think they -- I would have to consider them clandestine                 09:23AM


 7   meetings.                                                                      09:23AM


 8   Q    When you say that why do you say that?                                    09:23AM


 9   A    It was just strictly the Indian community dealing with their              09:23AM


10   immediate problems.                                                            09:23AM


11   Q    Would you consider the meetings to have been secret?                      09:23AM


12   A    Well, I suppose there are degrees of secrecy.        Not absolute         09:23AM


13   secrecy, but yes, they were private meetings.                                  09:23AM


14   Q    Would you be surprised if Signal provided the transportation              09:23AM


15   that got them to these meetings?                                               09:23AM


16   A    No.    I wouldn't be surprised.                                           09:23AM


17   Q    Did Tom Caffrey volunteer at the church at any time between               09:23AM


18   2006 and 2009?                                                                 09:24AM


19   A    Yes.                                                                      09:24AM


20   Q    In what capacity did he volunteer?                                        09:24AM


21   A    Transporting the Indians from the camp to the church and                  09:24AM


22   being a listening ear to their complaints and issues.                          09:24AM


23   Q    Did he attend the meetings with the Indian workers?                       09:24AM


24   A    Yes.    To the best my knowledge, he attended all of them.                09:24AM


25   Q    One final question, Father.      At any time in your dealings             09:24AM




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 1   with the H-2B visa workers, did they ever come to you and                      09:24AM


 2   request sanctuary?                                                             09:24AM


 3   A    No.                                                                       09:24AM


 4               MR. ROUX:    Your Honor, the next reading is from Thomas           09:24AM


 5   Caffrey, parishioner from Sacred Heart in Pascagoula,                          09:24AM


 6   Mississippi.                                                                   09:24AM


 7               THE COURT:    Yes.                                                 09:24AM


 8                    And we'll have the same reader?                               09:24AM


 9               MR. ROUX:    Yes.                                                  09:24AM


10                    May I approach the witness.                                   09:24AM


11               THE COURT:    Yes.                                                 09:24AM


12                    (Following Deposition Of Thomas Caffrey Was Read              09:24AM


13   Into the Record.)                                                              09:24AM


14   BY MR. ROUX:                                                                   09:24AM


15   Q    Did you attend undergraduate education at a university?                   09:25AM


16   A    Yes.                                                                      09:25AM


17   Q    Did you graduate?                                                         09:25AM


18   A    Yes.                                                                      09:25AM


19   Q    Which university did you attend?                                          09:25AM


20   A    The Catholic University of America.          And I also have an           09:25AM


21   undergraduate agree from Mississippi College.                                  09:25AM


22   Q    Mississippi College is the name of the college?                           09:25AM


23   A    Yes.                                                                      09:25AM


24   Q    And what is your degree in from Catholic University?                      09:25AM


25   A    Economics/finance.                                                        09:25AM




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 1                    I'm sorry to interrupt.      This is Gerald Miller.           09:25AM


 2   But I'm having difficulty hearing the witness.                                 09:25AM


 3   A    Okay.   Economics/finance.                                                09:25AM


 4   Q    And your degree from Mississippi College, what is it in?                  09:25AM


 5   A    Mathematics.                                                              09:25AM


 6   Q    And when did you graduate from Catholic university?                       09:25AM


 7   A    '91, May of '91.                                                          09:25AM


 8   Q    And from Mississippi College?                                             09:26AM


 9   A    May of '95.                                                               09:26AM


10   Q    During the years from 2006 to 2009 or 2008, I should say,                 09:26AM


11   are you aware of Indian H-2B visa workers that worked at Signal                09:26AM


12   International?                                                                 09:26AM


13   A    Yes.                                                                      09:26AM


14   Q    Are you aware that some of them attended church at Sacred                 09:26AM


15   Heart?                                                                         09:26AM


16   A    Oh, yes.                                                                  09:26AM


17   Q    Did you have interactions with these individuals?                         09:26AM


18   A    Yes.                                                                      09:26AM


19   Q    When did you first become aware of these individuals?                     09:26AM


20   A    I first saw them, it was probably December of '06.         They           09:26AM


21   were walking around the church.       I can't remember what day of             09:26AM


22   the week it was, but looking back I think they had walked from                 09:26AM


23   Signal to find the church.                                                     09:26AM


24                    And once they had found it, they were just kind of            09:26AM


25   -- they couldn't, you know, they were just walking around                      09:26AM




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 1   looking at the scenery.      Whatever.    I didn't know what they were         09:26AM


 2   doing.                                                                         09:26AM


 3                   But then before Christmas they approached me after             09:26AM


 4   mass and wanted me to see if there was some way they could get a               09:26AM


 5   ride to the church for Christmas mass.                                         09:26AM


 6                   And I spoke to Father Kelleher, and he got a key               09:26AM


 7   to the school bus, and I picked them up for mass for Christmas.                09:27AM


 8   Q    Do you recall the names of the individuals you first met?                 09:27AM


 9   A    The one that was acting as the main go-between spoke                      09:27AM


10   half-way decent English, he went by George, but now I have no                  09:27AM


11   idea knowing -- I don't think that's his full Indian name, but                 09:27AM


12   he went by George.     And I met more of them as time went by.                 09:27AM


13   Q    Do you recall any of the names of the others that you met                 09:27AM


14   with?                                                                          09:27AM


15   A    I had to meet with two of them, George called me one night,               09:27AM


16   Chacko I think and Beju, and I knew Kevin.          And I had Kevin's          09:27AM


17   phone number in my wallet for years.                                           09:27AM


18                   I have a lost touch with him, but I spoke to him               09:27AM


19   for a couple of years.                                                         09:27AM


20   Q    So it would be fair to say that you were close with Kevin?                09:27AM


21   A    Yes.   I met several others, but I can't remember their                   09:27AM


22   names.                                                                         09:27AM


23   Q    Do you recall meeting Sabulal Vijayan?                                    09:27AM


24   A    I mean, it sounds familiar.      It sounds like maybe he was one          09:27AM


25   of the names in the newspaper.       I'm not sure.      There were times       09:27AM




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 1   where there was, you know, a hundred Indians in a room with me                 09:27AM


 2   and he was probably there.      I don't know.     I don't --                   09:28AM


 3   Q    I just have a couple names I'm going to ask you about.                    09:28AM


 4   A    Okay.                                                                     09:28AM


 5   Q    Forgive me if I butcher them.                                             09:28AM


 6                    Ramesh Gunisetti, do you recall him?                          09:28AM


 7   A    I could have very well met with him, but I just don't know.               09:28AM


 8   Q    What about Vargeeth Kurian?                                               09:28AM


 9   A    Again, I'm not sure.                                                      09:28AM


10   Q    Hemant Khuttan?                                                           09:28AM


11   A    I don't know.    I could have met him.      I don't know.                 09:28AM


12   Q    Just let me know if any of these sound familiar.                          09:28AM


13   A    Okay.                                                                     09:28AM


14   Q    Sony Vasudevan Sulekha?                                                   09:28AM


15                    When you answer, you need to answer in the                    09:28AM


16   affirmative.                                                                   09:28AM


17   A    Well, I don't recognize the name but it doesn't mean that he              09:28AM


18   didn't tell it to me or something.                                             09:28AM


19   Q    What about Pol Sang?                                                      09:28AM


20   A    The same.                                                                 09:28AM


21   Q    Isaac Andrews Padavettiyil?                                               09:28AM


22   A    Same.                                                                     09:28AM


23   Q    Jacob Joseph Kadakkarrappally?                                            09:28AM


24   A    Joseph rings a bell, but I don't know.         There could have           09:28AM


25   been more than one Joseph.                                                     09:28AM




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 1   Q    Did you meet with them weekly?                                            09:28AM


 2   A    Like, it's not like we had a meeting every week.          But, I          09:28AM


 3   mean, they would call me if they needed something.                             09:28AM


 4                   I met them on Sunday mornings.          Sometimes, some of     09:29AM


 5   them, we'd head out to the house to -- they were looking for                   09:29AM


 6   more work, and they helped us plant a garden.           I went out             09:29AM


 7   driving around, showing them the coast.         Maybe four or five guys        09:29AM


 8   in the car.                                                                    09:29AM


 9                   Again, I couldn't tell you which guys they were                09:29AM


10   except George was almost always there.                                         09:29AM


11   Q    And did you call Southern Poverty Law Center?                             09:29AM


12   A    Yes.                                                                      09:29AM


13   Q    Who did you speak with there?                                             09:29AM


14   A    I don't remember who I spoke to the first time.          I know I         09:29AM


15   got a call back from JJ.                                                       09:29AM


16   Q    That's JJ Rosenbaum?                                                      09:29AM


17   A    Yeah.                                                                     09:29AM


18   Q    And do you recall if you called the New Orleans office or                 09:29AM


19   the Atlanta office?                                                            09:29AM


20   A    I thought they were in Alabama.                                           09:29AM


21   Q    Alabama.                                                                  09:29AM


22   A    I could be wrong.     I don't know.                                       09:29AM


23   Q    And, when you talked to JJ, what did you tell her?                        09:29AM


24   A    I told her what I told you.                                               09:29AM


25   Q    And what did she say?                                                     09:29AM




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 1   A    We -- I think we set up a meeting.        She asked it I could get        09:29AM


 2   a place for us to meet.                                                        09:29AM


 3   Q    And where did you meet with her?                                          09:29AM


 4   A    In the cafeteria on the school campus next to the church.                 09:30AM


 5   Q    And who else was at that meeting?                                         09:30AM


 6   A    About 100 or more guest workers, Saket Soni.        I think there         09:30AM


 7   were -- there might have been more people from Southern Poverty,               09:30AM


 8   I'm not sure.    I know JJ was there.      Saket kind of ran the               09:30AM


 9   meeting because he could speak Hindi and a lot of them could                   09:30AM


10   speak Hindi.                                                                   09:30AM


11                   A lot of them couldn't understand, because I think             09:30AM


12   they only spoke the language of Kerala, which is Malayalam.                    09:30AM


13   Q    Was there anyone to translate into Malayalam for the                      09:30AM


14   Malayalams from Kerala?                                                        09:30AM


15   A    They were doing it themselves.       The ones that could speak            09:30AM


16   Malayalam and Hindi were translating what Saket was saying.                    09:30AM


17   Q    And were there any translating back and forth into English                09:30AM


18   for the non-Hindi non-Malayalam speakers?                                      09:30AM


19   A    I think they did once in a while.        I picked up something in         09:30AM


20   there.   I don't remember everything I picked up, but I think                  09:30AM


21   they had to let JJ know what was going on.                                     09:30AM


22   Q    And when abouts was this meeting?                                         09:31AM


23   A    Probably in March '07 maybe.                                              09:31AM


24   Q    And how many meetings like this were conducted?                           09:31AM


25   A    That was the big one I remember.       I don't remember any other         09:31AM




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 1   big ones like that.                                                            09:31AM


 2   Q      Was this meeting during the day or at night?                            09:31AM


 3   A      It was during the day.     It was after church on Sunday.               09:31AM


 4   Q      And, other than this meeting that you have described as                 09:31AM


 5   being very large, were there other smaller meetings?                           09:31AM


 6   A      I think we may have met again on another Sunday, but it                 09:31AM


 7   wasn't -- the turnout wasn't the same.                                         09:31AM


 8   Q      Would you say it was half as large?                                     09:31AM


 9   A      I can't remember, sir.                                                  09:31AM


10   Q      And do you recall when that meeting occurred?                           09:31AM


11   A      The other one?                                                          09:31AM


12   Q      Uh-huh.                                                                 09:31AM


13   A      Probably a week or two after the first one.                             09:31AM


14   Q      Did you see them at church after they stopped using your                09:31AM


15   bus?                                                                           09:31AM


16   A      Not nearly as many as were going before.                                09:31AM


17   Q      But some?                                                               09:31AM


18   A      Some.                                                                   09:31AM


19   Q      How many would you say?                                                 09:31AM


20   A      I don't know.    One dozen.                                             09:31AM


21   Q      What is your opinion of temporary worker programs that use              09:31AM


22   H-2B visa labor?                                                               09:32AM


23   A      I don't have a problem with it.                                         09:32AM


24   Q      Do you feel the programs are bad?                                       09:32AM


25   A      No.                                                                     09:32AM




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 1   Q    Do you feel that they're good?                                            09:32AM


 2   A    If people don't abuse the workers, they're good.                          09:32AM


 3   Q    Did you go to Father Kelleher to set up the meetings?                     09:32AM


 4   A    No.                                                                       09:32AM


 5   Q    Or did the Indian workers?                                                09:32AM


 6   A    The Indians called me at night and I went the next day with               09:32AM


 7   them.                                                                          09:32AM


 8   Q    So the Indians called you?                                                09:32AM


 9   A    Yes.     George.                                                          09:32AM


10   Q    George called you.       Did you put Southern Poverty in touch            09:32AM


11   with George or the other Indian workers?                                       09:32AM


12   A    Probably.                                                                 09:32AM


13   Q    Do you know if they held meetings that you did not attend?                09:32AM


14   A    I don't know of any.       I'm sure -- I mean, I don't know.       I      09:32AM


15   don't know of any.                                                             09:32AM


16   Q    Did you correspond with the Southern Poverty Law Center?                  09:32AM


17   A    Yes.                                                                      09:32AM


18   Q    And did you correspond with them by email?                                09:32AM


19   A    Mostly phone calls.       I guess that's not correspondence, but          09:32AM


20   I know I was in touch with JJ a lot.                                           09:32AM


21   Q    I see.    Does the name Jomon George sound familiar?                      09:32AM


22   A    I don't know.                                                             09:33AM


23   Q    Roy Punakkattu George?                                                    09:33AM


24   A    I don't know.                                                             09:33AM


25   Q    George Parathara Thomas?                                                  09:33AM




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 1   A    I'm not sure.                                                             09:33AM


 2   Q    Fnu Peter George?                                                         09:33AM


 3   A    I'm not sure.                                                             09:33AM


 4   Q    Shaiju Vadakkal George?                                                   09:33AM


 5   A    I don't know.                                                             09:33AM


 6   Q    Georgekutty Puthiyaparampilthomas?                                        09:33AM


 7   A    I don't know.                                                             09:33AM


 8   Q    George Chakkiyattil?                                                      09:33AM


 9   A    I don't know.                                                             09:33AM


10   Q    Kevin George Kanappilly?                                                  09:33AM


11   A    I don't know.                                                             09:33AM


12   Q    George Trijo Vadakkepurathan?                                             09:33AM


13   A    I don't know.                                                             09:33AM


14   Q    John Kunnumpaurathu George?                                               09:33AM


15   A    I don't know.                                                             09:33AM


16   Q    Philip Pindakadavil George?                                               09:33AM


17   A    I don't know.                                                             09:33AM


18   Q    Last one.   George Pulikkeparmabil Varghese?                              09:33AM


19   A    I don't know.                                                             09:33AM


20   Q    Do you believe in your personal experience and knowledge                  09:33AM


21   that slaves are typically paid?                                                09:34AM


22             THE READER:    Sorry, what page are you on?                          09:34AM


23             MR. ROUX:    Fifty-eight.                                            09:34AM


24             THE WITNESS:     Forty-seven?                                        09:34AM


25             MR. ROUX:    It's page fifty-eight.                                  09:34AM




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 1              THE WITNESS:    I have a designation of forty-seven.                09:34AM


 2   BY MR. ROUX:                                                                   09:34AM


 3   Q    To your knowledge, the workers were not meeting prior to                  09:34AM


 4   that?                                                                          09:34AM


 5   A    No.   Maybe with each other.     I don't know.     Not with -- not        09:34AM


 6   with me knowing about it.      Not with -- and I don't think -- I              09:34AM


 7   think Southern Poverty Law Center was that first contact was                   09:34AM


 8   that meeting I described earlier where over a hundred people                   09:35AM


 9   were there.                                                                    09:35AM


10   Q    And you said to your knowledge they only met twice; is that               09:35AM


11   correct?                                                                       09:35AM


12   A    It could have been two or three times, I don't know.         I            09:35AM


13   mean, people started running away.        People started not going to          09:35AM


14   church because they didn't want to get involved any more because               09:35AM


15   they were scared.     So I don't know.                                         09:35AM


16   Q    Do you believe in your personal experience and knowledge                  09:35AM


17   that slaves are typically paid?                                                09:35AM


18   A    I guess not.                                                              09:35AM


19   Q    Did this interview take place in the Sacred Heart church, to              09:35AM


20   the best of your knowledge?                                                    09:35AM


21   A    I wish you would have asked me that while it was going on.                09:35AM


22   I know they showed the church a bunch there, the interview with                09:35AM


23   Sony.                                                                          09:35AM


24   Q    Uh-huh.   I'd have to see it again.       I wasn't paying                 09:35AM


25   attention to where he was sitting.                                             09:35AM




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 1                     That's the church, yes.                                      09:35AM


 2                MR. ROUX:    That's it, Your Honor.                               09:36AM


 3                THE COURT:    Thank you.                                          09:36AM


 4                     Signal can call its next witness.                            09:36AM


 5                MS. BOLLMAN:     Our next witness will be Ramesh                  09:36AM


 6   Gunisetti, Your Honor.                                                         09:36AM


 7                     RAMESH GUNISETTI, being first duly sworn,                    09:36AM


 8        testified as follows:                                                     09:36AM


 9                CASE MANAGER:     Please be seated.     And state and spell       09:36AM


10   your name for the record.                                                      09:36AM


11                THE WITNESS:     Ramesh Gunisetti.                                09:36AM


12                CASE MANAGER:     Please spell your name.                         09:37AM


13                THE WITNESS:     R-A-M-E-S-H.    First name.   Last name is       09:37AM


14   Gunisetti, G-U-N-I-S-E-T-T-I.                                                  09:37AM


15                                DIRECT EXAMINATION                                09:37AM


16   BY MS. BOLLMAN:                                                                09:37AM


17   Q    Good morning, Mr. Gunisetti.          May I call you Mr. Ramesh           09:37AM


18   during this testimony?                                                         09:37AM


19   A    Yeah.    No problem.                                                      09:37AM


20   Q    Thank you.                                                                09:37AM


21                     Mr. Ramesh, are you married?                                 09:37AM


22   A    Yes.                                                                      09:37AM


23   Q    What is your wife's name?                                                 09:37AM


24   A    Usharani Gunisetti.                                                       09:37AM


25   Q    Do you have any children?                                                 09:37AM




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 1   A    Two boys.                                                                 09:37AM


 2   Q    And how old are they?                                                     09:37AM


 3   A    One is 14 and one is 11.                                                  09:37AM


 4   Q    And what is your country of citizenship?                                  09:37AM


 5   A    India.                                                                    09:37AM


 6   Q    And what part of India are you from?                                      09:37AM


 7   A    Southeast part of the India, from Viskhapatnam.                           09:37AM


 8   Q    And were you born there?                                                  09:37AM


 9   A    Yes.                                                                      09:37AM


10   Q    And did you attend school there?                                          09:37AM


11   A    Yes.                                                                      09:38AM


12   Q    How far did you get in school?                                            09:38AM


13   A    I did -- I did attend class.       I did tenth class.    I mean, in       09:38AM


14   India matriculation.                                                           09:38AM


15   Q    And so is tenth grade matriculation similar to graduating                 09:38AM


16   from high school in the United States?                                         09:38AM


17   A    No.                                                                       09:38AM


18   Q    No?                                                                       09:38AM


19                     So did you complete the equivalent of high school            09:38AM


20   in India                                                                       09:38AM


21   A    No.    I took tenth standard, like I took matriculation in                09:38AM


22   India.     I went to a technical school.                                       09:38AM


23   Q    And what technical school did you go to?                                  09:38AM


24   A    ITI.     It's a welding course.                                           09:38AM


25   Q    And you studied welding there?                                            09:38AM




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 1   A    Yes.                                                                      09:38AM


 2   Q    And after you studied welding in trade school did you                     09:38AM


 3   continue to work as a welder?                                                  09:38AM


 4   A    No.                                                                       09:38AM


 5   Q    Did you change crafts?                                                    09:38AM


 6   A    Yes.                                                                      09:39AM


 7   Q    To what craft did you change?                                             09:39AM


 8   A    I changed to fitter job.                                                  09:39AM


 9   Q    And how did that -- how did that happen, that you changed                 09:39AM


10   from being a welder to a fitter?                                               09:39AM


11   A    Oh, I went to Singapore in 1995 as a welder.        And after             09:39AM


12   that, there they switched me to a chief fitter department, and I               09:39AM


13   started learning from the -- in the country and started working                09:39AM


14   as a fitter.                                                                   09:39AM


15   Q    And where do you work now?                                                09:39AM


16   A    Say again?                                                                09:39AM


17   Q    Where do you work now presently?                                          09:39AM


18   A    Signal International.                                                     09:39AM


19   Q    And how long have you been working at Signal?                             09:39AM


20   A    Eight years now.                                                          09:39AM


21   Q    And what is your job position at Signal now?                              09:39AM


22   A    Safety rep.                                                               09:39AM


23   Q    I want to go back now and talk a little bit more about your               09:39AM


24   job experience before you came to Signal.         Before you worked at         09:39AM


25   Signal did you ever work in a country other than India?                        09:40AM




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 1   A    No.                                                                       09:40AM


 2   Q    I'm sorry?                                                                09:40AM


 3   A    Say again?                                                                09:40AM


 4   Q    Before you worked at Signal, did you ever work in a country               09:40AM


 5   other than India?                                                              09:40AM


 6   A    Oh, yes.                                                                  09:40AM


 7   Q    What countries have you worked in besides India?                          09:40AM


 8   A    Oh, I work in Singapore, Africa, and Azerbaijan, and in Abu               09:40AM


 9   Dhabi and USA.                                                                 09:40AM


10   Q    I want to talk about them one at a time for a minute,                     09:40AM


11   please.                                                                        09:40AM


12                     When you worked in Singapore, did you use an agent           09:40AM


13   to get that job?                                                               09:40AM


14   A    Yes.                                                                      09:40AM


15   Q    And did you pay the agent a fee to get that job?                          09:40AM


16   A    Yes.                                                                      09:40AM


17   Q    And how much did you pay?                                                 09:40AM


18   A    First time when I went to Singapore in 1995, I paid Indian                09:40AM


19   rupees 55,000 rupees.                                                          09:41AM


20   Q    And how long was this job opportunity for?                                09:41AM


21   A    That is for first two years contract.                                     09:41AM


22   Q    For a two-year contract?                                                  09:41AM


23   A    Yes.                                                                      09:41AM


24   Q    And did you need a visa to go to Singapore?                               09:41AM


25   A    Yes.                                                                      09:41AM




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 1   Q    What was the name of the company that you worked for?                     09:41AM


 2   A    Singapore Technologies Ship Building.                                     09:41AM


 3   Q    And what was your position in that company?                               09:41AM


 4   A    I went as a welder, but as -- I worked as a fitter there.                 09:41AM


 5   Q    So that's the company in which you started out as a welder                09:41AM


 6   but learned to become a fitter?                                                09:41AM


 7   A    Yes.                                                                      09:41AM


 8   Q    And how much money did you earn at this job?                              09:41AM


 9   A    In Singapore they used to give us monthly salaries, like.                 09:41AM


10   So I went on a basic salary of $420, Singapore dollars, and plus               09:41AM


11   overtime.    And it will be roughly like -- I used to earn 900 to              09:42AM


12   950 Singapore dollars per month.                                               09:42AM


13   Q    A month?                                                                  09:42AM


14   A    Yes.                                                                      09:42AM


15   Q    And after you finished your two-year contract at Singapore,               09:42AM


16   where did you go to work?                                                      09:42AM


17   A    After that, next country is Africa.        I worked with Cameroon.        09:42AM


18   Q    In Cameroon?                                                              09:42AM


19   A    Yes.                                                                      09:42AM


20   Q    And did you use an agent to get that job?                                 09:42AM


21   A    Yes.                                                                      09:42AM


22   Q    And did you pay the agent a fee to get that job?                          09:42AM


23   A    Yes.                                                                      09:42AM


24   Q    And how much did you pay?                                                 09:42AM


25   A    40,000 rupees.                                                            09:42AM




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 1   Q    And did you need a visa to go to Africa -- to Cameroon to                 09:42AM


 2   work?                                                                          09:42AM


 3   A    Say again?                                                                09:42AM


 4   Q    Did you need a visa to go to Cameroon to work?                            09:42AM


 5   A    Oh, yes.                                                                  09:42AM


 6   Q    And what was your job position at this company?                           09:42AM


 7   A    I went as a fitter.                                                       09:43AM


 8   Q    And how long did you work there?                                          09:43AM


 9   A    Ten or eleven months.                                                     09:43AM


10   Q    Eleven months?                                                            09:43AM


11   A    Ten or eleven.                                                            09:43AM


12   Q    Ten or eleven.    Okay, thank you.                                        09:43AM


13                     And where did you -- what was your next job that             09:43AM


14   you went to after you left Cameroon?                                           09:43AM


15   A    After Cameroon I selected for -- I went next country                      09:43AM


16   Azerbaijan is a country and I work in the city, is Baku.                       09:43AM


17   Q    And what company did you work for there?                                  09:43AM


18   A    Boshell.   That's a company there in Azerbaijan.                          09:43AM


19   Q    Did you use an agent to get that job?                                     09:43AM


20   A    Yes.                                                                      09:43AM


21   Q    And did you pay the agent a fee to get that job?                          09:43AM


22   A    Yes.                                                                      09:43AM


23   Q    And how long was this job opportunity?                                    09:43AM


24   A    Two years.    I worked for twenty months there.                           09:43AM


25   Q    You worked for twenty months there.                                       09:44AM




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 1                     And what was your position at this company?                  09:44AM


 2   A    A fitter.                                                                 09:44AM


 3   Q    And how much did you earn?                                                09:44AM


 4   A    In Baku, my salary plus overtime, everything goes, around a               09:44AM


 5   thousand dollars a month.                                                      09:44AM


 6   Q    And when you completed the job, the two-year contract there,              09:44AM


 7   where was the next job opportunity that you had?                               09:44AM


 8   A    Next, I went to Abu Dhabi.                                                09:44AM


 9   Q    And who did you work for in Abu Dhabi?                                    09:44AM


10   A    D-E-N-Z, it's like Denz.                                                  09:44AM


11   Q    And did you use an agent to get that job?                                 09:44AM


12   A    Oh, yes.                                                                  09:44AM


13   Q    And did you pay the agent a fee to get that job?                          09:44AM


14   A    Yes.                                                                      09:44AM


15   Q    And how much did you pay the agent?                                       09:44AM


16   A    Oh, that's 20,000 Indian rupees.                                          09:45AM


17   Q    And how long was that job opportunity?                                    09:45AM


18   A    That job was like two years' contract, is what they said.                 09:45AM


19   Q    And what was your job position at that company?                           09:45AM


20   A    Fitter.                                                                   09:45AM


21   Q    And after your two-year contract was up, where did you go                 09:45AM


22   after that?                                                                    09:45AM


23   A    Say again?                                                                09:45AM


24   Q    After your two-year contract was up with that company, where              09:45AM


25   did you go to work?                                                            09:45AM




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 1   A    Oh, I did not finish my contract with Abu Dhabi company, and              09:45AM


 2   I came back to India to get a chance to USA.                                   09:45AM


 3   Q    Okay.   Was using an agent common in India to get a job                   09:45AM


 4   abroad?                                                                        09:45AM


 5   A    Say again?                                                                09:45AM


 6   Q    Was using an agent common in India in order to get a job                  09:45AM


 7   abroad?                                                                        09:45AM


 8   A    Yes.                                                                      09:45AM


 9   Q    While you were living in India, did you ever get a job                    09:45AM


10   abroad without using an agent?                                                 09:46AM


11   A    No.    We needed agent to go out of India.                                09:46AM


12   Q    How did you first hear about the job opportunity with                     09:46AM


13   Signal?                                                                        09:46AM


14   A    Sachin Dewan was like agent for that game -- like, for that               09:46AM


15   Signal International.     So before that, I met one time in India              09:46AM


16   Sachin Dewan for USA process program, like.                                    09:46AM


17                     So I met by that time, it's not like so urgent,              09:46AM


18   like immediately requirement to that country.           So later on I          09:46AM


19   came to know that there was selections going on in India, so                   09:46AM


20   they going to do some tests for Signal and I went to that.                     09:47AM


21   Q    What did Sachin Dewan tell you about the job opportunity at               09:47AM


22   Signal?                                                                        09:47AM


23   A    He said an H-2B visa, that we will get an extension, an                   09:47AM


24   extension, and a green card.                                                   09:47AM


25   Q    And were you going to be going to Signal International as a               09:47AM




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 1   fitter?                                                                         09:47AM


 2   A    Oh, yes.                                                                   09:47AM


 3   Q    Did you have to test for the position at Signal?                           09:47AM


 4   A    Oh, yes.                                                                   09:47AM


 5   Q    Describe the testing process to me, please.                                09:47AM


 6   A    In India there was the two clients came from USA.           By the         09:47AM


 7   time I don't know the names.                                                    09:47AM


 8                    And they've been doing testing.         One side welding       09:47AM


 9   tests going on in institute, in Visakhapatnam, where is town --                 09:48AM


10   my hometown is, and one side they're doing fitter, like pipe                    09:48AM


11   fitters and ship fitters, a paper test.                                         09:48AM


12   Q    And by a paper test, you mean you took a written test?                     09:48AM


13   A    Yeah.   Like paper test, they have questions on it,                        09:48AM


14   measurements, and the layout of a structure.            And we did the          09:48AM


15   paper test of answering what is next, what is next in the paper                 09:48AM


16   test like.                                                                      09:48AM


17   Q    And did you pass the fitter test?                                          09:48AM


18   A    Yes.                                                                       09:48AM


19   Q    Had you ever used Mr. Dewan as an agent before this time?                  09:48AM


20   A    Oh, no.    This is first time for USA.      Every time I go with a         09:48AM


21   different agencies and different opportunities, which I see in                  09:48AM


22   the newspapers and contacted the agents and go through them.                    09:48AM


23   Q    Was the process that you went through with Mr. Dewan for the               09:49AM


24   job opportunity at Signal any different than the process you had                09:49AM


25   gone through in the past for your other job opportunities                       09:49AM




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 1   abroad?                                                                        09:49AM


 2   A    No.    It's totally different from Dewan agents to come to                09:49AM


 3   USA, they said we must go to consulate interview to get a visa                 09:49AM


 4   to travel to come and work for -- in the USA.                                  09:49AM


 5   Q    Prior to your consulate interview, did you have any meetings              09:49AM


 6   with Mr. Dewan?                                                                09:49AM


 7   A    Yes.                                                                      09:49AM


 8   Q    What did he tell you?     Was it one meeting?      Did you have one       09:49AM


 9   meeting with Mr. Dewan?                                                        09:49AM


10   A    Like first time I met him while I'm doing test in India.                  09:49AM


11   And after that, in middle I went to another country, for Abu                   09:50AM


12   Dhabi.     And after -- I met by that time -- one time and when I              09:50AM


13   came back from Abu Dhabi for the interviews I met again, yeah.                 09:50AM


14   Q    All right.    So your at your first meeting when you met Mr.              09:50AM


15   Dewan when you were testing, what did he give you any                          09:50AM


16   information about the job opportunity at Signal?                               09:50AM


17   A    Yeah.    He said there was an H-2B visa the workers will go to            09:50AM


18   work with Signal, and that's the reason they're doing some                     09:50AM


19   testing here.     And go ahead and give a test.                                09:50AM


20   Q    And then when you came back and met with him again before                 09:50AM


21   the consulate interview, did he tell you anything in that                      09:50AM


22   meeting?                                                                       09:50AM


23   A    Yeah.    He said like I came to know when I was in Abu Dhabi,             09:50AM


24   through some of my friends, they said like there was an H-2B                   09:51AM


25   visa program is going on with Sachin Dewan, so if you wanted to                09:51AM




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 1   contact, contact him and see what he says.                                     09:51AM


 2                    And I tried to contact him when I was in Abu Dhabi            09:51AM


 3   to see how it -- how far it is.       And I tried to contact him and           09:51AM


 4   one time I couldn't get him, like two times I think -- second                  09:51AM


 5   time I think I caught him on the phone conversation.          So I             09:51AM


 6   talked to him.                                                                 09:51AM


 7                    And he said:    Yeah, it's going on.    If you want to        09:51AM


 8   come to try for interview, and you must come to India for that                 09:51AM


 9   consulate interview.                                                           09:51AM


10                    And I asked when and how it goes.                             09:51AM


11                    And he said:    I'll let you know when it goes.        By     09:51AM


12   the time you must come to India for the consulate interview, and               09:51AM


13   from there the process will start.                                             09:51AM


14   Q    So you came back from Abu Dhabi to India for the consulate                09:51AM


15   interview?                                                                     09:52AM


16   A    Yes.                                                                      09:52AM


17   Q    And what city was the consulate interview held in?                        09:52AM


18   A    It's Chennai.    It's in Tamil Nadu, state in India.                      09:52AM


19   Q    And did you meet with Mr. Dewan prior to your consulate                   09:52AM


20   interview?                                                                     09:52AM


21   A    Yes.                                                                      09:52AM


22   Q    And what did he tell you at that meeting?                                 09:52AM


23   A    Like first time when I went to Chennai, and he gave me the                09:52AM


24   address to come to that particular hotel.         And by the time I            09:52AM


25   went there I didn't met Sachin Dewan by that evening, he's not                 09:52AM




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 1   there.                                                                         09:52AM


 2                    So I met someone in the office, assistant, or                 09:52AM


 3   call.    So they said -- they asked me that I came for a consulate             09:52AM


 4   interview?                                                                     09:52AM


 5                    Yes, I came for consulate interview from SHAT at              09:52AM


 6   that partner.                                                                  09:52AM


 7                    And they said:    Okay, give all your paperwork and           09:52AM


 8   we will see to apply the consulate interview, it's like you                    09:53AM


 9   should apply online and should come out with a date of the                     09:53AM


10   interview.    Okay.                                                            09:53AM


11                    And I asked if Sachin Dewan is here.                          09:53AM


12                    He said:   No, he'll come back tomorrow, one or two           09:53AM


13   days here.                                                                     09:53AM


14   Q    And so did you ultimately meet with Mr. Dewan prior to your               09:53AM


15   consulate interview?                                                           09:53AM


16   A    Yes.                                                                      09:53AM


17   Q    And did he tell you anything?       Did you have any discussions          09:53AM


18   with him at that time?                                                         09:53AM


19   A    No, he said like because there was a lot of people there in               09:53AM


20   that room, getting their consulate interview -- interview                      09:53AM


21   paperwork.    And some people been going on to applying a visa at              09:53AM


22   the consulate interview dates.                                                 09:53AM


23                    So he or whoever got consulate interviews                     09:53AM


24   confirmed, that like we are going next morning, like certain                   09:53AM


25   time and date.    That time I talked to him.                                   09:53AM




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 1   Q     And what did he tell you?                                                09:54AM


 2   A     Oh, he said, oh, your date just came out.         Go straight to         09:54AM


 3   the consulate and get your interview.                                          09:54AM


 4   Q     Did he tell you anything about the interview process?                    09:54AM


 5   A     Yes.   He said like, if you are going there, he said you're              09:54AM


 6   going as -- you're going to interview for an H-2B visa.                        09:54AM


 7                    So if they ask a few questions, say that they                 09:54AM


 8   asking you what you say you are going, just say H-2B visa.                     09:54AM


 9                    And if they ask you anything about money, just say            09:54AM


10   you paid 25,000 Indian rupees.                                                 09:54AM


11                    And if they ask you when you are coming back, say             09:54AM


12   July 31st, 2007.                                                               09:54AM


13   Q     Now, how much were you actually paying for your visa process             09:54AM


14   to Mr. Dewan?                                                                  09:55AM


15   A     I paid 500,000 rupees.    Five lakhs Indian currency, Indian             09:55AM


16   rupees.                                                                        09:55AM


17   Q     And that's approximately how much in US dollars?                         09:55AM


18   A     Approximately it's 18,006.     I don't know exact the current            09:55AM


19   rate of Indian currency, but I think roughly fourteen to $15,000               09:55AM


20   US.   I don't know exactly what is.                                            09:55AM


21   Q     And how long did you believe you would be staying at Signal              09:55AM


22   when you got to the United States?                                             09:55AM


23   A     As per the agent, he said you're going to H-2B visa and                  09:55AM


24   you'll get an extension and a extension.         So you'll stay almost         09:55AM


25   thirty months with Signal.                                                     09:55AM




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 1   Q    When you went to the consulate for your interview, what                   09:55AM


 2   questions did the consular office ask you?                                     09:56AM


 3   A    Well, just they asked me first question, I think they asked               09:56AM


 4   me what my name.      And exactly, I don't remember it, they asked             09:56AM


 5   me how many years experience I got.                                            09:56AM


 6                     That's it.   Yeah.                                           09:56AM


 7   Q    That's it?      That's all they asked you?                                09:56AM


 8   A    Yes.                                                                      09:56AM


 9   Q    And so did you get the H-2B visa?                                         09:56AM


10   A    Yes.                                                                      09:56AM


11   Q    Did Mr. Dewan ever pressure you to take the job opportunity               09:56AM


12   with Signal?                                                                   09:56AM


13   A    No.                                                                       09:56AM


14   Q    Did anyone in India pressure you to take the job opportunity              09:56AM


15   with Signal?                                                                   09:56AM


16   A    No.    Never.                                                             09:56AM


17   Q    Did Mr. Dewan explain to you how the green card process                   09:56AM


18   worked?                                                                        09:56AM


19   A    No.    He don't explain anything about green card.       He said          09:56AM


20   when he working for company in Signal, they going to extend and                09:56AM


21   extend, after that they'll start a green card.                                 09:56AM


22   Q    Did Mr. Dewan tell you that you would have to return to                   09:57AM


23   India before you could get your green card?                                    09:57AM


24   A    No.                                                                       09:57AM


25   Q    Did Mr. Dewan talk to you about the living accommodations at              09:57AM




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 1   Signal?                                                                        09:57AM


 2   A    Yes.    Before I'm leaving from India to USA, he said your                09:57AM


 3   living accommodations, he said, they going to deduct from my pay               09:57AM


 4   $35 a day.    He explained not only with me, the group who we are              09:57AM


 5   traveling, who we are flying out that evening.                                 09:57AM


 6   Q    So he was speaking to your whole group?                                   09:57AM


 7   A    Yes.                                                                      09:57AM


 8   Q    Why were you willing to pay so much money to the agent for                09:57AM


 9   the job opportunity at Signal?                                                 09:57AM


10   A    It's a good opportunity to go to work in USA, and it's a                  09:57AM


11   good life.    You can make more money than we had made in our                  09:57AM


12   countries, I live never really other countries, this was good                  09:58AM


13   money.                                                                         09:58AM


14                    And every time I go to a country, I was the                   09:58AM


15   different payments to the agents and that belongs to my                        09:58AM


16   salaries.                                                                      09:58AM


17                    So if there is a salary depends -- that's the way             09:58AM


18   like the Catholic -- an agent money, what I pay out.          So this is       09:58AM


19   like they say extension, extension, green card, and it's good                  09:58AM


20   for me and for my life in future, he said.          So I felt for that.        09:58AM


21   Q    I want to move on now and talk about your arrival in the                  09:58AM


22   United States.    When did you first arrive in the United States?              09:58AM


23   A    2006 November.                                                            09:58AM


24   Q    In November of 2006?                                                      09:58AM


25   A    Yes.                                                                      09:58AM




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 1   Q    And where did you arrive?                                                 09:58AM


 2   A    In Mobile.                                                                09:58AM


 3   Q    Did anyone from Signal meet you there?                                    09:58AM


 4   A    Yeah.    That evening someone came from Signal to the airport             09:59AM


 5   while we are came -- when we are coming out from the airport and               09:59AM


 6   we had the luggage at the airport, and someone came and said:                  09:59AM


 7   We are from Signal, collect your luggages, and get together.                   09:59AM


 8   There was a bus outside we want to take to the company                         09:59AM


 9   accommodation.                                                                 09:59AM


10   Q    And so you took a bus from the Mobile airport to Signal in                09:59AM


11   Pascagoula?                                                                    09:59AM


12   A    Yes.                                                                      09:59AM


13   Q    What time of day did you arrive at Signal?                                09:59AM


14   A    I think November 26th or 27th.                                            09:59AM


15   Q    I'm sorry.    So you arrived on November 26th or 27th.                    09:59AM


16                     And what time of day was it?      Was it during the          09:59AM


17   daytime?     Was it at night?                                                  09:59AM


18   A    It was like evening.       I think after like 8.     8 or 9 o'clock,      09:59AM


19   I don't remember exact time.       But it's night.      Evening like.          09:59AM


20   Q    And so did anyone meet you when you arrived at the Signal                 10:00AM


21   accommodations?                                                                10:00AM


22   A    Yes.    Once we reached the Signal accommodations I met one               10:00AM


23   person.                                                                        10:00AM


24   Q    And who was that?                                                         10:00AM


25   A    He said -- he introduced us, like he say his name is John                 10:00AM




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 1   Sanders, I am the camp manager, I'm taking care of you all stuff               10:00AM


 2   So you all wait in this TV room.                                               10:00AM


 3                     There was a TV room.    They told us to sit there.           10:00AM


 4                     He came in, talked to us, and he gave us $5 of a             10:00AM


 5   phone card to call India to your parents and your wife and your                10:00AM


 6   family and tell them you safely arrived to US Signal company.                  10:00AM


 7                     And later on he said:    I'll figure it out, and             10:00AM


 8   I'll you all know where you all next -- where you all wanted to                10:00AM


 9   go and see what is next like.                                                  10:00AM


10   Q    Okay.   And did they feed you a meal when you arrived?                    10:00AM


11   A    Say again?                                                                10:00AM


12   Q    Were you fed a meal when you arrived?                                     10:00AM


13   A    Yeah.   There is some food that evening -- that night.                    10:00AM


14   Q    And when did you think of the accommodations when you                     10:01AM


15   arrived at Signal?                                                             10:01AM


16   A    First when I saw the camp, I didn't see my accommodation, so              10:01AM


17   just told us to stay in the TV room.        In the meanwhile they're           10:01AM


18   going to arrange the rest of everything like where our beds,                   10:01AM


19   whatever I don't know about that time.         We just waiting in the          10:01AM


20   TV hall to go for the next step.                                               10:01AM


21   Q    And what was the next step?                                               10:01AM


22   A    After we call India, we had some food, and after that he                  10:01AM


23   opened a bunk, he said there was a bunkhouse, you all going to                 10:01AM


24   stay.   And he gave -- he said there was a number, number 8 that               10:01AM


25   was on my bunkhouse.                                                           10:01AM




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 1                    And the people who came there, we all went                    10:01AM


 2   straight to the bunkhouse and we saw the double-decker beds                    10:01AM


 3   inside that bunk house.                                                        10:01AM


 4   Q    How much people were in that bunkhouse, Bunkhouse No. 8?                  10:01AM


 5   A    He said that night we -- I think eighteen.         Eighteen to            10:02AM


 6   twenty people.    That's the bunk beds available in that trailer,              10:02AM


 7   in the bunk house.                                                             10:02AM


 8                    And he said:    Just relax for tonight and tomorrow           10:02AM


 9   we'll come to know who works for night shifts and day shifts, so               10:02AM


10   that way the people will be changing their place in the bank                   10:02AM


11   houses shift wise.                                                             10:02AM


12   Q    So they were going to separate bunkhouses by day shift and                10:02AM


13   night shift?                                                                   10:02AM


14   A    Yes.    That's what they said first time -- first meet with               10:02AM


15   John Sanders.                                                                  10:02AM


16   Q    Did you have a problem with how many people were in your                  10:02AM


17   bunkhouse?                                                                     10:02AM


18   A    First time I -- when I didn't realize -- I mean, I never                  10:02AM


19   heard anything because that was the first night I was there and                10:02AM


20   tired.   Traveling and came back and relax.         And he said we             10:02AM


21   should talk next morning again.                                                10:02AM


22   Q    And did you talk again the next morning with Mr. Sanders                  10:03AM


23   about the accommodations?                                                      10:03AM


24   A    I asked:    This many people are going to stay in this                    10:03AM


25   accommodation or what like?                                                    10:03AM




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 1                     He said:   Yeah, right now we got less                       10:03AM


 2   accommodations, we're planning to get more bunkhouses, and we                  10:03AM


 3   will separate you -- I mean, we will give little bit more space                10:03AM


 4   to you all.     But it will take little time while we are working              10:03AM


 5   on it, while we are in progress of that, more accommodations,                  10:03AM


 6   like.                                                                          10:03AM


 7   Q    And did Signal ever add additional bunkhouses to the man                  10:03AM


 8   camp?                                                                          10:03AM


 9   A    Yes, they added.                                                          10:03AM


10   Q    And did people move out of your bunkhouse?                                10:03AM


11   A    Yes.     Some moved out and some say we are happy in this                 10:03AM


12   bunkhouse, and we stay all together.                                           10:03AM


13   Q    Did you chose to stay in your bunkhouse?                                  10:03AM


14   A    Yes.                                                                      10:03AM


15   Q    No. 8.    How many toilets were in your bunkhouse?                        10:03AM


16   A    In my bunkhouse, there was two toilets.                                   10:03AM


17   Q    And how many sinks?                                                       10:03AM


18   A    There were two sinks s in my bunk house.            One sink is in the    10:04AM


19   bunkhouse, and one sink is in the bathroom.             One bathroom.          10:04AM


20   Q    And how many showers were in the bunkhouse?                               10:04AM


21   A    I think it's four showers.                                                10:04AM


22   Q    And were there any other trailers with toilet, sinks and                  10:04AM


23   showers, other bathroom facilities in the man camp?                            10:04AM


24   A    Yes.     They got a separate trailer like a bunk with showers             10:04AM


25   and toilets, and sinks, too.                                                   10:04AM




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 1   Q     Can you describe what other facilities or trailers there                 10:04AM


 2   were in the man camp at Signal?                                                10:05AM


 3   A     They got two TV rooms, like the bunkhouses that they turn                10:05AM


 4   into like a TV halls, like that people used to watch TVs.            And       10:05AM


 5   there was a separate -- they bought another -- they bought                     10:05AM


 6   another toilets too, not only one trailer, what I said.          They          10:05AM


 7   said -- they bought another showers and toilets extra, more than               10:05AM


 8   that.                                                                          10:05AM


 9                   And they got a separate room for they arranged                 10:05AM


10   like computers, computer room like they separate one room for                  10:05AM


11   the stuff they bought for us.                                                  10:05AM


12                   And then the third, like something like to pray                10:05AM


13   room and use that room like --                                                 10:05AM


14   Q     And was there a dining hall?                                             10:06AM


15   A     Oh, that's separate.    Cafeteria separated.      They've got a          10:06AM


16   dining and cafeteria that's totally separate, come and eat and                 10:06AM


17   go.                                                                            10:06AM


18   Q     And --                                                                   10:06AM


19   A     And we got a -- like a picnic tables in between that we used             10:06AM


20   to sit and talk, but it's open.                                                10:06AM


21   Q     And so then after you spent a night at Signal, the next day              10:06AM


22   what did you do?                                                               10:06AM


23   A     That first night they were going to show us the bunkhouse to             10:06AM


24   go to -- go and take relax.                                                    10:06AM


25                   But before that John Sanders said:        Tomorrow             10:06AM




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 1   morning at 7:30 come to this TV hall.         The personnel department         10:06AM


 2   from Signal will come and start talking to you all.          Like they         10:06AM


 3   wanted to do the paperwork.       And you all should be here by 7:30           10:06AM


 4   to eat your breakfast and relax in this TV hall and personnel                  10:07AM


 5   department will come and talk to us.                                           10:07AM


 6   Q    So the next day the personnel department held orientation;                10:07AM


 7   is that correct?                                                               10:07AM


 8   A    Yes.                                                                      10:07AM


 9   Q    And what happened at orientation?                                         10:07AM


10   A    They talked about the insurances, about the rules and                     10:07AM


11   regulations of the camp.      And they said:     We going to bring             10:07AM


12   people, like medical -- like doctors, like medical tests,                      10:07AM


13   someone had medical tests in the same TV hall.          And they were          10:07AM


14   going to be a bank, people will be here to open my -- our                      10:07AM


15   accounts.    And Social Security people also came there to fill                10:07AM


16   out paperwork to apply for Social Security, too.                               10:07AM


17   Q    And did you have to fill out and sign paperwork at                        10:07AM


18   orientation?                                                                   10:07AM


19   A    Yeah.   They gave us some paperwork to sign and give back to              10:07AM


20   them.                                                                          10:08AM


21   Q    And were you given time to read those documents before you                10:08AM


22   signed them?                                                                   10:08AM


23   A    Oh, yes.   I got -- and I tried to -- when I'm reading I                  10:08AM


24   tried to explain one or two people who is sitting next to me:                  10:08AM


25   This belongs to Mr. So-and-So.       So I signed while I'm reading.            10:08AM




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 1   Q    So you translated some of the documents for your other H-2B               10:08AM


 2   workers?                                                                       10:08AM


 3   A    Yeah.   Just who was sitting to next to me right and left                 10:08AM


 4   sides.                                                                         10:08AM


 5   Q    And how soon after orientation did you begin working on the               10:08AM


 6   yard at Signal?                                                                10:08AM


 7   A    After we finish all this -- I think one or two assistants                 10:08AM


 8   and then -- after the second day they said they going to have a                10:08AM


 9   boot -- there's a truck, they said there's a boot truck is                     10:08AM


10   coming there, and you all go and get what clothes and the safety               10:08AM


11   boots and get ready.     Tomorrow morning you are going to the                 10:09AM


12   company, inside the company.                                                   10:09AM


13   Q    So what clothing did you receive from the boot truck?                     10:09AM


14   A    Well, they gave me two shirts, two pants, and one safety                  10:09AM


15   shoe.                                                                          10:09AM


16   Q    And did you have to pay for this clothing?                                10:09AM


17   A    Oh, no.   They said:    The company's providing you all.                  10:09AM


18   Q    And so then you got your clothing from the boot truck, what               10:09AM


19   happened after that?                                                           10:09AM


20   A    After that we went home.      Me and myself and other rest of my          10:09AM


21   Indians, we all went there.       We took all the clothings, our               10:09AM


22   sizes, and we came back to our bunkhouse.                                      10:09AM


23                   And they said:     Get ready tomorrow morning at 6:00          10:09AM


24   o'clock, you all should go to safety orientation inside the                    10:09AM


25   shipyard.                                                                      10:09AM




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 1   Q    And what happened after safety orientation?                               10:09AM


 2   A    The group, we all came and we went all together to safety                 10:10AM


 3   trailer.    They give directions to us to go that way, that's the              10:10AM


 4   safety trailer, because we are new for that first day.                         10:10AM


 5                    And we went straight there, and we went inside.               10:10AM


 6   They told us to sit down, the group.        We all went inside.                10:10AM


 7                    And there was a Terry Eley gave the orientation               10:10AM


 8   sheet, like, and they started talking about orientation, the                   10:10AM


 9   Signal safety processing and stuff like that.                                  10:10AM


10                    And there was hours waiting, and there was two or             10:10AM


11   three people trying to ask me what's going on in that                          10:10AM


12   orientation, so I tried to explain them.                                       10:10AM


13   So the Terry Eley is safety manager for that department and he                 10:10AM


14   said:   You can translate and tell your people.                                10:10AM


15                    I said:   Yes, I have to problem, as much as I can.           10:10AM


16   And I tried to tell this safety orientation, what they gave me.                10:11AM


17   And I explained to them all.       And after that, they told us to go          10:11AM


18   to warehouse, get ready, take your tools.                                      10:11AM


19   Q    So after safety orientation you went to get your tools?                   10:11AM


20   A    Yes.                                                                      10:11AM


21   Q    And then did you --                                                       10:11AM


22               THE COURT:   Mrs. Bollman, maybe this is a good time for           10:11AM


23   us to take a break.                                                            10:11AM


24               MS. BOLLMAN:   Absolutely, Your Honor.                             10:11AM


25               THE COURT:   So we'll take a fifteen minute break.                 10:11AM




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 1                    I want to remind you of the instructions I've                 10:11AM


 2   given you.     Until the trial is over you're not to discuss the               10:11AM


 3   case with anyone, including your fellow jurors or anyone else.                 10:11AM


 4                    If anyone approaches you and tries to talk about              10:11AM


 5   the case, do not tell your fellow jurors but advise me about it                10:11AM


 6   immediately.                                                                   10:11AM


 7                    You must not communicate with or provide any                  10:11AM


 8   information to anyone by any means about this case.          You may not       10:11AM


 9   discuss the case, even among yourselves, until it's concluded.                 10:11AM


10   And you're instructed to begin your deliberations.                             10:11AM


11                    Also please remember you're not to reach any                  10:12AM


12   conclusions in the case until all of the evidence has been                     10:12AM


13   presented, the Court has instructed you on the law applicable to               10:12AM


14   the case, and it's given to you for deliberation and decision.                 10:12AM


15                    And remember, that you're not to communicate with             10:12AM


16   anyone or provide any information about this case by any                       10:12AM


17   electronic -- with any of your electronic devices or attempt to                10:12AM


18   gain any information about the case.                                           10:12AM


19                    We'll come back at 10:25.                                     10:12AM


20                    (Jury Exits.)                                                 10:12AM


21             THE COURT:    You all may have a seat.        Are the people         10:12AM


22   who are prepared to talk about the other exhibits here now?                    10:13AM


23             MR. HOWARD:    The list of exhibits?                                 10:13AM


24             THE COURT:    Yes.   Let's do the Hemant Khuttan exhibits.           10:13AM


25             MR. HOWARD:    Your Honor, for Hemant Khuttan, plaintiffs            10:13AM




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 1   used Exhibits 777, 827, 2031, which is a video which was already                   10:13AM


 2   in evidence, 724, 721 and 727.                                                     10:13AM


 3             THE COURT:    Does anyone else have exhibits that they                   10:13AM


 4   used?                                                                              10:13AM


 5             MR. CERNIGLIA:     I had one for Mr. Khuttan.           I'm not          10:13AM


 6   sure I have it with me.                                                            10:13AM


 7             MR. HOWARD:    I have it, Your Honor.          And I have the            10:13AM


 8   ones from Signal's cross as well.                                                  10:13AM


 9             THE COURT:    All right.    Tell us those, list them so you              10:13AM


10   can tell us if there are any additional ones.                                      10:13AM


11             MR. HOWARD:    The ones Mr. Burnett's counsel used was                   10:13AM


12   1282.                                                                              10:14AM


13                    The ones from the cross of Signal, it was Exhibit                 10:14AM


14   2061 but that was the compilation of welding photos, and he only                   10:14AM


15   identified three of them, I believe.        So I don't have the                    10:14AM


16   specifics.                                                                         10:14AM


17                    So maybe I can list it by Bates numbers the ones                  10:14AM


18   that should be part of that exhibit.                                               10:14AM


19                    It would be Sig-E 0558545, Sig-E 0558544, and                     10:14AM


20   Sig-E 0558543.                                                                     10:14AM


21             THE COURT:    And that's it, you said?                                   10:14AM


22             MR. HOWARD:    Let me just check.                                        10:14AM


23                    In addition they used Exhibit 2142.          And that was         10:14AM


24   it.                                                                                10:14AM


25             THE COURT:    Do we have any others?          Cesyle?                    10:14AM




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 1              CASE MANAGER:    I have one more:     1005.                         10:15AM


 2              MR. HOWARD:     1005 they would not have used that with             10:15AM


 3   Mr. Khuttan.    1005 was used with Mr. Shouse on cross.        That's          10:15AM


 4   the one about the Indian smell.                                                10:15AM


 5              MS. BOLLMAN:    We have two other ones, Your Honor, 877             10:15AM


 6   and 827.                                                                       10:15AM


 7              CASE MANAGER:    He said those.                                     10:15AM


 8              MR. HOWARD:     777 was the same one we used.     And 827 is        10:15AM


 9   the one we used.     That's why I didn't say it again.                         10:15AM


10              MS. BOLLMAN:    I'm sorry.                                          10:15AM


11              THE COURT:    And 1005, do you have that on the Shouse              10:15AM


12   list?                                                                          10:15AM


13              MR. HOWARD:     That was on Mr. Sandler's cross of Mr.              10:15AM


14   Shouse.    That was our one exhibit for that.                                  10:15AM


15              CASE MANAGER:    Yes.                                               10:15AM


16              THE COURT:    All right.   So any objection to any of               10:15AM


17   those exhibits?                                                                10:15AM


18              MR. CERNIGLIA:     No objection.                                    10:15AM


19              MR. SHAPIRO:    No objection.                                       10:15AM


20              MS. BOLLMAN:    No objection.                                       10:15AM


21              THE COURT:    All right.   So those are admitted.                   10:15AM


22                   (Exhibits Admitted.)                                           10:15AM


23              THE COURT:    Then let's talk about the Shouse exhibits.            10:15AM


24              MR. HOWARD:     I don't think I have the direct                     10:15AM


25   examination, so I'd have to defer to Signal.                                   10:15AM




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 1              MR. RABBANI:    Signal didn't introduce any exhibits                10:15AM


 2   through Mr. Shouse.                                                            10:16AM


 3              THE COURT:    Did anyone else?                                      10:16AM


 4              MR. SHAPIRO:    No, none here, Your Honor.                          10:16AM


 5              THE COURT:    All right.                                            10:16AM


 6                   And then how about Mr. Cochran.                                10:16AM


 7              MR. HOWARD:    Mr. Cochran, I have listed on the direct             10:16AM


 8   the two exhibits which are already in evidence, which are 696                  10:16AM


 9   and 710.   And on cross plaintiffs used Exhibit 278.                           10:16AM


10              THE COURT:    Any other exhibits?                                   10:16AM


11              MR. SHAPIRO:    None, your Honor.                                   10:16AM


12              MS. BOLLMAN:    No, Your Honor.                                     10:16AM


13              THE COURT:    Any objection to that exhibit?                        10:16AM


14              MS. BOLLMAN:    No, Your Honor.                                     10:16AM


15              MR. SHAPIRO:    No, Your Honor.                                     10:16AM


16              THE COURT:    Then it's admitted.                                   10:16AM


17                   (Exhibit Admitted.)                                            10:16AM


18              THE COURT:    Then with Pat Killen.                                 10:16AM


19              MR. HOWARD:    On the direct we have that they used                 10:16AM


20   Exhibit 1191, which was already in evidence.            482, 1147 which        10:16AM


21   was already in evidence.      503, 405, 1190, and 60.                          10:16AM


22                   On cross, we had 1105, 1104, 1102, 1191, 482.                  10:16AM


23              THE COURT:    Any other exhibits anyone can identify?               10:17AM


24              MR. SHAPIRO:    None here.                                          10:17AM


25              MS. BOLLMAN:    No, Your Honor.                                     10:17AM




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 1               CASE MANAGER:    I have 855 and 1147.                              10:17AM


 2               MR. HOWARD:     855 I believe is not admitted.       I think       10:17AM


 3   they put it up on the screen and there was no foundation laid.                 10:17AM


 4   Is that the one?     So I did not offer that in evidence.                      10:17AM


 5                    The other one, I'm sorry, 1147?          That was used on     10:17AM


 6   direct.   So that I have on the direct list.            We just also pulled    10:17AM


 7   it up on cross.                                                                10:17AM


 8               THE COURT:    All right.   Any objection?                          10:17AM


 9               MR. CERNIGLIA:     No.                                             10:17AM


10               MR. SHAPIRO:    No objection.                                      10:17AM


11               THE COURT:    All right.   Or additional exhibits?       Those     10:17AM


12   are admitted.                                                                  10:17AM


13                    (Exhibits Admitted.)                                          10:17AM


14               THE COURT:    Were there any exhibits with Mr. Kelleher?           10:17AM


15               MR. HOWARD:     I don't believe so.                                10:17AM


16               MS. BOLLMAN:    No, Your Honor.                                    10:17AM


17               THE COURT:    Or Mr. Caffrey?                                      10:17AM


18               MR. BOWLER:     No, Your Honor.                                    10:17AM


19               THE COURT:    So that's good.     We are up-to-date on the         10:17AM


20   exhibits.                                                                      10:17AM


21                    I wanted to mention to you all, I know -- is there            10:17AM


22   an exhibit issue?                                                              10:18AM


23                    I know I'm getting some communications from you               10:18AM


24   all about the TVPA verdict forms and jury instructions, and it                 10:18AM


25   seems we're -- the point of contention is centering on this                    10:18AM




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 1   verdict form having to do with punitive damages, whether it's                  10:18AM


 2   cumulative or needs to be plaintiff by plaintiff.                              10:18AM


 3                   It would be helpful to me if you all could find                10:18AM


 4   some examples of cases where it was done one way or another, or                10:18AM


 5   if there are any cases where a district court judge might have                 10:18AM


 6   talked about it that would be helpful.                                         10:18AM


 7                   So although I haven't had a chance to look at the              10:18AM


 8   cases you're citing so far, my suspicion is they don't really                  10:18AM


 9   have to do with verdict forms.                                                 10:18AM


10                   So if you can find anything you can find in the                10:18AM


11   way of examples or cases, orders, anything discussing that, it                 10:18AM


12   would be helpful.                                                              10:18AM


13             MR. HOWARD:    Will do, Your Honor.                                  10:19AM


14             THE COURT:    Mr. Sanders?                                           10:19AM


15                   (Discussion held off the record with counsel.)                 10:19AM


16             MR. SANDLER:     There was one exhibit for Ms. Colline               10:19AM


17   Stevens, 657.                                                                  10:19AM


18             THE COURT:    That was not introduced previously?                    10:19AM


19             MR. SANDLER:     I don't believe so.                                 10:19AM


20             THE COURT:    All right.    Any objection?                           10:19AM


21             MS. BOLLMAN:     No, Your Honor.                                     10:19AM


22             MR. SHAPIRO:     No, Your Honor.                                     10:19AM


23             MR. CERNIGLIA:     No, Your Honor.                                   10:19AM


24             THE COURT:    That exhibit is admitted.                              10:19AM


25                   (Exhibit Admitted.)                                            10:19AM




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 1             THE COURT:    The objections with respect to the                     10:19AM


 2   documents that you wanted to use during Rhonda George's                        10:19AM


 3   testimony, do you all think -- I think that she's the next                     10:19AM


 4   witness; is that correct?                                                      10:19AM


 5             MS. BOLLMAN:     That's correct, Your Honor.                         10:19AM


 6             MR. ROUX:    Yes, Your Honor.                                        10:19AM


 7             THE COURT:    So maybe we'd better discuss that now                  10:19AM


 8   because this witness may not take us to lunch; correct?          I mean,       10:19AM


 9   I don't know how long cross would be.                                          10:20AM


10             MR. ROUX:    It's possible, Your Honor.                              10:20AM


11             THE COURT:    That we would get to her before lunch.                 10:20AM


12             MR. ROUX:    That's correct, Your Honor.                             10:20AM


13             THE COURT:    All right.    So let's talk about, does                10:20AM


14   Signal -- does the plaintiff have a person who can address those               10:20AM


15   exhibits here?                                                                 10:20AM


16             MR. ROUX:    Your Honor, if may I approach, I have copies            10:20AM


17   for the Court.                                                                 10:20AM


18             THE COURT:    We printed off what was attached to the                10:20AM


19   email.                                                                         10:20AM


20             MR. ROUX:    I think I have copies of actual exhibits.               10:20AM


21             THE COURT:    Okay.                                                  10:20AM


22             MS. STEWART:     Your Honor, I'm Meredith Stewart for the            10:20AM


23   plaintiffs.                                                                    10:20AM


24             THE COURT:    We've put it into two groups; right?        There      10:20AM


25   is a series of pictures and then some emails?                                  10:20AM




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 1              MS. STEWART:     That's correct.     And then I believe             10:20AM


 2   earlier in the evening, yesterday, you had sent another exhibit,               10:20AM


 3   a third exhibit, Exhibit 1679 that we'd also objected to but you               10:21AM


 4   didn't submit that exhibit to the Court as an objected-to                      10:21AM


 5   exhibit.                                                                       10:21AM


 6                   So I wanted to hear the status on whether that's               10:21AM


 7   something you were going to use.                                               10:21AM


 8              MR. ROUX:    I'm sorry.     Which one?    16 --                     10:21AM


 9              MS. STEWART:     79.                                                10:21AM


10              MR. ROUX:    I think I removed that exhibit.      I did not         10:21AM


11   put that on my list.      I removed that.                                      10:21AM


12              MS. STEWART:     Great.    So it's two categories:                  10:21AM


13                   First category is a series of photos taken at a                10:21AM


14   man camp at an unknown date.         And Your Honor had previously             10:21AM


15   ordered that they could use or introduce evidence, photos or                   10:21AM


16   videos, of the man camp post-lawsuit if someone could                          10:21AM


17   authenticate them, if someone could testify that they indeed                   10:21AM


18   depict the man camp as it looked when one or more of the                       10:21AM


19   plaintiffs were there, and that it was a fair and accurate                     10:21AM


20   depiction of man camp that was actually used by one or more of                 10:21AM


21   the plaintiffs.                                                                10:22AM


22                   And, finally, that the photos or video evidence                10:22AM


23   that they want to use were not taken after any significant or                  10:22AM


24   material improvements or repairs were made to the man camp.                    10:22AM


25                   So they submitted a series of photos which we have             10:22AM




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 1   some serious concerns about their authenticity.           We don't know         10:22AM


 2   when all of of the photos were taken.           How far after the lawsuit       10:22AM


 3   was filed.                                                                      10:22AM


 4                    They depict a man camp that is very clean, and is              10:22AM


 5   not consistent with the testimony we've hear thus far about what                10:22AM


 6   the man camp looked like when the plaintiffs were there.                        10:22AM


 7                    Lastly, there are at least three in the group that             10:22AM


 8   should certainly not be admitted.          One is Exhibit 1544, it's a          10:22AM


 9   photo of the man camp laundry facility which plaintiff Hemant                   10:22AM


10   Khuttan already testified did not accurately depict what the                    10:22AM


11   laundry facility looked like while he was there.                                10:22AM


12                    There are two additional photos of sofas in the                10:22AM


13   lounge, exhibits --                                                             10:23AM


14               THE COURT:    Let me find -- just a second.      1544.   I          10:23AM


15   don't see that.                                                                 10:23AM


16               CASE MANAGER:     Judge, I think you already ruled on that          10:23AM


17   one.                                                                            10:23AM


18               THE COURT:    Right.    This is you're referring that it            10:23AM


19   was previously ruled on.        Not that it's in this group today.              10:23AM


20               MS. STEWART:     Oh, yeah.    But they had sent that to us          10:23AM


21   as an exhibit that they wanted to use, so I'm not sure if it                    10:23AM


22   ended up in the packet they gave to Your Honor today.                           10:23AM


23               THE COURT:    But you're saying it's in this packet, but            10:23AM


24   it's not.                                                                       10:23AM


25               MR. ROUX:    We had some difficulties with the exhibit              10:23AM




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 1   this morning.    Some of them didn't have exhibit stickers on                  10:23AM


 2   them.                                                                          10:23AM


 3             THE COURT:    So you do want to want to use 1544.                    10:23AM


 4             MR. ROUX:    Yes, Your Honor.                                        10:23AM


 5             THE COURT:    All right.    So I've got it with me.                  10:23AM


 6             MS. STEWART:     The other two exhibits are 1546 and                 10:23AM


 7   Exhibit 1635.    Both are photos of sofas in the lounge.        Your           10:23AM


 8   Honor has already ruled the images of those sofas that were on                 10:23AM


 9   the video they took of the man camp were not admissible because                10:24AM


10   those sofas were purchased, they were new.          So our position is         10:24AM


11   those exhibits certainly should not be admitted.                               10:24AM


12                   But, just to review, our position is that all of               10:24AM


13   it, the exhibits, photos that were taken after the lawsuit of                  10:24AM


14   the man camp should not be admissible because they do not comply               10:24AM


15   with your order about admissibility.                                           10:24AM


16             THE COURT:    1544, 1556 and 1635 -- which I don't have,             10:24AM


17   by the way -- are all pictures of the sofas in the lounge areas                10:24AM


18   taken around the time of video?                                                10:24AM


19             MS. STEWART:     1544 is the photo of the laundry facility           10:24AM


20   that Mr. Hemant Khuttan testified to.                                          10:24AM


21             THE COURT:    1635 were the two sofas?                               10:24AM


22             MS. STEWART:     That's correct.                                     10:24AM


23             THE COURT:    And are those taken at the same time as the            10:24AM


24   video?                                                                         10:24AM


25             MR. ROUX:    Your Honor, no.     These photographs were              10:24AM




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 1   taken a few days after the lawsuit.                                            10:24AM


 2                    With respect to the sofas in particular, I've                 10:24AM


 3   conferred with Rhonda George, who actually took the photos, and                10:24AM


 4   those photos are actually the original sofas prior to                          10:25AM


 5   replacement.    They look very similar.       That's one of the things         10:25AM


 6   that she will talk about, is that -- she'll authenticate that                  10:25AM


 7   those are the original sofas.                                                  10:25AM


 8             THE COURT:    All right.    We need to hurry.     So I need to       10:25AM


 9   hear from Mr. Roux.                                                            10:25AM


10                    So, when are all of the photographs that you want             10:25AM


11   to use were taken within what period of time after the lawsuit?                10:25AM


12             MR. ROUX:    A few days.    I believe it was March 13,               10:25AM


13   2008, which would have been less than a week after the lawsuit                 10:25AM


14   was filed.                                                                     10:25AM


15             THE COURT:    And they're all taken by --                            10:25AM


16             MR. ROUX:    Rhonda George, yes.                                     10:25AM


17             THE COURT:    Personally?                                            10:25AM


18             MR. ROUX:    That's correct, Your Honor.                             10:25AM


19             THE COURT:    And is her testimony that no changes had               10:25AM


20   been made?     Or what changes will she say had been made?                     10:25AM


21             MR. ROUX:    She'll be able to indicate any changes that             10:25AM


22   occurred from the time that she came on board in 2007 to the                   10:25AM


23   time of the photos.     But will testify that they're substantially            10:26AM


24   similar to what the man camp looked like when she --                           10:26AM


25             THE COURT:    What changes will she say there were made              10:26AM




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 1   to?                                                                            10:26AM


 2               MR. ROUX:    I believe there were flowers that added when          10:26AM


 3   she was hired which would have occurred after May 2007.                        10:26AM


 4               THE COURT:    That would have been before.                         10:26AM


 5               MR. ROUX:    Before the lawsuit was filed.                         10:26AM


 6                    As far as changes between when the lawsuit was                10:26AM


 7   file between the time of the pictures and the time of the                      10:26AM


 8   lawsuit, there were no changes.                                                10:26AM


 9               THE COURT:    Will she testify that she did any cleaning           10:26AM


10   or straightening up?                                                           10:26AM


11               MR. ROUX:    She will be testifying about any cleaning             10:26AM


12   and any cleaning that was routine and any cleaning that                        10:26AM


13   happened.    But it was my understanding that there was no                     10:26AM


14   specific cleaning within that specific time period that was                    10:26AM


15   abnormal or out of the normal course of business for Signal.                   10:26AM


16               THE COURT:    All right.    So the photographs that we've          10:26AM


17   discussed and the ones that were submitted to me, provided Ms.                 10:26AM


18   George testifies that they were taken March 13 or around that                  10:26AM


19   time or that she personally took them, and that she's going to                 10:27AM


20   testify that they were not material, then I'll allow her to use                10:27AM


21   these photographs and for her to testify.                                      10:27AM


22                    Obviously, the plaintiffs are going to cross                  10:27AM


23   examine her about specifically what was done and try to make the               10:27AM


24   point that it didn't look -- that it looked different from the                 10:27AM


25   way it looked when the plaintiffs were there.             But I think it's     10:27AM




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 1   close enough in time and she certainly can give her own personal               10:27AM


 2   testimony about it.                                                            10:27AM


 3                   So let's talk about the emails that are in the                 10:27AM


 4   2008 time period.                                                              10:27AM


 5             MR. ROUX:    I believe the two emails that they've                   10:27AM


 6   objected to have to have to do with two individuals, one that                  10:27AM


 7   was involved in a vehicle accident and one that was taken ill                  10:27AM


 8   and was hospitalized and later medivaced back to India.          Those         10:27AM


 9   two individuals had their respective accidents and illness in                  10:27AM


10   February of 2008, and the decision making that occurred with                   10:28AM


11   respect to housing or who was going to repatriate their remains                10:28AM


12   in the medivac back to India occurred at the same time prior to                10:28AM


13   the lawsuit.                                                                   10:28AM


14             THE COURT:    How are these relevant?                                10:28AM


15             MR. ROUX:    During the cross of Chris Cunningham, Mr.               10:28AM


16   Sanders indicated two expenses on the man camp cost center.             To     10:28AM


17   cross examine him, these represent costs that were expended for                10:28AM


18   these two individuals.                                                         10:28AM


19             THE COURT:    Do you want to respond?                                10:28AM


20             MS. STEWART:     Yeah.   Your Honor, the issue is that               10:28AM


21   these two individuals are not plaintiffs in this lawsuit.           And,       10:28AM


22   though Mr. Sandler did raise the issue about the cost of the                   10:28AM


23   airlifting a worker, that worker was never mentioned by name.                  10:28AM


24                   Plaintiffs have not raised any evidence about                  10:28AM


25   specific Indian workers who are not plaintiffs in this lawsuit.                10:28AM




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 1   And our position is that these are irrelevant.            The emails go        10:28AM


 2   into detail about personal wages of these workers who are not                  10:28AM


 3   plaintiffs in this lawsuit.         And we just haven't -- we haven't          10:28AM


 4   opened the door to that with our testimony thus far.                           10:28AM


 5               THE COURT:    Well, I think that you all have asked                10:29AM


 6   questions and had testimony about many people other than the                   10:29AM


 7   five plaintiffs.     So that's -- in that sense, you have.        But          10:29AM


 8   these are things that happened in 2008, well after all these                   10:29AM


 9   plaintiffs were gone.       And I don't think that they're relevant            10:29AM


10   to the issues in the case, so I'm going to grant the objection                 10:29AM


11   with respect to Exhibit 1665 and 1639.                                         10:29AM


12                    All right.     So I'll give you all a few minutes.            10:29AM


13   Anybody who needs to -- but I'm going to bring the jury back in                10:29AM


14   at 10:30.    So, whoever need to be in here then, I'll see you                 10:29AM


15   then.                                                                          10:29AM


16               MR. ROUX:    Thank you, Your Honor.                                10:29AM


17                    (Proceedings in Recess.)                                      10:29AM


18                    (Jury enters.)                                                10:34AM


19                      DIRECT EXAMINATION (CONTINUED)                              10:35AM


20   BY MS. BOLLMAN:                                                                10:35AM


21   Q    Mr. Ramesh, before we took the break, you were talking to us              10:35AM


22   about safety orientation before you went to work on the yard.                  10:35AM


23   Can you tell me what was discussed at the safety orientation                   10:35AM


24   meeting that day?                                                              10:35AM


25   A    You're talking about day one?                                             10:35AM




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 1   Q    Yes.                                                                      10:35AM


 2   A    They talk about safety rules and regulations in that Signal               10:35AM


 3   International saying that you must -- if you on a scaffold you                 10:35AM


 4   must tie off 100 percent.      If you one-on-one of the ladder, if             10:36AM


 5   you're standing on the ladder, you should tie off with a ladder                10:36AM


 6   and tie off with a safety harness.        And, if you're going inside          10:36AM


 7   of any confined spaces and you are all be working in that, make                10:36AM


 8   sure that the confined space has been checked and cleared by the               10:36AM


 9   safety department cleared.      Make sure you are all lead and --              10:36AM


10   they said about safety, they said make sure you must tie off if                10:36AM


11   you're on a scaffold.     When your working on a scaffold, you must            10:36AM


12   tie off 100 percent with the safety harness.            And, if you're on      10:36AM


13   the ladders, working on the ladders, you must tie off 100                      10:36AM


14   percent the ladder and by ourselves.        And, if we are going any           10:36AM


15   confined spaces to work, so make sure the tank was cleared                     10:37AM


16   before you going in.     And your lead a confined space a tender               10:37AM


17   going in and out, there should be a tender also.           Without any         10:37AM


18   tender, don't do anything.      Stuff on that ways.                            10:37AM


19   Q    And how soon -- did they discuss anyone else at safety                    10:37AM


20   orientation?                                                                   10:37AM


21   A    Yeah.   Signal's facility, you have any minor or major or                 10:37AM


22   anything incidents or injuries, report to your supervisors                     10:37AM


23   immediately.    Immediately the supervisors will contact safety                10:37AM


24   department and we will continue that like.                                     10:37AM


25   Q    And how soon after the safety orientation did you begin                   10:37AM




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 1   working on the yard at Signal?                                                  10:37AM


 2   A    After that safety orientation, they told us to go to --                    10:37AM


 3   there's a warehouse.      They'll get ready all your tools.       And           10:38AM


 4   from there your foremans will come and take you all back to your                10:38AM


 5   work areas.                                                                     10:38AM


 6   Q    And what craft were you going to work at Signals as?                       10:38AM


 7   A    As a fitter.    As a structural a fitter, a ship fitter.                   10:38AM


 8   Q    So is a structural fitter an a ship fitter the same?                       10:38AM


 9   A    Same.    Literally, the same.                                              10:38AM


10   Q    And, when your foreman came and got you, how many other                    10:38AM


11   Indian H-2B workers were on your crew with that foreman?                        10:38AM


12   A    Day one, first, I was with two or three Indians.         And I have        10:38AM


13   a mixed crew with them.      I think I have some Spanish people and             10:38AM


14   white and black in that crew.       I don't remember exactly but it's           10:38AM


15   a mix of crew.                                                                  10:39AM


16   Q    And how long did you work as a fitter at Signal?                           10:39AM


17   A    I think I work like two weeks as a fitter.                                 10:39AM


18   Q    And what position did you hold after the two weeks a fitter?               10:39AM


19   A    Oh, they said my foreman came and asked me to pack up, talk                10:39AM


20   all your tools and we going down.        I said where?    They saying           10:39AM


21   they going to switch you to the safety department.                              10:39AM


22   Q    And so you went to work in the safety department after that?               10:39AM


23   A    Yes.                                                                       10:39AM


24   Q    And what was your job title?                                               10:39AM


25   A    Safety representative.                                                     10:39AM




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 1   Q    Had you ever been a safety representative before?                          10:39AM


 2   A    Oh, no.                                                                    10:39AM


 3   Q    Did you train when you became a safety representative?                     10:39AM


 4   A    Yeah.    My boss, like Terry Eley has been trying me some and              10:39AM


 5   he send with me with the seniors in the safety reps.           Along with       10:40AM


 6   him, there used to be two or three safety reps on the rig.            They      10:40AM


 7   told me first follow with them and learn.         And in the meantime           10:40AM


 8   they start asking me to translate.        If they have any problem              10:40AM


 9   with the rest of the Indians, they have any problem with the                    10:40AM


10   communication of the foremens, and they tried to start calling                  10:40AM


11   me and they used to send me to that particular foreman to talk                  10:40AM


12   to them.                                                                        10:40AM


13   Q    When you were transferred from the fitting department to the               10:40AM


14   safety department, did you get a raise?                                         10:40AM


15   A    First, like everyone got first class rate, like all fitters,               10:40AM


16   $18.50.     That's first pay I got from Signal.         And, after a few        10:40AM


17   weeks, I think, I got raise like usually got raise for everyone                 10:40AM


18   19.25.                                                                          10:40AM


19   Q    So the raise that you got in a few weeks was given across                  10:40AM


20   the board to everybody on the yard?                                             10:41AM


21   A    Yes.    Some.   Some people got raises in that time like.        Some      10:41AM


22   fitters, some welders.                                                          10:41AM


23   Q    So was that raise given to you because you had moved to                    10:41AM


24   safety, or because they were giving raises across the yard?                     10:41AM


25   A    Not across the yard.     Like they gave some raises to a few               10:41AM




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 1   workers in the company by that time.                                            10:41AM


 2   Q      Were you the only Indian H-2B worker working in the safety               10:41AM


 3   department?                                                                     10:41AM


 4   A      No.   I work for day shift as a translator and as a safety               10:41AM


 5   rep.    And they brought another person for the night shift also                10:41AM


 6   from India, from one of Indians that's been worked at night                     10:41AM


 7   shift also.                                                                     10:41AM


 8   Q      So there was a night shift safety representative?                        10:41AM


 9   A      Yeah.   Night shift safety representative.       Plus a translator       10:41AM


10   too at night shift.                                                             10:41AM


11   Q      During the H-2B program describe your job duties when you                10:42AM


12   work in the safety departments a safety representative?                         10:42AM


13   A      At first in the morning before the crew work starts we                   10:42AM


14   safety reps will start going -- if we working on a rig, the rig                 10:42AM


15   got some few tanks.      The coverage, find spaces tanks as being               10:42AM


16   cleared by the chemist.      That's the first person we come and                10:42AM


17   check clear the tanks.      And, after that, we will check priority             10:42AM


18   on that every morning twice a day.        Like me, I'll safety rep              10:42AM


19   will start taking -- checking all the tanks and putting                         10:42AM


20   certificate saying all good.                                                    10:42AM


21                     And, after that, people start working.       And I will       10:42AM


22   make rounds on the rigs on the work areas, make sure everything                 10:42AM


23   is perfect.     And the -- we find no dropped objects or we will                10:42AM


24   try to make sure the people are being tied off and working in                   10:42AM


25   good condition.                                                                 10:42AM




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 1                      And, in the meantime, if someone needs to go to              10:43AM


 2   doctors, doctor appointments, the management from the camp used                 10:43AM


 3   to call me and used to send me with the Indians to the doctor's                 10:43AM


 4   to talk to them.                                                                10:43AM


 5   Q      So some of your job duties included translating?                         10:43AM


 6   A      Yes.                                                                     10:43AM


 7   Q      What languages do you speak?                                             10:43AM


 8   A      I speak Hindi, English and my -- my language, Telugu.                    10:43AM


 9   Q      Where did you learn to speak English?                                    10:43AM


10   A      Oh, I went to school from my nursery, an English medium                  10:43AM


11   school in India in my hometown.        I went to school in English and          10:43AM


12   all my subjects are in English.                                                 10:43AM


13   Q      Were there any Indian languages other than Telugu and Hindi              10:43AM


14   that the Indian H-2B workers spoke?                                             10:43AM


15   A      Yes.                                                                     10:43AM


16   Q      What were they?                                                          10:43AM


17   A      They got some Kennada.    They speak Kennada.     And some people        10:43AM


18   speak Malayalam from Kerala.        And some people speak Gujarati              10:44AM


19   too.                                                                            10:44AM


20   Q      How did you handle the wages where you were asked to                     10:44AM


21   translate an Indian H-2B worker that were you speaking with both                10:44AM


22   Malayalam or another Indian language that you do not speak?                     10:44AM


23   A      Most of the people knows Hindi.      It's the national language          10:44AM


24   for us.       Most of the people, whoever works in Gulf and foreign             10:44AM


25   countries, they'll try to speak Hindi.          And, if the people who          10:44AM




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 1   can't understand Hindi also, some of the Malayalam translators,                 10:44AM


 2   they used to translate them.         They used to solve that problems           10:44AM


 3   if they have.                                                                   10:44AM


 4   Q      And what kind of situations did you translate in for Signal?             10:44AM


 5   A      Say again.                                                               10:44AM


 6   Q      What -- when would you translate for Signal, in what types               10:44AM


 7   of situations?                                                                  10:45AM


 8   A      In the yard, I used to translate if a foreman wants to call              10:45AM


 9   me and translate to the worker if he don't understand.                          10:45AM


10                       And, in the camps, the management used to call for          10:45AM


11   meetings in cafeteria and we used to talk to them.          I used to           10:45AM


12   translate about those times.         If they need any problems to the           10:45AM


13   management, like accommodation.         Like they used to have a                10:45AM


14   managers, if some Indian don't get perfect answer from that                     10:45AM


15   person, so they used to call me to try to answer that to tell                   10:45AM


16   them what he wants exactly what's the problem belongs to                        10:45AM


17   anything in the camp wise or work wise or medical wise.                         10:45AM


18   Q      So you would translate on the yard and in the man camp?                  10:45AM


19   A      Yes.   If they need me they used to call me to the man camp              10:45AM


20   too.                                                                            10:46AM


21   Q      And did you ever go with the H-2B workers to their doctor's              10:46AM


22   appointments?                                                                   10:46AM


23   A      Oh, yes.                                                                 10:46AM


24   Q      And why did you do that?                                                 10:46AM


25   A      They said one time they got a communication problem with the             10:46AM




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 1   doctors while they went to a doctor to checkup, regular checkup,                10:46AM


 2   like.    So they couldn't understand.      I think they maybe called            10:46AM


 3   company, whatever it is.      But they start asking me can you go               10:46AM


 4   and talk to them while I have a problem or anyone else.           And I         10:46AM


 5   started doing that way.                                                         10:46AM


 6   Q    And would Signal pay you when you went to the doctor with an               10:46AM


 7   H-2B worker?                                                                    10:46AM


 8   A    Yes.    My regular schedule, my work hours.        I work from 1 to        10:46AM


 9   6 to 5 in that in my work, hours.                                               10:46AM


10   Q    Did you ever prepare any safety signs as a part of your job                10:46AM


11   duties as a safety representative?                                              10:46AM


12   A    Yes.    Yeah.   We did some signs in English to add Hindi,                 10:47AM


13   like.    In December or January we started putting some signs.                  10:47AM


14   Q    You personally helped prepare those signs in English and in                10:47AM


15   Hindi?                                                                          10:47AM


16   A    No.    Some of our Indian H-2B workers used to help me to                  10:47AM


17   write in Hindi the lines there.                                                 10:47AM


18   Q    Who helped you prepare the signs?                                          10:47AM


19   A    One time -- yeah.     One time Hemant Khuttan helped me to                 10:47AM


20   translate the Hindi words, and I brought him to the safety                      10:47AM


21   trailer.    I came to the trailer.      They bought a computer                  10:47AM


22   keyboard to type.     And he wrote some translating words                       10:48AM


23   translating to Hindi for two or three Indians.                                  10:48AM


24   Q    And so were you able to prepare those signs using the Hindi                10:48AM


25   keyboard?                                                                       10:48AM




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 1   A    Yes.                                                                       10:48AM


 2   Q    How often did you have camp meetings?                                      10:48AM


 3   A    Like, I mean, how often is like depends.           If they have an         10:48AM


 4   emergency to talk to them or if the people got some problems to                 10:48AM


 5   talk to management or like that way they used to arrange camp                   10:48AM


 6   meetings in the cafeteria.                                                      10:48AM


 7   Q    Did anyone other than you ever translate at camp meetings?                 10:48AM


 8   A    I think two or three times, I think Reggie has been                        10:48AM


 9   translator in Malyalum.      I don't know what his last name is but             10:48AM


10   his last name is Reggie.                                                        10:48AM


11   Q    Did Signal pay when you translated for camp meetings?                      10:48AM


12   A    Yes.                                                                       10:49AM


13   Q    Do you recall a camp meeting on March 8, 2007 where Mr.                    10:49AM


14   Schnoor spoke to the H-2B workers?                                              10:49AM


15   A    Yes.                                                                       10:49AM


16   Q    And did you translate at that meeting?                                     10:49AM


17   A    Yeah.   Yeah.   Yes.                                                       10:49AM


18   Q    And were you the only translator?                                          10:49AM


19   A    No.    I translated to Hindi animal la lump translated by                  10:49AM


20   Reggie.                                                                         10:49AM


21   Q    Before you went to that camp meeting did Mr. Schnoor tell                  10:49AM


22   you what he was going to say?                                                   10:49AM


23   A    No.                                                                        10:49AM


24   Q    Were you upset at any of the things that Mr. Schnoor said at               10:49AM


25   that meeting?                                                                   10:50AM




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 1   A    I didn't upset, no.                                                        10:50AM


 2   Q    Did you feel threatened by what Mr. Schnoor said at that                   10:50AM


 3   meeting?                                                                        10:50AM


 4   A    No.    I never feel threatened.     We continued work in the               10:50AM


 5   shipyard, me and the rest of Indians, too, after that.                          10:50AM


 6   Q    Do you remember an incident that happened at the Signal man                10:50AM


 7   camp the next day, on March 9, 2007?                                            10:50AM


 8   A    Yes.                                                                       10:50AM


 9   Q    Where were you that morning?                                               10:50AM


10   A    That morning, I usually get up early in the morning to get                 10:50AM


11   dressed, go take shower, get dressed and go to eat.           So I was in       10:50AM


12   the bunkhouse getting ready to come to the cafeteria.                           10:50AM


13   Q    And did you then -- did you go to the cafeteria as in your                 10:50AM


14   normal routine?                                                                 10:50AM


15   A    Yeah.   Yes.   I went to cafeteria to eat my breakfast and                 10:50AM


16   pack food for my lunch to company.                                              10:50AM


17   Q    And what happened while you were at the cafeteria?                         10:51AM


18   A    I saw few people that early morning and they're in the                     10:51AM


19   cafeteria and the picnic tables in the area.            A few Indians           10:51AM


20   asked me what's going on.      I said oh, I don't know, what's all              10:51AM


21   of the sudden -- I don't know what's happening there.           And I           10:51AM


22   asked Dale what's going on.       And he said, oh, nothing.        And I        10:51AM


23   went, I took my tiffin.      I mean, I finished my breakfast.        I go       10:51AM


24   packed my food and went back to my bunkhouse and grabbed my                     10:51AM


25   safety boots and get ready to come out to work.           And --                10:51AM




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 1   Q    And what happened after that?                                              10:51AM


 2   A    While I'm getting dressed to go to work, one of the Indian                 10:51AM


 3   came to me and asked, said like:        Hey Sabulal cut his wrists.        I    10:51AM


 4   was shocked.     And I said -- I said:     What's wrong?                        10:51AM


 5                    I ran and came out from the bunkhouse to see                   10:52AM


 6   what's going on there.      And the two or three other Indians                  10:52AM


 7   taking Sabulal working towards outside, he's holding his wrists.                10:52AM


 8   And I was like -- blind.                                                        10:52AM


 9   Q    Was Sabulal pleading?                                                      10:52AM


10   A    They hold his hand and they taking him, two or three people.               10:52AM


11   Q    Were you upset?                                                            10:52AM


12   A    I was totally shocked and upset.       I was like -- I never saw           10:52AM


13   in my -- we working in foreign countries, this is the first time                10:52AM


14   I saw that.                                                                     10:52AM


15   Q    And what happened after that?                                              10:52AM


16   A    When we came out from the door, I mean from outside, the one               10:52AM


17   of the other Indian brought his car and we -- they putting him                  10:52AM


18   in backseat.     And one of Indian told me to sit in front, and we              10:52AM


19   went to emergency hospital, emergency in Pascagoula.          And, once         10:53AM


20   we reached there, they took him inside and I stood outside.                     10:53AM


21   Q    Did Sabulal la say anything when you were in the car taking                10:53AM


22   him to the emergency room?                                                      10:53AM


23   A    No.                                                                        10:53AM


24   Q    And did you go into the emergency room with him?                           10:53AM


25   A    No.                                                                        10:53AM




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 1                     When I reached there, someone came with a                     10:53AM


 2   wheelchair, and he was sitting.       And they took him inside and              10:53AM


 3   they stopped.     Not let us go in.     So me and like two or three,            10:53AM


 4   we were standing outside the emergency.                                         10:53AM


 5   Q    How long did you stay at the emergency room?                               10:53AM


 6   A    I think I was stayed like twenty, twenty-five minutes.          And        10:53AM


 7   someone came from the camp, some other Indian, and told me:                     10:53AM


 8   Hey, there was a cops cars are at the gate at the accommodation                 10:53AM


 9   like at camp.     Can you see what's going on, that we will take                10:54AM


10   care of this.     And they put me in another car and send -- they               10:54AM


11   dropped me back to the main camp.                                               10:54AM


12                     And there was -- when I reached to the main camp,             10:54AM


13   I saw two police cars was stand by there.                                       10:54AM


14   Q    Were there police cars parked at the man camp?                             10:54AM


15   A    Yeah.   Near by that guard shed, it was there.                             10:54AM


16   Q    And did you interact at all with the police?                               10:54AM


17   A    No, I didn't talk to no one.       No police talked to me.                 10:54AM


18   Q    So did you then return to the man camp?                                    10:54AM


19   A    Yeah.   After that, I went inside.                                         10:54AM


20                     There were people -- all the rest of the Indians              10:54AM


21   were sitting in that picnic table spots, and they sad mood.                     10:54AM


22   Q    I'm sorry?                                                                 10:54AM


23   A    They all in a sad mood and talking together.                               10:54AM


24   Q    Did you go to work that day?                                               10:54AM


25   A    No.   No one went to work on that day.       Day shift, none of            10:54AM




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 1   the Indians went back to work that morning.                                     10:55AM


 2   Q    Did anyone from Signal management come over to the man camp?               10:55AM


 3   A    Yeah.                                                                      10:55AM


 4                    That morning, we all one time -- I don't remember,             10:55AM


 5   one or two times.     But, one time, I saw Bill Bingle came there               10:55AM


 6   to talk to Indians.      But we all refused not to talk to him.          No     10:55AM


 7   one -- I mean, all refused not to talk to him.          And he left.            10:55AM


 8   Q    Did you do any translating for Signal that day?                            10:55AM


 9   A    That morning, Bill Bingle came up there, and we all sitting                10:55AM


10   in that picnic table area.       And he was standing there, too:                10:55AM


11   Ramesh, can you translate?       Bill Bingle asked me.     And I said:          10:55AM


12   Yeah.    And he started asking Luke, he tried to talk.        But -- and        10:55AM


13   I explained to him, like -- -and he said like:          We don't want to        10:56AM


14   talk.    We don't want to talk to management right now.        I just           10:56AM


15   translated that.     And he left.                                               10:56AM


16   Q    Did you translate for any workers who had doctor's                         10:56AM


17   appointments on that day?                                                       10:56AM


18   A    Yeah.   Yes.                                                               10:56AM


19   Q    So you didn't go into the yard to work, but you did take                   10:56AM


20   some workers to the doctor and translate?                                       10:56AM


21   A    Yes.    I got a phone call from Darrell, I think.       Said they          10:56AM


22   got two or three must go to doctors, just checkup and follow-up,                10:56AM


23   you want to, you can take them or not.                                          10:56AM


24                    So that's important, too, health wise.       I mean,           10:56AM


25   they got to follow-up checkup.       So I took them to the doctor's             10:56AM




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 1   that morning, like after 10:30, 11 o'clock, I think so.                         10:57AM


 2   Q    And did you go back to work the following day?                             10:57AM


 3   A    Yes.    I worked.                                                          10:57AM


 4                    The rest of all the Indians went back to work the              10:57AM


 5   following day.                                                                  10:57AM


 6   Q    Before you went to the cafeteria that morning, had anyone                  10:57AM


 7   from Signal told you that Signal was going to be terminating                    10:57AM


 8   workers that morning?                                                           10:57AM


 9   A    No.    No one said nothing.                                                10:57AM


10               MR. BHATNAGA:    Objection, hearsay.                                10:57AM


11               THE COURT:   Sustained, the objection to hearsay.                   10:57AM


12               MS. BOLLMAN:    I asked you if he was told something.               10:57AM


13   Not a hearsay statement.                                                        10:57AM


14               THE COURT:   Overruled.                                             10:57AM


15   BY MS. BOLLMAN:                                                                 10:57AM


16   Q    Were you upset by what you saw on that morning?                            10:57AM


17   A    Yes.                                                                       10:57AM


18   Q    Why?                                                                       10:57AM


19   A    Because Sabulal cut his wrists like that made me a lot of                  10:57AM


20   upset.     Because of we all came from India to work and that's                 10:57AM


21   incident happened that shocked me like.                                         10:58AM


22   Q    Were you afraid to work at Signal after March 9th?                         10:58AM


23   A    No.                                                                        10:58AM


24   Q    After March 9th, did Signal start a program called the                     10:58AM


25   elders?                                                                         10:58AM




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 1   A    Yes.   They said in the meantime -- actually, on that March                10:58AM


 2   9th, the company tried to ask us to come to management is                       10:58AM


 3   calling us a few Indians can come there and talk.          They said no         10:58AM


 4   one wants to go there and talk.       And that's like -- I don't know           10:58AM


 5   when it started but they started the elders program.          They              10:58AM


 6   saying from each bunk if you select a person we all select a                    10:58AM


 7   person that we can talk to them.                                                10:58AM


 8   Q    So the elder program had a representative from each                        10:58AM


 9   bunkhouse from the man camp?                                                    10:59AM


10   A    Yes.                                                                       10:59AM


11   Q    And how were the elders chosen?                                            10:59AM


12   A    Say again?                                                                 10:59AM


13   Q    How were the elders chosen?      Did Signal choose them or did             10:59AM


14   the workers select them?                                                        10:59AM


15   A    From each bunkhouse, they select the bunkhouse that can be                 10:59AM


16   representative for us.                                                          10:59AM


17   Q    Were you chosen by your bunkhouse to be an elder?                          10:59AM


18   A    Yes.                                                                       10:59AM


19   Q    And did the elders meet with Signal management?                            10:59AM


20   A    Yes.                                                                       10:59AM


21   Q    How often?                                                                 10:59AM


22   A    Monthly twice, I think.      Twice.   Or two or three times a              10:59AM


23   month.                                                                          10:59AM


24   Q    And what happened at those meetings, what was discussed at                 10:59AM


25   those meetings?                                                                 10:59AM




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 1   A    If they are the bunk, elders used to come and talk.          And, if       10:59AM


 2   they have any issues, they try to explain to the management.                    10:59AM


 3   And the management used to say that, okay, we address, you all                  11:00AM


 4   address it there and we will make sure the problem going to be                  11:00AM


 5   solved as soon as possible.                                                     11:00AM


 6   Q    What type of issues did your bunkhouse have you talk to                    11:00AM


 7   management about?                                                               11:00AM


 8   A    Sometimes they address the food in my bunkhouse.          And              11:00AM


 9   something is like that -- I forget right now.           But bunkhouse,          11:00AM


10   food and stuff like that.      Cleaning.                                        11:00AM


11   Q    What was the issue with the food?                                          11:00AM


12   A    Food?    From India, I'm from southeast of India, southeast                11:00AM


13   part of India.     Each person likes a different taste and                      11:00AM


14   different way.     I think they tried to address that food problem              11:00AM


15   to be solved in good taste like.                                                11:01AM


16   Q    So not everybody liked the food at Signal?                                 11:01AM


17   A    Oh, that, I don't know.      But everybody have their own taste.           11:01AM


18   I like too spicy food.      Some people don't like to eat spicy                 11:01AM


19   food.    Some people like to eat bread, Indian bread.                           11:01AM


20   Q    Did Signal do anything to respond to those food complaints?                11:01AM


21   A    Yes.    They -- yes.                                                       11:01AM


22   Q    What did they do?                                                          11:01AM


23   A    One time, they brought the cafeteria person in the cafeteria               11:01AM


24   meeting.     And I think his name is Anjay, I don't know his last               11:01AM


25   name is.     But Anjay came and started talking to all Indians.                 11:01AM




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 1   Already have some problem with the food, tried to give you all                  11:01AM


 2   what you all want to eat.      We try to answer that way the food.              11:01AM


 3   So the people start giving some of their items in the food.                     11:01AM


 4   Q    And were those items ultimately provided in the cafeteria?                 11:02AM


 5   A    Yes.                                                                       11:02AM


 6   Q    I want to ask you a few questions about your experience with               11:02AM


 7   life in the man camp.      Did you ever use the Signal                          11:02AM


 8   transportation at the man camp?                                                 11:02AM


 9   A    Yes.    In starting, I used.                                               11:02AM


10   Q    And where would you have the Signal transportation take you?               11:02AM


11   A    They used to take to Walmart after my work and they used to                11:02AM


12   take us to banks and sometimes -- wherever we want.          Where the          11:02AM


13   areas to go to clubs or anything else, they used to drop us.                    11:02AM


14   And they used to pick them up.       Pick us back when we call them.            11:02AM


15   Q    Did the Signal transportation ever refuse to take you                      11:02AM


16   somewhere you wand to go?                                                       11:02AM


17   A    Within the limit area in the transportation is they never                  11:02AM


18   refused.                                                                        11:03AM


19   Q    Did you ever get sick from eating the food at the man camp?                11:03AM


20   A    No.                                                                        11:03AM


21   Q    Did you like the food that is served at the man camp?                      11:03AM


22   A    I didn't like it.     But I said like my taste is totally                  11:03AM


23   different.                                                                      11:03AM


24   Q    Did you shower in your bunkhouse or in the shower trailer?                 11:03AM


25   A    I used to take shower in my bunkhouse because I used to get                11:03AM




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 1   little early in the morning so I had no problems.          I never had          11:03AM


 2   any problem at all.                                                             11:03AM


 3   Q      You never had to wait in line to take a shower?                          11:03AM


 4   A      Oh, no.                                                                  11:03AM


 5   Q      When you were working at Signal on the H-2B program, did you             11:03AM


 6   eat lunch in the shipyard?                                                      11:03AM


 7   A      Yes.                                                                     11:03AM


 8   Q      Did you bring your lunch from the man camp?                              11:03AM


 9   A      Yeah.   First, in the morning, every morning, like breakfast             11:03AM


10   and I packed my lunch.       And usual, everyone does, I'll take --             11:03AM


11   I'll take to the shipyard.                                                      11:04AM


12   Q      And so how did that work?     Did the cafeteria supply food for          11:04AM


13   your lunches?                                                                   11:04AM


14   A      Yep.                                                                     11:04AM


15   Q      And what did you put your lunch in to take it to the                     11:04AM


16   shipyard?                                                                       11:04AM


17   A      No.    When we came that first time, first day, when they were           11:04AM


18   doing all the orientations, they gave a tiffin box like a lunch                 11:04AM


19   box.    And they say you all can pack your food every morning from              11:04AM


20   the cafeteria in the tiffin boxes and you can take it to the                    11:04AM


21   work area, to the work spot.                                                    11:04AM


22   Q      And were you charged for tiffin box?                                     11:04AM


23   A      No.                                                                      11:04AM


24   Q      And did your lunch ever spoil in the tiffin box?                         11:04AM


25   A      My lunches never spoiled.     I used to put in my lunch bag and          11:04AM




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 1   used to take to company.                                                        11:04AM


 2   Q    Did security ever search your bags when you were going into                11:04AM


 3   the man camp?                                                                   11:04AM


 4   A    Oh, yes.                                                                   11:04AM


 5   Q    Did it upset you that security searched your bags?                         11:04AM


 6   A    No.    They said sometimes you used random checks, we want to              11:04AM


 7   check.     And I said it's okay.                                                11:05AM


 8   Q    Did they ever search your bags when you were leaving the man               11:05AM


 9   camp?                                                                           11:05AM


10   A    Leaving man camp?                                                          11:05AM


11   Q    When you were leaving the man camp, going out of the man                   11:05AM


12   camp.                                                                           11:05AM


13   A    No.                                                                        11:05AM


14   Q    Were you ever locked in the man camp?                                      11:05AM


15   A    Say again?                                                                 11:05AM


16   Q    Were you ever locked into the man camp?                                    11:05AM


17   A    No.    We don't have any locks to the bunkhouses, to the                   11:05AM


18   doors.                                                                          11:05AM


19   Q    Were you ever prevented from leaving the man camp when you                 11:05AM


20   wanted to leave?                                                                11:05AM


21   A    No objections from no one, anyone who wanted to leave the                  11:05AM


22   camp.                                                                           11:05AM


23   Q    Were you free to come and go?                                              11:05AM


24   A    Yes.                                                                       11:05AM


25   Q    Did security ask to see your badge when you went into the                  11:05AM




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 1   man camp?                                                                       11:05AM


 2   A    Yes.    Sometimes they used to ask to show a badges because                11:05AM


 3   then they used to change the security guards in that spot, in                   11:05AM


 4   that location.       They used to ask us to can you show our badge.             11:06AM


 5   Q    Did security ever ask to see your badge when you left the                  11:06AM


 6   man camp?                                                                       11:06AM


 7   A    No.    Never.                                                              11:06AM


 8   Q    Did you ever see security searching the bunkhouses?          The           11:06AM


 9   trailers where you slept where the bunks were?                                  11:06AM


10   A    I think, one time, they searched our bunkhouses, like they                 11:06AM


11   say a random check to search.                                                   11:06AM


12                    And I asked why.                                               11:06AM


13   Q    And what did they tell you?                                                11:06AM


14   A    They said they found -- they find -- I don't have that much                11:06AM


15   experience on that.       Like, they said they found some bullet in             11:06AM


16   the area.    So they got the message and they told us, to all the               11:06AM


17   elders, that they wanted to check bunkhouses and random.           Then         11:07AM


18   everyone agreed it.                                                             11:07AM


19   Q    So they notified the elders that they were going to be                     11:07AM


20   checking the bunkhouses?                                                        11:07AM


21   A    Yes.    If there's anything they're going to do, they used to              11:07AM


22   send the messages to the elders saying that we're going to do                   11:07AM


23   this evening, we're going to have meeting or we're going to have                11:07AM


24   meeting in the conference room in Signal like in their ways.                    11:07AM


25   Q    And so they did a random search because a bullet was found                 11:07AM




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 1   in the man camp?                                                                11:07AM


 2   A    Not in the man camp but near the kitchen area.                             11:07AM


 3   Q    Of the man camp?     The kitchen area of the man camp?                     11:07AM


 4   A    Someone informed me.     I didn't see this.                                11:07AM


 5   Q    But the elders were present for the bunkhouse search?                      11:07AM


 6   A    Yes.   After the work, we came out.       They said after we work          11:07AM


 7   hours when we all will be there, then only they can check.           So         11:07AM


 8   they said okay.                                                                 11:07AM


 9   Q    Was there a rule about firearms at the man camp?                           11:07AM


10   A    Say again?                                                                 11:08AM


11   Q    Was there a rule about guns, weapons, at the man camp?                     11:08AM


12   A    Oh, no.   They said no guns.     Like, they got first                      11:08AM


13   documentation like a sign, we signed, they said this is all the                 11:08AM


14   rules and regulations.      We cannot carry anything into the                   11:08AM


15   bunkhouses.                                                                     11:08AM


16   Q    Other than the time that you just described when Signal                    11:08AM


17   security was looking for a weapon, did you ever see Signal                      11:08AM


18   security guards checking through the bunkhouses?                                11:08AM


19   A    No.                                                                        11:08AM


20   Q    Did you ever see a Signal security guard with a gun?                       11:08AM


21   A    I never saw that.                                                          11:08AM


22   Q    How did you do your laundry at the man camp?                               11:08AM


23   A    In the startings when we came, we used to come back after                  11:08AM


24   work, we used to go to the laundry room to wash our clothes.                    11:08AM


25   And there used to be like a cue for that laundry for washing                    11:08AM




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 1   clothes like.     So after some -- after a few days or after a                  11:08AM


 2   week, I don't know how long it took, but they said like we're                   11:09AM


 3   going arrange a laundry wash for our clothes.           You just drop the       11:09AM


 4   clothes in that, in that cabinet in the laundry room.          There            11:09AM


 5   will be someone going to clean and get ready for you all for the                11:09AM


 6   next day or next evening.                                                       11:09AM


 7   Q    So Signal had someone that would wash your clothes and give                11:09AM


 8   them back to you?                                                               11:09AM


 9   A    Yes.                                                                       11:09AM


10   Q    Did Signal have someone clean the man camp?                                11:09AM


11   A    Say again?                                                                 11:09AM


12   Q    Did Signal have someone clean the man camp?                                11:09AM


13   A    Yeah.    All the bunks, they have some cleaners, they come and             11:09AM


14   they used to clean the bunkhouses.        The bunk inside, the carpets          11:09AM


15   and stuff, they used to clean it.        They won't touch anything on           11:09AM


16   our beds.                                                                       11:09AM


17   Q    And did the camp have a camp manager?                                      11:09AM


18   A    Yes.                                                                       11:09AM


19   Q    Who was that?                                                              11:10AM


20   A    In the starting, there was a manager used to be there.                     11:10AM


21   Like, I forgot his name, he was a male.         But he was there for            11:10AM


22   few months.                                                                     11:10AM


23                     And, after that, Rhonda George came as a manager              11:10AM


24   there.                                                                          11:10AM


25   Q    And what did the camp manager do?                                          11:10AM




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 1   A    She used to take care of everything.        Rhonda George, when            11:10AM


 2   she came as a camp manager, if anybody got a little problem,                    11:10AM


 3   whatever problem, she used to solve them.         And she used to               11:10AM


 4   direct and talk to them the way she can address.          If she cannot         11:10AM


 5   do it, she used to call me and address that problem to the                      11:10AM


 6   person.                                                                         11:10AM


 7   Q    So you could -- the H-2B workers could address their                       11:10AM


 8   problems with the camp manager?                                                 11:10AM


 9   A    Yes.                                                                       11:10AM


10   Q    In the spring of 2007, did Signal have a family day?                       11:10AM


11   A    Yeah.   Yes.   They said a family day like a picnic.                       11:11AM


12   Q    Like a picnic.                                                             11:11AM


13                    And what was -- did everyone at Signal come?         Was       11:11AM


14   everyone as Signal invited to family day?                                       11:11AM


15   A    Yes.    Everyone who works there, they invited to that picnic.             11:11AM


16   I mean, like family day.                                                        11:11AM


17   Q    And did you attend?                                                        11:11AM


18   A    Yes.                                                                       11:11AM


19   Q    And did a lot of the H-2B workers go to family day?                        11:11AM


20   A    Yes.                                                                       11:11AM


21   Q    And what did you do at family day?        What happened there?             11:11AM


22   A    Just, I mean, this is first time in Signal what a family day               11:11AM


23   is, but I don't know what that is.        So we asked how it will be            11:11AM


24   like.    They said people like to play games, they play games,                  11:11AM


25   golf and will enjoy food, whatever, singing songs and stuff.                    11:12AM




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 1   And someone asked me like what type of games do you all play                     11:12AM


 2   like.    And, in India, we play like cricket is first -- nice game               11:12AM


 3   for us, like.       So they asked us like cricket?        For the first          11:12AM


 4   time, they don't know what cricket is in the company is.             So we       11:12AM


 5   say:    We can play cricket?       And they asked how much -- what do            11:12AM


 6   you all need like for the cricket, like?           Said, I explained them        11:12AM


 7   like, for cricket, we need bat and ball, wickets and stuff like                  11:12AM


 8   that.                                                                            11:12AM


 9   Q      And did Signal get you equipment so that you could play                   11:12AM


10   cricket at family day?                                                           11:12AM


11   A      Yeah.    They said we will see that we can arrange or not, but            11:12AM


12   right now we don't have all the play stuff.                                      11:12AM


13                       And, all of the sudden, they said, after one day,            11:13AM


14   I think, they said:         Yeah, we can arrange that stuff; you all             11:13AM


15   like to play?       I said:     Yeah.                                            11:13AM


16   Q      So I'm going to show you a photograph that's been marked as               11:13AM


17   Exhibit 1689 and ask you if you recognize this photo.             It should      11:13AM


18   show up on your screen.                                                          11:13AM


19                       Wrong one?                                                   11:13AM


20                  MR. BHATNAGAR:    Your Honor, may I approach before the           11:13AM


21   photo is published?                                                              11:13AM


22                  THE COURT:   Yes.                                                 11:13AM


23                  MS. BOLLMAN:   We're double-checking to make sure.                11:13AM


24                       (Discussion held off the record with counsel.)               11:14AM


25   BY MS. BOLLMAN:                                                                  11:14AM




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 1   Q    I'm going to show you a photo that's been marked 1689.          It         11:14AM


 2   showed show up on your screen.                                                  11:14AM


 3                     And I'm going to ask you if you recognize that                11:14AM


 4   photo.    Do you recognize that photo?                                          11:14AM


 5   A    Yes.                                                                       11:15AM


 6   Q    What is that a picture of?                                                 11:15AM


 7   A    That is a picture that we played cricket in that picnic.                   11:15AM


 8   Q    And was this at family day?                                                11:15AM


 9   A    Yes.                                                                       11:15AM


10   Q    And is this a fair and accurate representation of H-2B                     11:15AM


11   workers playing cricket on that day?                                            11:15AM


12   A    Yes.     We enjoyed playing cricket there.                                 11:15AM


13   Q    Great.                                                                     11:15AM


14                     Then I'm going to show you another photo that's               11:15AM


15   been marked as Exhibit 1631 and ask if you recognize that                       11:15AM


16   photograph.                                                                     11:15AM


17   A    Yes.                                                                       11:15AM


18   Q    And what is that a picture of?                                             11:15AM


19   A    Playing cricket.      On this side, I'm playing.                           11:15AM


20   Q    You can mark it.                                                           11:16AM


21                     Is that you?                                                  11:16AM


22   A    Yes.     At bat.                                                           11:16AM


23   Q    You have the bat.                                                          11:16AM


24                     And is this a fair and accurate representation of             11:16AM


25   your playing cricket that day?                                                  11:16AM




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 1   A     Yes.                                                                      11:16AM


 2   Q     And then I'm going to show you a photo that's been marked as              11:16AM


 3   1685 and ask if you recognize that photo.                                       11:16AM


 4                     What is that a picture of?                                    11:16AM


 5   A     Yeah.    They said in, that picnic, they have a raffle draws,             11:16AM


 6   and one of the Indian got the lottery, that raffle.          He won that        11:16AM


 7   TV.                                                                             11:16AM


 8   Q     One of the Indians won the TV?                                            11:16AM


 9   A     Yes.                                                                      11:16AM


10   Q     And is this a fair and accurate representation of what you                11:16AM


11   saw that day?                                                                   11:16AM


12   A     Yes.                                                                      11:16AM


13                     You see that yellow shirt, the off-sleeves, he won            11:16AM


14   the TV.      I don't know what color it is.                                     11:16AM


15   Q     Great.    Thank you.                                                      11:17AM


16                     I'm going to switch now and talk for a minute                 11:17AM


17   about the employment based green card process.          Did Signal ever         11:17AM


18   begin the green card process for you?                                           11:17AM


19   A     Yes.                                                                      11:17AM


20   Q     When?                                                                     11:17AM


21   A     While they having the meetings like in the camp meetings,                 11:17AM


22   they said there was an H-2B visa program, we're going to get an                 11:17AM


23   extension, extension.        After that management, said we're going            11:17AM


24   to apply green card processing program.         And they started I              11:17AM


25   think in 2008, August or September.        I don't remember exactly.            11:17AM




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 1   Q    And was your labor certification application approved?                     11:17AM


 2   A    Yes.   I approved the certification.                                       11:17AM


 3                     And a few more other Indians, too.                            11:17AM


 4   Q    And was the second step of the process, your I-140,                        11:17AM


 5   approved?                                                                       11:18AM


 6   A    Yes.   My I-140 was approved.                                              11:18AM


 7   Q    And have you received your green card?                                     11:18AM


 8   A    No.                                                                        11:18AM


 9   Q    Why not?                                                                   11:18AM


10   A    Signal -- immigration authorities says like we approved                    11:18AM


11   I-140 and they are still in waiting list.         In the cue.    So we          11:18AM


12   should wait for that.                                                           11:18AM


13   Q    So you're still waiting in the cue for your green card?                    11:18AM


14   A    Yes.                                                                       11:18AM


15   Q    And then I just have a few more questions for you.                         11:18AM


16                     While you were working at Signal, did Signal                  11:18AM


17   personnel refer to you by your badge number?                                    11:18AM


18   A    Say again?                                                                 11:18AM


19   Q    While you were working at Signal, did Signal personnel refer               11:18AM


20   to you by your badge number?                                                    11:18AM


21   A    No.                                                                        11:18AM


22   Q    Did Signal ever treat you differently than it's other                      11:18AM


23   workers because you were Indian?                                                11:18AM


24   A    No.                                                                        11:18AM


25   Q    Did you like -- do you like working at Signal?                             11:18AM




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 1   A    Yes.                                                                       11:18AM


 2   Q    While you were working at Signals on the H-2B program, did                 11:18AM


 3   you make friends with other employees at Signal who were not                    11:19AM


 4   H-2B workers?                                                                   11:19AM


 5   A    Yeah.    Who works in Signal, I used to make friends with                  11:19AM


 6   them.    They used to take me out.      We used to go out.                      11:19AM


 7   Q    Did you ever go to their homes?                                            11:19AM


 8   A    Yeah.    I went one of my coworkers, safety rep.        He took me         11:19AM


 9   to his house.                                                                   11:19AM


10   Q    And did you ever go into town with them?                                   11:19AM


11   A    Yeah.    With different friends.     I mean, different                     11:19AM


12   colleagues.                                                                     11:19AM


13   Q    And did you ever go on vacation while you were working at                  11:19AM


14   Signal?                                                                         11:19AM


15   A    I think I went one time to Texas or somewhere.          Yeah, Texas,       11:19AM


16   I think.                                                                        11:19AM


17   Q    Did anyone in Signal management ever ask you for information               11:19AM


18   about meetings the H-2B workers were having?                                    11:20AM


19   A    No.                                                                        11:20AM


20   Q    Did you ever attend a meeting with the H-2B workers held in                11:20AM


21   a church in Pascagoula?                                                         11:20AM


22   A    I think, one time, one of my -- there was a man who used to                11:20AM


23   work, he don't have a car.       He told me to drop him to particular           11:20AM


24   church.     And I just -- I dropped him there.                                  11:20AM


25   Q    Did you attend the meeting at all?                                         11:20AM




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 1   A    No.                                                                        11:20AM


 2   Q    Did anyone in Signal management ever ask you to spy on the                 11:20AM


 3   other H-2B workers?                                                             11:20AM


 4   A    No.    No, never.                                                          11:20AM


 5                MS. BOLLMAN:   That's all I have at the same time, Your            11:20AM


 6   Honor.                                                                          11:20AM


 7                MR. BHATNAGAR:    Good morning, Your Honor.                        11:21AM


 8                                 CROSS EXAMINATION                                 11:21AM


 9   BY MR. BHATNAGAR:                                                               11:21AM


10   Q    Good morning, sir.       My name is Chandra Bhatnagar and I                11:21AM


11   represent the plaintiffs in this matter.                                        11:21AM


12                     Mr. Gunisetti, is it all right if I call you Mr.              11:21AM


13   Ramesh?                                                                         11:21AM


14   A    Yeah, no problem.                                                          11:21AM


15   Q    Mr. Ramesh, before you came to work at Signal, you testified               11:21AM


16   you work abroad; right?                                                         11:21AM


17   A    Yes.                                                                       11:21AM


18   Q    And, initially, you worked in Singapore and I believe you                  11:21AM


19   said you were paid 55,000 rupees for that job; right?                           11:21AM


20   A    Yes.                                                                       11:21AM


21   Q    And that's roughly $500?                                                   11:21AM


22   A    My -- not $5?    It might be 500 to six or seven, I don't know             11:22AM


23   exactly.                                                                        11:22AM


24   Q    Ballpark.                                                                  11:22AM


25   A    Yeah.                                                                      11:22AM




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 1   Q    And then you worked in Cameroon in Africa, and you paid                    11:22AM


 2   40,000 rupees; right?                                                           11:22AM


 3   A    Right.                                                                     11:22AM


 4   Q    And that's about $400?                                                     11:22AM


 5   A    Approximately.                                                             11:22AM


 6   Q    And then I believe you testified that you worked in                        11:22AM


 7   Azerbaijan in central Asia, and how much did you pay to go                      11:22AM


 8   there?                                                                          11:22AM


 9   A    Say again?                                                                 11:22AM


10   Q    How much did you pay to go to Azerbaijan?                                  11:22AM


11   A    I think it was thirty or 35,000, if I remember right.                      11:22AM


12   Q    So that's less than $400; right?                                           11:22AM


13   A    Yes.                                                                       11:22AM


14   Q    And, lastly, you worked in the Middle East, specifically in                11:22AM


15   Abu Dhabi; correct?                                                             11:22AM


16   A    Yes.                                                                       11:22AM


17   Q    And, to go there, I believe you testified that you paid                    11:22AM


18   20,000 rupees; right?                                                           11:22AM


19   A    Yes, 20,000.                                                               11:22AM


20   Q    And that's roughly $200?                                                   11:22AM


21   A    By that time, it might be more.       Like two hundred, $250.              11:22AM


22   Q    And you had a two year contract that you were supposed to be               11:23AM


23   going on to Abu Dhabi on?                                                       11:23AM


24   A    Yeah.    That's what they said, the company.                               11:23AM


25   Q    Now, you paid 500,000 rupees to come to work at Signal;                    11:23AM




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 1   right?                                                                          11:23AM


 2   A    Right.                                                                     11:23AM


 3   Q    For an H-2B visa and a green card; right?                                  11:23AM


 4   A    Yes.                                                                       11:23AM


 5   Q    And that amount, 500,000 rupees, that's more than ten times                11:23AM


 6   what you paid for any of your previous work opportunities                       11:23AM


 7   oversees; right?                                                                11:23AM


 8   A    Right.                                                                     11:23AM


 9   Q    And 500,000 rupees is roughly, I think you said, you                       11:23AM


10   testified roughly 14,000 or $15,000?        Is that what you said?              11:23AM


11   A    I mean roughly said because --                                             11:23AM


12   Q    Sure.                                                                      11:23AM


13   A    Because by the time the rates different.                                   11:23AM


14   Q    So let's talk about your journey to Signal.         It's July of           11:23AM


15   2006 and you're in Abu Dhabi.       And I believe you said you were             11:23AM


16   working for Denz Corporation; right?                                            11:23AM


17   A    Yes.                                                                       11:23AM


18   Q    And you talked to some of your friends on the telephone, and               11:23AM


19   they'd tell you about the opportunity to come to the United                     11:24AM


20   States on an H-2B visa to go to Signal; right?                                  11:24AM


21   A    Right.                                                                     11:24AM


22   Q    And the H-2B visa is ultimately going to go to a green card;               11:24AM


23   right?                                                                          11:24AM


24   A    No.    They said, if you go to H-2B visa, we'll get extension,             11:24AM


25   extension and a green card.                                                     11:24AM




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 1   Q    Correct, correct.        Appreciate that clarification?                     11:24AM


 2                     So at that time you're working for Denz in Abu                 11:24AM


 3   Dhabi; right?                                                                    11:24AM


 4   A    Yes.                                                                        11:24AM


 5   Q    And you have a bit of a dilemma; right?               You have a bit of a   11:24AM


 6   dilemma:    Do you keep your job in Abu Dhabi or do you go back to               11:24AM


 7   India and pursue the opportunity with Signal; right?                             11:24AM


 8   A    Right.                                                                      11:24AM


 9   Q    That's the choice that you had to make; right?                              11:24AM


10   A    Yes.                                                                        11:24AM


11   Q    And so when you're -- you're worried that, if you leave the                 11:24AM


12   job in Abu Dhabi and if the Signal opportunity falls through,                    11:24AM


13   you've then lost your job; right?                                                11:24AM


14   A    Can you repeat one more time?                                               11:24AM


15   Q    Sure, sure.                                                                 11:24AM


16                     You're concerned that, if you leave your position              11:24AM


17   in Abu Dhabi to go to India to seek the opportunity with Signal,                 11:24AM


18   that then you might -- that might fall through and you might                     11:25AM


19   lose your job in Abu Dhabi by; correct?                                          11:25AM


20   A    Yes.                                                                        11:25AM


21   Q    So -- but at the same time you were interested in the                       11:25AM


22   opportunity to go to work at Signal; right?                                      11:25AM


23   A    Yes.     The USA.                                                           11:25AM


24   Q    And so you figured out a solution for how to avoid this                     11:25AM


25   problem; didn't you?                                                             11:25AM




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 1   A      Say again one more time.                                                 11:25AM


 2   Q      You figured out a solution for how to avoid this problem;                11:25AM


 3   right?                                                                          11:25AM


 4   A      Yes.                                                                     11:25AM


 5   Q      And the solution was that you told your employer in Abu                  11:25AM


 6   Dhabi that you had a medical emergency in India that you needed                 11:25AM


 7   to attend to; right?                                                            11:25AM


 8   A      Right.                                                                   11:25AM


 9   Q      And that was not a truthful statement; right?                            11:25AM


10   A      Yes.     It's not a truthful statement, but I want to explain            11:25AM


11   to you what there.                                                              11:25AM


12   Q      Please.                                                                  11:25AM


13   A      Because the reason we went there for two months, I was there             11:25AM


14   like roughly two months, I think.          I don't know how many days           11:25AM


15   that is.      So this is an opportunity going on.         So some of like       11:25AM


16   -- they said like if it's a good opportunity if you'd like to                   11:26AM


17   come and attend for that interview and see how it goes.             And, if     11:26AM


18   you get a leave from the company and if they give you a leave                   11:26AM


19   and you can come down, it will be fine.                                         11:26AM


20                       And I tried to ask the leave, the way I you just            11:26AM


21   expressed this.       But, in the meantime, I said:        Look, if you're      11:26AM


22   not able to give me, I'm going to quit my job, I can resign it,                 11:26AM


23   too.    My management in Abu Dhabi.                                             11:26AM


24   Q      But, ultimately, that's not what you chose to do?                        11:26AM


25   A      Which one?                                                               11:26AM




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 1   Q      I mean, that wasn't your decision.       You didn't quit your job        11:26AM


 2   Abu Dhabi.      You told them that you had a medical emergency in               11:26AM


 3   India; right?                                                                   11:26AM


 4   A      Yeah.    Medical emergency.   If they can't give that, then I            11:26AM


 5   quit.    They said they want to give me a chance to me.                         11:26AM


 6   Q      So you told them you had a medical emergency.       You then went        11:26AM


 7   to India; correct?                                                              11:26AM


 8   A      Yes.                                                                     11:26AM


 9   Q      And is it your testimony that you didn't lie to your                     11:26AM


10   employer Denz?      Are you saying that you didn't lie to them?                 11:27AM


11   A      I said medical emergency.                                                11:27AM


12   Q      And that was not true?                                                   11:27AM


13   A      Yes.                                                                     11:27AM


14   Q      Okay.                                                                    11:27AM


15                      So you're willing to be untruthful to your                   11:27AM


16   employer in Abu Dhabi because you didn't want to lose your job;                 11:27AM


17   right?                                                                          11:27AM


18   A      Yes.                                                                     11:27AM


19   Q      And you were willing to lie to your employer to save your                11:27AM


20   job; is that fair?                                                              11:27AM


21   A      Like, not only myself, a lot of people who came by the time,             11:27AM


22   too.    I think they said -- they gave me idea.                                 11:27AM


23   Q      I'm just asking about you, though.       You were willing to do          11:27AM


24   that in order to save your job; right?                                          11:27AM


25   A      Right.                                                                   11:27AM




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 1   Q    So let's fast-forward the story.       You tell your employer              11:27AM


 2   that there is a medical emergency.        You go back to India; right?          11:27AM


 3   A    Right.                                                                     11:27AM


 4   Q    You get to India, and the opportunity to come to the United                11:27AM


 5   States looks like it's actually going to come through.           And, at        11:27AM


 6   some point, you realize:      I'm not going to go back to Abu Dhabi;            11:27AM


 7   right?                                                                          11:28AM


 8   A    If I select for the USA, right.                                            11:28AM


 9   Q    So at that point do you call Denz and say:         Listen, I know I        11:28AM


10   have a two year contract with you but I'm actually not coming                   11:28AM


11   back to the Abu Dhabi, I'm going stay in India?                                 11:28AM


12   A    I didn't inform anything to them.                                          11:28AM


13   Q    So you never called Denz back?                                             11:28AM


14   A    No.                                                                        11:28AM


15   Q    You just left with no word?                                                11:28AM


16   A    No.                                                                        11:28AM


17   Q    And why didn't you call them back?                                         11:28AM


18   A    I never thought nothing about that.                                        11:28AM


19   Q    You never thought that, even though you had a two-year                     11:28AM


20   contract with them, that you should call them and inform them                   11:28AM


21   that you were not returning?                                                    11:28AM


22   A    No.                                                                        11:28AM


23   Q    Okay.                                                                      11:28AM


24                    So now you're back in India and you have a meeting             11:28AM


25   with Sachin Dewan; right?                                                       11:28AM




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 1   A    Yes.                                                                       11:28AM


 2   Q    And, in that meeting, Mr. Dewan is preparing you for your                  11:28AM


 3   consular interview; right?                                                      11:28AM


 4   A    Yeah.                                                                      11:28AM


 5   Q    And he tells you to tell the United States consulate that                  11:28AM


 6   you were paying 35,000 rupees for your fees to go to the United                 11:28AM


 7   States; correct?                                                                11:29AM


 8   A    Yeah.    He been explaining, not only me, been explaining to               11:29AM


 9   all the group who is going for that consulate interview that day                11:29AM


10   morning.                                                                        11:29AM


11   Q    So he's telling you and he's telling the other people who                  11:29AM


12   are also there that you should tell the United States consulate                 11:29AM


13   that you paid 35,000 rupees in order to go to US; correct?                      11:29AM


14   A    Yes.     For paperwork, what he said.                                      11:29AM


15   Q    Right.                                                                     11:29AM


16                     And you knew that to be a false statement that he             11:29AM


17   was asking you to make; right?                                                  11:29AM


18   A    Right.                                                                     11:29AM


19   Q    And you were prepared to make that false statement to the                  11:29AM


20   consulate if they asked you that question; weren't you?                         11:29AM


21   A    Yes.                                                                       11:29AM


22   Q    Now, when you get to the consulate, no one at the consulate                11:29AM


23   ever asked that you question; do they?         They never say how much          11:29AM


24   did you pay?                                                                    11:29AM


25   A    No.                                                                        11:29AM




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 1   Q    But they do ask you what your trade is; right?                             11:29AM


 2   A    Trade and my experience.                                                   11:29AM


 3   Q    Right.                                                                     11:29AM


 4                     And you tell them you're a fitter; right?                     11:29AM


 5   A    And I got this much experience.                                            11:29AM


 6   Q    And you tell them how much experience you have; correct?                   11:30AM


 7   A    Yes.                                                                       11:30AM


 8   Q    So the reason that you were prepared to tell them, if they'd               11:30AM


 9   asked, that you paid 35,000 rupees, which was not truthful, was                 11:30AM


10   because you were worried that if you told the truth you might                   11:30AM


11   lose the opportunity to come to the US and come to Signal;                      11:30AM


12   right?                                                                          11:30AM


13   A    Yes.                                                                       11:30AM


14   Q    So let's back up for a second.       Now, in your recruitment              11:30AM


15   with Mr. Dewan, you had a very different experience than many of                11:30AM


16   the other Indian workers; is that fair?                                         11:30AM


17   A    Say again?                                                                 11:30AM


18   Q    In your recruitment with Mr. Dewan, you had a very different               11:30AM


19   experience than many of the other Indian workers; is that fair?                 11:30AM


20   A    There's no difference anything in between me and other                     11:30AM


21   Indians.                                                                        11:30AM


22   Q    Okay.    Okay.                                                             11:30AM


23                     When you first found out about the opportunity to             11:30AM


24   come to Signal and get a green card H-2B visa in the United                     11:30AM


25   States, Mr. Dewan gave you have a price tag, a quote, of 600,000                11:30AM




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 1   rupees; right?                                                                  11:30AM


 2   A    Right.    First time.                                                      11:30AM


 3   Q    And 600,000 rupees in India is also referred to as 6 lakhs;                11:31AM


 4   right?                                                                          11:31AM


 5   A    Correct.                                                                   11:31AM


 6   Q    And a lakh is 100,000 of something, anything?                              11:31AM


 7   A    A lakh is 100,000 Indian rupees.                                           11:31AM


 8   Q    But a lakh can also refer to other objects, too.            Like, you      11:31AM


 9   can have one lakh jelly beans or one lakh soccer balls?                         11:31AM


10   A    Right.                                                                     11:31AM


11   Q    So Mr. Dewan gives you a price tag of six lakhs, otherwise                 11:31AM


12   known as 600,000 rupees, that's how much it's going to cost to                  11:31AM


13   come to America and work at Signal, get your H-2B visa and get a                11:31AM


14   green card; right?                                                              11:31AM


15   A    Yeah.    In process.                                                       11:31AM


16   Q    In process, right.                                                         11:31AM


17                    But you tell Mr. Dewan:      That's more than I want           11:31AM


18   to pay?     Right?   That's what you say?                                       11:31AM


19   A    Yeah.    I requested him.                                                  11:31AM


20   Q    Right.    You say:   I'm not going to pay six lakhs, I can't               11:31AM


21   pay you six lakhs; right?                                                       11:31AM


22   A    Yes.                                                                       11:31AM


23   Q    You say:    Mr. Dewan, I want a discount.          Right?   You ask him    11:31AM


24   for a discount?                                                                 11:31AM


25   A    I mean, discount was like -- yes.                                          11:31AM




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 1                     Okay, go ahead.                                               11:31AM


 2   Q    I'm sorry, go ahead.                                                       11:31AM


 3   A    There was a price tag.       As Mr. Bhatnagar is saying, there's           11:31AM


 4   a price tag of say 600,000 rupees.        And I tried to ask that               11:32AM


 5   600,000 rupees, by the time I'm not affordable for that.           But I        11:32AM


 6   asked is there any possibilities that you all can give me some                  11:32AM


 7   discount.                                                                       11:32AM


 8   Q    Right.                                                                     11:32AM


 9                     So you asked Mr. Dewan for a discount.      And Mr.           11:32AM


10   Dewan could have said:        No, this is what the price of                     11:32AM


11   recruitment is.     But that's not what he said.                                11:32AM


12   A    Yes.                                                                       11:32AM


13   Q    He actually agreed, Mr. Sachin Dewan, the head of Dewan                    11:32AM


14   Consultants, agreed to give you a huge discount; didn't he?                     11:32AM


15   A    Yeah.                                                                      11:32AM


16   Q    He agreed to reduce your price tag for this recruitment from               11:32AM


17   600,000 rupees to 500,000 rupees; isn't that right?                             11:32AM


18   A    Yes.     For me, yeah.                                                     11:32AM


19   Q    And that's a significant reduction.        You'd agree with that;          11:32AM


20   right?                                                                          11:32AM


21   A    Right.                                                                     11:32AM


22   Q    If you're going to go buy a house and someone says:           The          11:32AM


23   price tag of the house is 600,000 dollars.          And you say:   You          11:32AM


24   know what, I just can't pay $600,000.         And they say:   Okay, it's        11:32AM


25   $500,000.     That's a significant reduction?                                   11:32AM




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 1   A    Exactly.                                                                   11:33AM


 2   Q    So, based upon your request, Mr. Dewan makes a special                     11:33AM


 3   arrangement for you; right?                                                     11:33AM


 4   A    No.    He never did any special arrangements.         He's like there      11:33AM


 5   was like few people I heard like he give some more same                         11:33AM


 6   discounts to a few owner Indians, too.            Not only me.   Like no        11:33AM


 7   special --                                                                      11:33AM


 8   Q    That's not the only special arrangement, the price range.                  11:33AM


 9   There were other things that Mr. Dewan did for you that were a                  11:33AM


10   little different than the other Indian workers; right?                          11:33AM


11   A    There no difference.                                                       11:33AM


12   Q    You were supposed to come up with a check, a demand draft                  11:33AM


13   for Mr. Pol and for Mr. Burnett; right?                                         11:33AM


14   A    Yes.                                                                       11:33AM


15   Q    And you told Mr. Dewan?         You know what, I just can't come up        11:33AM


16   with the demand draft for $1,550 to Mr. Pole and Mr. Burnett.                   11:33AM


17   That's what you told them; right?                                               11:33AM


18   A    Yes.     I think.                                                          11:33AM


19   Q    You told them like:        I can't come up with these demand               11:33AM


20   drafts, I can't give you with these checks; right?                              11:33AM


21   A    No.    I said:   Look, I can give you the cash, if I'm okay.               11:33AM


22   And he agreed it.                                                               11:34AM


23   Q    Right.                                                                     11:34AM


24                     But, for the other workers, as you're probably                11:34AM


25   aware, they had to give checks.          They had to go to the bank and         11:34AM




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 1   get a demand draft and give those to Mr. Dewan to give to Mr.                   11:34AM


 2   Pol and Mr. Burnett; right?                                                     11:34AM


 3   A    Right.                                                                     11:34AM


 4   Q    But you didn't have to do that.                                            11:34AM


 5   A    Yeah.    I didn't get time to do that all things.                          11:34AM


 6   Q    But you didn't get time to do that but you also didn't have                11:34AM


 7   to do that; right?                                                              11:34AM


 8   A    Yes.                                                                       11:34AM


 9   Q    Were you an exception in terms of what was required; right?                11:34AM


10   A    That's not an exception.      Actually, the same thing to start            11:34AM


11   process to give Michael Pol and Malvern Burnett is.          But he said        11:34AM


12   like:    Don't worry, I'll take care of that.                                   11:34AM


13   Q    He said:    Don't worry, I'll take care of that?       That's what         11:34AM


14   he told you?                                                                    11:34AM


15   A    Yes.                                                                       11:34AM


16   Q    Mr. Dewan told you that?                                                   11:34AM


17   A    Yeah.                                                                      11:34AM


18   Q    And did you ever write checks to Mr. Burnett or Mr. Pol?                   11:34AM


19   A    No.                                                                        11:34AM


20   Q    So you came to Signal without ever having written them a                   11:34AM


21   check?                                                                          11:34AM


22   A    Never.                                                                     11:34AM


23   Q    Okay.                                                                      11:34AM


24                    Let's talk about the special arrangement that you              11:34AM


25   had or whatever special arrangements you might have had when you                11:34AM




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 1   came to Signal.                                                                 11:34AM


 2                     Now, you're arrived at Signal in November of 2006;            11:34AM


 3   right?    Is that what you said?                                                11:35AM


 4   A    Yes.                                                                       11:35AM


 5   Q    And, when you arrived, how many people were in your wave?                  11:35AM


 6   A    I don't know exact number.       I think twenty to thirty people           11:35AM


 7   in between.                                                                     11:35AM


 8   Q    Twenty to thirty people in your wave, okay.                                11:35AM


 9   A    But -- excuse me.     But not in same town.        They came from          11:35AM


10   different cities from India.                                                    11:35AM


11   Q    But you all arrived on the same bus together to Signal?                    11:35AM


12   A    Yeah.    In Mobile.                                                        11:35AM


13   Q    In Mobile?                                                                 11:35AM


14   A    From Mobile.                                                               11:35AM


15   Q    And it was about twenty to thirty guys who were in your                    11:35AM


16   wave; right?                                                                    11:35AM


17   A    Yeah.    Not exactly, but I'm just rough, like twenty to                   11:35AM


18   thirty people.                                                                  11:35AM


19   Q    Sure, sure.                                                                11:35AM


20                     Now, you mentioned that you were translating the              11:35AM


21   next day after you arrived.       You mentioned that you were                   11:35AM


22   translating for the one or two people on either side of you                     11:35AM


23   during the orientation.      Right?                                             11:35AM


24   A    Right.                                                                     11:35AM


25   Q    If there were twenty to thirty guys, other than the one or                 11:35AM




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 1   two people on either side of you, you were not translating for                  11:35AM


 2   those other twenty-eight people; right?                                         11:35AM


 3   A    Yeah.    What happened is that they, like people who can read              11:35AM


 4   and write, like we had been sitting in the rows, that try to                    11:36AM


 5   explain -- they might explained to the rest of people.           But I          11:36AM


 6   explained only to my right and left side.                                       11:36AM


 7   Q    You only translated for the people on your left and the                    11:36AM


 8   people on your right at the most?                                               11:36AM


 9   A    At the most.                                                               11:36AM


10   Q    The other twenty-eight people, you didn't translate for?                   11:36AM


11   A    I didn't translate because I'm not a translator by the time.               11:36AM


12   Q    Right.    You're not a translator at that time; right?                     11:36AM


13   A    Yes.                                                                       11:36AM


14   Q    So, you also mentioned I believe in your testimony earlier                 11:36AM


15   that you thought when you were arrived that the conditions in                   11:36AM


16   the bunkhouse was cramped; is that right?                                       11:36AM


17   A    Say again?                                                                 11:36AM


18   Q    The conditions in your bunkhouse was cramped?         Your trailer?        11:36AM


19   A    What's that mean?                                                          11:36AM


20   Q    Cramped means too many people in too little space.                         11:36AM


21                     Would you agree with that?                                    11:36AM


22   A    Yeah.    That first night, is a little crowded.                            11:36AM


23                     But, before that, the management, John Sanders,               11:36AM


24   said:    We're going to try to ship you all, like.                              11:36AM


25   Q    So let's just take that in small pieces, if we could?                      11:36AM




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 1                     So you arrive and you say this is too crowded,                11:36AM


 2   this is too many people in one space.         And then you communicate          11:36AM


 3   that the next among to John Sanders; right?                                     11:37AM


 4   A    Yes.                                                                       11:37AM


 5   Q    And John Sanders tells you:       Don't worry, we're going to be           11:37AM


 6   bringing in more trailers.       Right?                                         11:37AM


 7   A    Yeah.   They explained there they ordered some more trailers               11:37AM


 8   but it will take a little time to come to that facility.                        11:37AM


 9   Q    And none of the prior overseas jobs that you had you an ever               11:37AM


10   lived with twenty men in a room?                                                11:37AM


11   A    I lived with fifteen people in a room, in an apartment.                    11:37AM


12   Q    In an apartment.                                                           11:37AM


13                     Had you lived with twenty people in a trailer ever            11:37AM


14   before?                                                                         11:37AM


15   A    In a trailer, no.                                                          11:37AM


16   Q    Okay.                                                                      11:37AM


17                     So Mr. Sanders tells you additional trailers are              11:37AM


18   on the way; right?     He says that?                                            11:37AM


19   A    Yeah.   That's what he said.      That's day one.                          11:37AM


20   Q    Did Mr. Sanders tell you that he didn't even get approval                  11:37AM


21   for the new trailers until January?                                             11:37AM


22   A    Say again?                                                                 11:37AM


23   Q    Did Mr. Sanders also tell you that he didn't even get                      11:37AM


24   approval for the new trailers until January?                                    11:37AM


25   A    No, he didn't say that.      He said like they ordering some               11:37AM




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 1   more trailers, they will be shortly here.         But he never                  11:38AM


 2   mentioned me the time or month and days.                                        11:38AM


 3   Q    But you're arrived in November; correct?                                   11:38AM


 4   A    Yeah.    I came in November.                                               11:38AM


 5   Q    And, if never really Sanders did not even get approval for                 11:38AM


 6   the new trailers until January, you would agree that that's a                   11:38AM


 7   significant amount of time that you're waiting for the new                      11:38AM


 8   trailers; right?                                                                11:38AM


 9   A    Yeah.                                                                      11:38AM


10   Q    So let's go back to your original arrival at Signal and the                11:38AM


11   orientation.                                                                    11:38AM


12                    You mentioned you were setting forth kind of what              11:38AM


13   the conditions were in the different facilities that existed;                   11:38AM


14   right?     And you mentioned I think a computer room; right?        You         11:38AM


15   mentioned a computer room?       That there was a computer room?                11:38AM


16   A    There was computer rooms separately there.                                 11:38AM


17   Q    Right.    There was computer room, you said, at Signal; right?             11:38AM


18   A    Yeah.    But when that computer room came with the new                     11:38AM


19   accommodations when they're brought in extra bunks.                             11:38AM


20   Q    That computer room didn't exist when you arrived; right?                   11:38AM


21   A    No.                                                                        11:38AM


22   Q    Didn't exist then?                                                         11:38AM


23                    When the computer room did arrive -- you're                    11:39AM


24   calling it a computer room.       Did the computer room have any                11:39AM


25   computers in it?                                                                11:39AM




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 1   A     There's no computers in it.       They got computers like                 11:39AM


 2   cabinets that did it, and one room was left if the people want                  11:39AM


 3   it.                                                                             11:39AM


 4   Q     But there's no computers in the computer room?                            11:39AM


 5   A     Yes.     No computers in the computer room.                               11:39AM


 6   Q     Okay.    I just wand to clarify that.                                     11:39AM


 7                      So you arrived at Signal and you come on an H-2B             11:39AM


 8   visa as a fitter; right?                                                        11:39AM


 9   A     Yes.                                                                      11:39AM


10   Q     And I think you testified earlier that your H-2B visa was --              11:39AM


11   it was not for a safety position, it was for a fitter; right?                   11:39AM


12   A     Right.                                                                    11:39AM


13   Q     But, within two weeks of your arrival at Signal, you're                   11:39AM


14   moved to a new position; right?                                                 11:39AM


15   A     Yes.                                                                      11:39AM


16   Q     And your new position is a safety position; right?                        11:39AM


17   A     Yes.     Safety representative.                                           11:39AM


18   Q     A safety representative, okay.                                            11:39AM


19                      And you didn't take any pay cut with that                    11:39AM


20   transfer; did you?                                                              11:39AM


21   A     No.                                                                       11:39AM


22   Q     In fact, you said that you were one of the few workers that               11:39AM


23   got a pay raise around that time; right?                                        11:39AM


24   A     Yeah.    By the time they been raising pay for a few people.              11:40AM


25   Q     Right.                                                                    11:40AM




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 1                     And were you among those few people?                          11:40AM


 2   A    I'm also in that.                                                          11:40AM


 3   Q    All right.                                                                 11:40AM


 4                     In fact, you've never gotten a pay cut during your            11:40AM


 5   tire time at Signal; have you?                                                  11:40AM


 6   A    Like, an H-2B visa?                                                        11:40AM


 7   Q    Yeah.                                                                      11:40AM


 8   A    In H-2B visa program?                                                      11:40AM


 9   Q    Since you've been at Signal, have you gotten a pay cut?                    11:40AM


10   A    No.   I mean, in H-2B visa, like.                                          11:40AM


11   Q    So you transferred over from an H-2B visa as a fitter to a                 11:40AM


12   safety representative position; right?                                          11:40AM


13   A    Right.                                                                     11:40AM


14   Q    Do you know if it was lawful for you to transfer from the                  11:40AM


15   H-2B visa as a fitter to a different job at Signal?                             11:40AM


16                MS. BOLLMAN:   Objection, Your Honor.      Calls for a legal       11:40AM


17   conclusion.                                                                     11:40AM


18                MR. BHATNAGAR:   I'm simply seeking whether or not he              11:40AM


19   knows.                                                                          11:40AM


20                THE COURT:   Sustained.                                            11:40AM


21   MR. BHATNAGAR:                                                                  11:41AM


22   Q    Were you told by Signal that there would be any legal                      11:41AM


23   impediment or obstacle to you shifting from a fitter position to                11:41AM


24   a safety position?                                                              11:41AM


25   A    No.   They said like they been plans for me for safety                     11:41AM




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 1   department to do safety jobs safety representative plus they                    11:41AM


 2   need this assistants to be transferred to rest of the Indians.                  11:41AM


 3   So that's the main thing I think that they switching me in the                  11:41AM


 4   day shifts.     And they added another person for night shift, too.             11:41AM


 5   Q    Okay.    So they said --                                                   11:41AM


 6   A    At nights.                                                                 11:41AM


 7   Q    -- they transferred you in part because of your language                   11:41AM


 8   ability; right?     Because you're able to speak English as well;               11:41AM


 9   is that right?                                                                  11:41AM


10                THE COURT:   Mr. Bhatnagar, can you slow down a little,            11:41AM


11   please?                                                                         11:41AM


12                MR. BHATNAGAR:   I'm so sorry.    My apologies.    I'll ask        11:41AM


13   the question again, hopefully slower and clearer perhaps, too.                  11:41AM


14   BY MR. BHATNAGAR:                                                               11:41AM


15   Q    So you were moved to the safety department in part because                 11:41AM


16   of your language abilities; correct?                                            11:41AM


17   A    Yes.                                                                       11:41AM


18   Q    And you testified earlier that your native language is                     11:42AM


19   Telugu; right?                                                                  11:42AM


20   A    My mother, yes.                                                            11:42AM


21   Q    Your mother tongue; right?                                                 11:42AM


22   A    Yes.                                                                       11:42AM


23   Q    But you also speak Hindi; right?                                           11:42AM


24   A    Yes.                                                                       11:42AM


25   Q    There were other Indian H-2B workers at Signal who also                    11:42AM




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 1   spoke Hindi; right?                                                             11:42AM


 2   A    Right.                                                                     11:42AM


 3   Q    And who also spoke English; right?                                         11:42AM


 4                     And some of them spoke Hindi better than you;                 11:42AM


 5   right?                                                                          11:42AM


 6   A    Right.                                                                     11:42AM


 7   Q    And English better than you?                                               11:42AM


 8   A    Might be.                                                                  11:42AM


 9   Q    Might be.                                                                  11:42AM


10                     So there were other workers who could have been               11:42AM


11   transferred over and served as translators, but you were the one                11:42AM


12   who was chosen; right?                                                          11:42AM


13   A    Yes.     Because that was that the first.      When I came in the          11:42AM


14   month of December, they've got people there, too.          But, again,          11:42AM


15   they chose.     I never asked them for that.      I never asked them to         11:42AM


16   go forward that.     They preferred me to be in a safety                        11:42AM


17   department.                                                                     11:42AM


18   Q    They preferred you.     I think that's right.      Right?                  11:42AM


19   A    Yes.     They preferred me better.                                         11:42AM


20   Q    So this jury heard on Wednesday Mr. Hemant, and I'm not                    11:42AM


21   going to ask you to compare your English to Mr. Hemant.           That's        11:43AM


22   not fair.                                                                       11:43AM


23                     But I will you, Mr. Hemant is a native Hindi                  11:43AM


24   speaker; isn't he?                                                              11:43AM


25   A    Yes.                                                                       11:43AM




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 1   Q    His mother tongue is Hindi?                                                11:43AM


 2   A    Yes.                                                                       11:43AM


 3   Q    He's from Delhi, he's a Hindi guy?                                         11:43AM


 4   A    He's a Delhi from India and he's the last group of people                  11:43AM


 5   came to Signal.                                                                 11:43AM


 6   Q    Right, right.                                                              11:43AM


 7                    But I'm just saying, when he got to Signal, he was             11:43AM


 8   able to speak Hindi; right?                                                     11:43AM


 9   A    Yeah.    He can speck Hindi.                                               11:43AM


10   Q    He reads and writes Hindi as well, in your experience and                  11:43AM


11   observation; right?                                                             11:43AM


12   A    Yes.                                                                       11:43AM


13   Q    And I think you said that you sought his assistance on some                11:43AM


14   projects earlier, so he probably reads and writes Hindi better                  11:43AM


15   than you; right?                                                                11:43AM


16   A    Right.                                                                     11:43AM


17   Q    So he just as well could have been chosen to be a translator               11:43AM


18   for Signal instead of you; couldn't he?                                         11:43AM


19   A    Before he came, I became a translator to Signal.         Before he         11:43AM


20   arrived, I was a translator.                                                    11:43AM


21   Q    Okay.    Understood.                                                       11:44AM


22                    Now, you mentioned that you were asked to                      11:44AM


23   translate a safety sign from English into Hindi; correct?                       11:44AM


24   A    Correct.                                                                   11:44AM


25   Q    But, when you were given that assignment, you found it to be               11:44AM




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 1   challenging; correct?                                                           11:44AM


 2   A    It's not like challenges like there's one big page for all                 11:44AM


 3   of India.    That's sort of in my mind, is the people who can read              11:44AM


 4   Hindi, that can be an advantage to them, too.                                   11:44AM


 5   Q    I'm sorry, let me ask that a different way that's maybe more               11:44AM


 6   clear.                                                                          11:44AM


 7                     You found the assignment to you that was given to             11:44AM


 8   you, the request to translate this sign from English into                       11:44AM


 9   written Hindi, you found that to be a difficult assignment for                  11:44AM


10   you to do; right?                                                               11:44AM


11   A    They asked me that I can write in Hindi.           So I said:   No, I      11:44AM


12   can't write Hindi.       I can speak Hindi.    And my boss asked me             11:44AM


13   that there's any one of your Indians can write Hindi.                           11:44AM


14   Q    So you can't write Hindi; is that what you're saying?                      11:44AM


15   A    Yes.                                                                       11:45AM


16   Q    And you can't read Hindi?                                                  11:45AM


17   A    No.                                                                        11:45AM


18   Q    So you can't write in Hindi and you can't write in Hindi.                  11:45AM


19   So you reached out to Mr. Hemant and others to help you with                    11:45AM


20   this assignment.                                                                11:45AM


21   A    I asked them can you help me out.                                          11:45AM


22   Q    Of course.    You asked can they help you --                               11:45AM


23               THE COURT:    Slow down a little bit.                               11:45AM


24   BY MR. BHATNAGAR:                                                               11:45AM


25   Q    You asked them if they can help you out?                                   11:45AM




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 1   A    Yeah.                                                                      11:45AM


 2   Q    And they agreed?                                                           11:45AM


 3   A    Hemant was -- he came forward.                                             11:45AM


 4   Q    And, in fact, Hemant did the translation for you; and, as a                11:45AM


 5   result, the sign was created; correct?                                          11:45AM


 6   A    Yeah.   He gave the things to have translated into English to              11:45AM


 7   the Hindi words, Indian words.       So that as meaning came out on             11:45AM


 8   the walls.                                                                      11:45AM


 9   Q    Okay.                                                                      11:45AM


10                     But, even after that, Signal never asked Mr.                  11:45AM


11   Hemant to be a translator; did they?                                            11:45AM


12   A    No.                                                                        11:45AM


13   Q    No.                                                                        11:45AM


14                     So let me ask you a bit about your translation                11:45AM


15   work for Signal, Mr. Ramesh.       You were the eyes and ears of the            11:45AM


16   company; right?                                                                 11:46AM


17   A    Say again?                                                                 11:46AM


18   Q    You were the eyes and ears of the company?                                 11:46AM


19   A    No.   How can I be eyes and ears to the company?                           11:46AM


20   Q    Okay.                                                                      11:46AM


21                     You were paid to translate.     You were paid to              11:46AM


22   listen from one side and then speak to the other side; correct?                 11:46AM


23   A    They not paid me any special price or special rate to                      11:46AM


24   translate.     They be trying to ask me to translate when I'm like              11:46AM


25   working out.     Like my shift starts morning at 6 and ends by 5 or             11:46AM




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 1   5:30.    And, in the meantime, they needs me, they ask me to do                 11:46AM


 2   this, I used to do it.                                                          11:46AM


 3   Q    I think we're saying the same thing.        I understand.                  11:46AM


 4                    So you spoke both to the Indian H-2B workers as                11:46AM


 5   well as to Signal management pretty much every day?                             11:46AM


 6   A    On the same spot.                                                          11:46AM


 7   Q    On the same spot, every day?                                               11:46AM


 8   A    Whenever required.                                                         11:46AM


 9   Q    And you spent hours sitting with Darrell Snyder in the                     11:46AM


10   shack, hearing individual complaints from Indian workers as                     11:46AM


11   well; right?     Or individual issues with Indian workers as well;              11:47AM


12   correct?                                                                        11:47AM


13   A    Yes.    I want to explain to you about that.                               11:47AM


14                    After the end of my shift, the starting, a lot                 11:47AM


15   Indians, they had the problems with their passports and stuff                   11:47AM


16   like that.     So I have, after 5:30, 6 o'clock, Darrell Snyder                 11:47AM


17   used to come to the TV hall.       And that's after the job.      We're         11:47AM


18   finished, my schedule has been done.        But, still, the people              11:47AM


19   wants to come and talk to Darrell to help me out of this.           And         11:47AM


20   people used to ask me, Indians asked me to help me out in that                  11:47AM


21   way, too.    So we used to stick around a couple of hours, free of              11:47AM


22   cost.    They never paid a single dollar to me.                                 11:47AM


23   Q    So you spent a lot of time sitting with Darrell Snyder?                    11:47AM


24   A    With Indians, too.                                                         11:47AM


25   Q    With Indians, too.                                                         11:47AM




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 1                    But with Indians, too, along with Darrell Snyder.              11:47AM


 2   A    Only on the particular spots only.                                         11:47AM


 3   Q    And you would acknowledge that you spent more time with                    11:47AM


 4   Darrell Snyder than virtually any other Indian H-2B workers;                    11:48AM


 5   correct?                                                                        11:48AM


 6   A    No.   I been on both side.     I mean, even there, I was there             11:48AM


 7   whenever they want me with there.        But not much with Darrell,             11:48AM


 8   not much with company, nothing.       They need, they used to call me           11:48AM


 9   to finish up that assignment or translate or done whatever the                  11:48AM


10   problem is.                                                                     11:48AM


11   Q    So Signal would ask you to send messages to the workers:                   11:48AM


12   This is what the management is saying, can you please pass this                 11:48AM


13   information to the workers.       Right?   They would do that;                  11:48AM


14   correct?                                                                        11:48AM


15   A    No, no.   Anything important.      Like, not messages.                     11:48AM


16                    What you do mean like messages?                                11:48AM


17   Q    There might be some instruction that's coming from Signal                  11:48AM


18   management regarding the workers.        Tomorrow, please remember              11:48AM


19   that X meeting is happening; right?        You might be asked to pass           11:48AM


20   a message from Signal management to the Indian workers.           As a          11:48AM


21   translator, that might be what you'd be asked to do?                            11:48AM


22   A    No.   The managers there already.      They would post the sign            11:48AM


23   or they let them know we're going to have a meeting tomorrow                    11:48AM


24   morning at 5:30 or 6 o'clock in the cafeteria.          And by the time         11:48AM


25   when we all gather, for example.        So they used to asked me to             11:49AM




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 1   stand and talk.       Then I'll talk.    If they asked me they want to          11:49AM


 2   have a meeting at 2:00 o'clock in the afternoon, they used to                   11:49AM


 3   call me to translate with the Indian people.                                    11:49AM


 4   Q      But even on March 9th, for example, you were asked to meet               11:49AM


 5   with a couple of other Indian workers with management; right?                   11:49AM


 6   A      They asked to know what's happening.       Then wanted to know --        11:49AM


 7   Q      They wanted to know from you what's happening with the                   11:49AM


 8   Indian workers; right?                                                          11:49AM


 9   A      Not with me.    They asked with me along with someone else,              11:49AM


10   too.                                                                            11:49AM


11   Q      With you and one other person?                                           11:49AM


12   A      Yes.                                                                     11:49AM


13   Q      So they asked you and one other person to meet with them on              11:49AM


14   March 9th after Sabulal cut himself?                                            11:49AM


15   A      Yes.                                                                     11:49AM


16   Q      They asked to meet with you and one other worker to tell                 11:49AM


17   them what's happening?                                                          11:49AM


18   A      I don't know -- that's what they asked us to come and talk               11:49AM


19   to them.                                                                        11:49AM


20   Q      That's what they asked you to do?                                        11:49AM


21   A      Not me.   They asked me and a couple more guys along with me,            11:49AM


22   too.                                                                            11:49AM


23   Q      Okay.   That's fine.                                                     11:49AM


24                     So you would also be asked by them to give                    11:49AM


25   messages backs to other Indian workers; right?                                  11:50AM




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 1   A    No.   That's not -- that's not messages.           No.                     11:50AM


 2   Q    All right.    We'll move on.                                               11:50AM


 3                     So, in your experience at Signal, prior to March              11:50AM


 4   of 2000 -- you're aware this lawsuit was filed in March of 2008;                11:50AM


 5   right?                                                                          11:50AM


 6   A    Something I heard like that.                                               11:50AM


 7   Q    Okay.                                                                      11:50AM


 8                     Prior to March of 2008 when this lawsuit was                  11:50AM


 9   filed, you never heard anyone at Signal non-Indian workers but                  11:50AM


10   the other Signal workers, you never heard anyone at Signal make                 11:50AM


11   discriminatory and disparaging statements about Indian people;                  11:50AM


12   right?                                                                          11:50AM


13   A    Repeat one more time.                                                      11:50AM


14   Q    Sure.                                                                      11:50AM


15                     In your time at Signal before this lawsuit was                11:50AM


16   filed, you never heard anyone at Signal make discriminatory or                  11:50AM


17   disparaging statements about Indian workers; right?                             11:50AM


18   A    Right, no.                                                                 11:50AM


19   Q    Never heard that?                                                          11:50AM


20   A    I have never heard by the time.                                            11:51AM


21   Q    And you never heard other workers telling you about those                  11:51AM


22   statements either; right?                                                       11:51AM


23   A    Yes, no.                                                                   11:51AM


24   Q    You're agreeing with me?                                                   11:51AM


25   A    Say again?                                                                 11:51AM




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 1   Q    You're agreeing with me.      You said yes, no.       I just want to       11:51AM


 2   make sure it's clear.                                                           11:51AM


 3   A    No, no, no.    I didn't get the question.          Can you repeat one      11:51AM


 4   more time?                                                                      11:51AM


 5   Q    You never heard other Indian workers telling you that they                 11:51AM


 6   had heard disparaging statements made about Indians?                            11:51AM


 7   A    No Indians said to me like that.                                           11:51AM


 8   Q    No one said that to you?                                                   11:51AM


 9   A    Yeah.                                                                      11:51AM


10   Q    So you have no knowledge of anyone at Signal saying that                   11:51AM


11   Indians were behaving like animals you; never heard that?                       11:51AM


12   A    I never heard that.                                                        11:51AM


13   Q    And you have no knowledge of anyone at Signal referring to                 11:51AM


14   the Indian man camp as the reservation; right?                                  11:51AM


15   A    Man camp as a reservation.                                                 11:51AM


16   Q    As the reservation, you never heard anyone at Signal call                  11:51AM


17   the man camp the reservation?                                                   11:51AM


18   A    In front of me, I never heard anything like that.           But I          11:51AM


19   don't know how this came out from Indians.          There's nothing I           11:52AM


20   heard from Signal management or from Indian side that's the word                11:52AM


21   you are trying to say just now.                                                 11:52AM


22   Q    You never heard the term reservations?                                     11:52AM


23   A    I never heard that much words, that many words.                            11:52AM


24   Q    And you never heard anyone at Signal advising other Signal                 11:52AM


25   employees not to shake hands with Indian people; right?                         11:52AM




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 1   A    No.    Everyone shake hands first thing in the morning when we             11:52AM


 2   go to the company, when the gang box meetings:            Hey, how are          11:52AM


 3   you, what's up buddy?       That's the fashion that we say there.               11:52AM


 4   Q    And you never heard anyone at Signal expressing the view                   11:52AM


 5   that in India people were pooping in ditches out in public?              You    11:52AM


 6   never heard anything like that; right?                                          11:52AM


 7   A    No.                                                                        11:52AM


 8   Q    No?    Okay.                                                               11:52AM


 9                       And you have no knowledge of anyone at Signal               11:52AM


10   expressing the view that the whole country of India smelled;                    11:52AM


11   right?     You never heard that?                                                11:52AM


12   A    The whole country smelled?        No, I never heard.     If I heard,       11:52AM


13   I will defend that.       Because I'm from India, too.                          11:53AM


14   Q    If you heard that, you would defend that, because you're                   11:53AM


15   from India, too?                                                                11:53AM


16   A    Yeah.    Yeah.    I'm from India.                                          11:53AM


17   Q    And you have no knowledge of anyone at Signal expressing the               11:53AM


18   view that, quote:       If the country smells, the people are going             11:53AM


19   to smell the same as the country.          Right?   You never heard that?       11:53AM


20   A    No.    That just first time I heard it from you.         I mean, I         11:53AM


21   have never heard anything there.                                                11:53AM


22   Q    And you think --                                                           11:53AM


23   A    That's what I said.       Like, I'm also from India.                       11:53AM


24   Q    Would you call that a disparaging statement?                               11:53AM


25   A    If somebody said it.                                                       11:53AM




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 1                       But I never heard it.                                       11:53AM


 2   Q    But, if somebody said that, you would find that pretty                     11:53AM


 3   offensive.                                                                      11:53AM


 4   A    No doubt.                                                                  11:53AM


 5                       But I never heard.    That's what I'm trying to say.        11:53AM


 6   Q    I understand.                                                              11:53AM


 7                       But, if you heard it, you would find it offensive?          11:53AM


 8   A    I would talk, definitely.                                                  11:53AM


 9   Q    Okay.                                                                      11:53AM


10                       Let me ask you about threats.         Threats that were     11:53AM


11   made -- I think your lawyer, Ms. Bollman, asked you about                       11:53AM


12   whether or not you thought that -- whether or not you had ever                  11:53AM


13   heard threats at Signal.        Do you remember that?                           11:54AM


14   A    Yes.                                                                       11:54AM


15   Q    So is it your testimony that, prior to this lawsuit being                  11:54AM


16   filed, you never heard anyone at Signal threaten Indian workers                 11:54AM


17   with deportation?                                                               11:54AM


18   A    No.                                                                        11:54AM


19   Q    No?    Okay.                                                               11:54AM


20                       And you -- I'm sorry?                                       11:54AM


21   A    I never heard nothing about that.                                          11:54AM


22   Q    Never heard nothing about that.         All right.                         11:54AM


23   A    And one thing I want to tell you is I'm just an employee.                  11:54AM


24   And they -- whatever they want to talk to them, just I used to                  11:54AM


25   talk to them.       Like, I am not involved in anything.         I'm just an    11:54AM




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 1   ordinary like other Indians in the company.                                     11:54AM


 2   Q    Okay.                                                                      11:54AM


 3                    So you have no knowledge of anyone at Signal                   11:54AM


 4   telling the Indian workers at a meeting, quote:          This is                11:54AM


 5   America, this is not your India, if you want to stay in this                    11:54AM


 6   country, shut up, keep quiet and sit down.          You never heard that        11:54AM


 7   before?                                                                         11:54AM


 8   A    Now, in the meetings, they never said shut up and sit down.                11:54AM


 9                    While using while they're having cafeteria                     11:54AM


10   meeting.     And, cafeteria meeting, they put ten, twelve people                11:55AM


11   try to ask questions to people whoever talking there.          And they         11:55AM


12   tell them one-by-one, if you ask the questions, then we can                     11:55AM


13   answer it.    And we can hear properly what you all wanted to do.               11:55AM


14   I mean, what you all are asking.                                                11:55AM


15   Q    So you did hear the last thing I said; is that correct?             The    11:55AM


16   last question I just asked you, you did hear that statement?                    11:55AM


17   A    No.   Nobody said shut up and sit down.        No way.   Because I'm       11:55AM


18   standing there, too, at that meetings.                                          11:55AM


19                    But, in that cafeteria meetings like, like again,              11:55AM


20   like big meetings or minor meetings with Indians, anything else,                11:55AM


21   with Signal, I have never heard that at all.                                    11:55AM


22   Q    Okay.                                                                      11:55AM


23                    And you have no knowledge of anyone in Signal                  11:55AM


24   senior management telling Indian H-2B workers that they should                  11:55AM


25   think very carefully about suing Signal; right?                                 11:55AM




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 1   A    No.                                                                        11:55AM


 2   Q    You never heard someone say that if the Indian workers did                 11:55AM


 3   file a lawsuit that Signal would not be doing any visa                          11:56AM


 4   extensions and that the H-2B program would be terminated on July                11:56AM


 5   31, 2007?                                                                       11:56AM


 6   A    I translated some meeting what Ms. Bollman said like.                      11:56AM


 7                    But, until that day, I don't know what's this                  11:56AM


 8   suing company or I don't know nothing about rest of the Indians                 11:56AM


 9   or the deal is.                                                                 11:56AM


10   Q    My question is a much more simple question.         My question is:        11:56AM


11   Did you hear those words being spoken?                                          11:56AM


12   A    I don't remember exactly.                                                  11:56AM


13   Q    You don't remember, okay.                                                  11:56AM


14                    If someone had said those things, meaning if                   11:56AM


15   someone had said:     If you sue Signal there will be no visa                   11:56AM


16   extensions and the H-2B program will terminate on July 31, 2007,                11:56AM


17   would you consider that to be a threat?                                         11:56AM


18   A    I don't consider it as a threat.                                           11:56AM


19                    But, if that's the situation comes, as Indian and              11:56AM


20   rest of the Indians, we can talk and we can talk -- we can do                   11:57AM


21   what best solution that way.       If I'm going I think that way.         If    11:57AM


22   the situation comes bad or different way, like nobody can stop                  11:57AM


23   the 31st of July, if they want to extend, extend visa.           In the         11:57AM


24   meantime, they said we're going to do extension, extension.              And    11:57AM


25   I never thought that would be a trick.                                          11:57AM




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 1   Q    But were you worried.     I mean, you certainly would be                   11:57AM


 2   worried if someone told you:       Mr. Ramesh, if you don't do X, Y,            11:57AM


 3   Z, you're not going to get a visa extension on July 31st.                       11:57AM


 4   Right?    That would worry you?                                                 11:57AM


 5   A    I mean, I never thought that much about the time lag.                      11:57AM


 6   Because I don't thought the 12th -- because along with me, along                11:57AM


 7   with Ramesh, they've got some more Indians by the time, too.                    11:57AM


 8   Q    Okay.   So they got some more Indians, is what they did?                   11:57AM


 9   A    Yeah.   When you saying that the 12th is everybody going to                11:57AM


10   listen, right.                                                                  11:57AM


11   Q    So you mentioned that you were a translator for the March                  11:57AM


12   8th, 2007 speech that Mr. Ron Schnoor gave to the workers;                      11:58AM


13   right?                                                                          11:58AM


14   A    Yes.                                                                       11:58AM


15   Q    And, as a translator, you heard the words that he said and                 11:58AM


16   you spoke those words to the Indian workers; right?                             11:58AM


17   A    Yeah.   As much as I can.                                                  11:58AM


18   Q    As much as you can.                                                        11:58AM


19   A    Exactly.                                                                   11:58AM


20   Q    To the best of your ability?                                               11:58AM


21   A    To the best of ability with me.       And, by that time, there             11:58AM


22   was a Malayalam translator, too.        But what he said in Malayalam,          11:58AM


23   I don't know.                                                                   11:58AM


24   Q    Understood.                                                                11:58AM


25                    Let's talk about conditions.       You heard the               11:58AM




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 1   workers complaining about the conditions at Signal; correct?                    11:58AM


 2   A    Yes.    There were bunks.    A lot of people in bunkhouses.         And    11:58AM


 3   about food.                                                                     11:58AM


 4                    And, every time when we tried to tell to the                   11:58AM


 5   management, they said taken care of; they need some time to                     11:58AM


 6   solve the problems.                                                             11:58AM


 7   Q    And you shared those complaints; didn't you?                               11:58AM


 8   A    Yeah.                                                                      11:58AM


 9   Q    Let me ask it another way.                                                 11:58AM


10                    Did you agree with those complaints?                           11:58AM


11   A    Yeah.    About the bunkhouses and the beds, yes.                           11:59AM


12   Q    You also heard complaints about the sanitation, meaning the                11:59AM


13   water, the toilets, the sanitation facilities.          You are heard           11:59AM


14   complaints about that, too; right?                                              11:59AM


15   A    I didn't heard about that.      But I think that went straight             11:59AM


16   to the camp managers, I believe.                                                11:59AM


17   Q    Would you have agreed with those complaints about flooding                 11:59AM


18   and sanitation and toilets and showers?                                         11:59AM


19   A    If it's that flooding like toilets or something, we must get               11:59AM


20   that to the company to the camp managers, whoever taking care of                11:59AM


21   camp.                                                                           11:59AM


22   Q    My question is:     Would you have agreed with those                       11:59AM


23   complaints?                                                                     11:59AM


24   A    If it is sanitary, yes.                                                    11:59AM


25   Q    You also heard complaints about the $35 per day deduction;                 11:59AM




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 1   right?                                                                          11:59AM


 2   A    Yeah.                                                                      11:59AM


 3   Q    And did you also have a complaint about paying $35 a day, or               11:59AM


 4   was that okay with you?                                                         11:59AM


 5   A    It's okay for me.     Because -- I want to explain what there.             11:59AM


 6   In India, already agent said that they are going to get a                       12:00PM


 7   deduction of $35 day for food and accommodation.          I didn't mind         12:00PM


 8   about that.    Like, it's okay for me.                                          12:00PM


 9   Q    Mr. Dewan told you that you were going to have a $35 day                   12:00PM


10   deduction; right?                                                               12:00PM


11   A    Me and the group of people leaving that evening.         I already         12:00PM


12   had testified to that before.                                                   12:00PM


13   Q    Right.                                                                     12:00PM


14                     He told you and he told the group -- your                     12:00PM


15   testimony is --                                                                 12:00PM


16   A    Everyone in that group.                                                    12:00PM


17   Q    Your testimony is he told you --                                           12:00PM


18   A    Yes.                                                                       12:00PM


19   Q    -- and the rest of the group that you were with, who were                  12:00PM


20   all leaving India, about the $35 a day deduction; right?                        12:00PM


21   A    Yes.                                                                       12:00PM


22   Q    And he told you hours before you were going to get on your                 12:00PM


23   plane; right?                                                                   12:00PM


24   A    Say again.                                                                 12:00PM


25   Q    He told you hours, just a few hours before you were going to               12:00PM




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 1   get on the your plane?                                                          12:00PM


 2   A    Yes.                                                                       12:00PM


 3   Q    So, if you had a concern about the $35 a day deduction, you                12:00PM


 4   were not in a position to do anything about it; you were?                       12:01PM


 5   A    I didn't thought that.      Because I -- usually if I go there,            12:01PM


 6   some companies will give food, some companies we should cook our                12:01PM


 7   foods.    So that's what my experience is.                                      12:01PM


 8   Q    Right.                                                                     12:01PM


 9                    But nowhere that you'd ever been had you been                  12:01PM


10   charged $35 a day; had you?                                                     12:01PM


11   A    Where?                                                                     12:01PM


12   Q    Nowhere that you had ever worked internationally had you                   12:01PM


13   ever been charged $35 per day as a deduction; had you?                          12:01PM


14   A    When I in Singapore, I used to cook.        And I used to spend my         12:01PM


15   money for cooking and eat.       And they used to deduct for the                12:01PM


16   accommodation.                                                                  12:01PM


17   Q    I appreciate that.     That's a little bit of a different                  12:01PM


18   answer than the question that I'm asking.                                       12:01PM


19                    You have not worked anywhere else internationally              12:01PM


20   where $35 per day came out of your salary?                                      12:01PM


21   A    Oh, no.                                                                    12:01PM


22   Q    No, okay.                                                                  12:01PM


23                    So, when you first moved into the Signal man camp              12:01PM


24   in December of 2006, counting yourself, you had twenty men who                  12:01PM


25   lived in your bunkhouse; correct?                                               12:02PM




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 1   A    Roughly eighteen or twenty, I said.                                        12:02PM


 2   Q    Okay.                                                                      12:02PM


 3                     And when you gave your deposition in 2008 --                  12:02PM


 4   sorry -- 2009, January, I believe you testified that there were                 12:02PM


 5   only two men remaining in your bunkhouse; is that right?                        12:02PM


 6   A    At the last program, end of the H-2B, that's what you're                   12:02PM


 7   asking now?                                                                     12:02PM


 8   Q    I'm saying, when you gave your deposition in January of                    12:02PM


 9   2009, you testified that there were only two men remaining in                   12:02PM


10   your bunkhouse.     Is that correct?                                            12:02PM


11   A    It's last.                                                                 12:02PM


12                     But, in the startings, 2007 and eight, we used to             12:02PM


13   be eighteen people.      Nobody wants to move from the bunkhouse.               12:02PM


14   Q    But, in 2009, January, there were two or three guys --                     12:02PM


15   A    Two or three, whatever you said, yeah.         Because everyone            12:02PM


16   going back to India left.      The people that wants to go back to              12:02PM


17   India, they gone.     And --                                                    12:03PM


18   Q    So let's talk about -- we saw the picture on the screen that               12:03PM


19   Ms. Bollman showed you of you playing cricket at family day.              Do    12:03PM


20   you remember that?                                                              12:03PM


21   A    Yes.                                                                       12:03PM


22   Q    Now, you started at Signal in November of 2006; correct?                   12:03PM


23   A    Correct.                                                                   12:03PM


24   Q    And this lawsuit was filed in March of 2008; right?                        12:03PM


25   A    Right.                                                                     12:03PM




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 1   Q    And, in that sixteen month period, that's the only time that               12:03PM


 2   you ever played cricket?                                                        12:03PM


 3   A    Yeah.    Yes.                                                              12:03PM


 4   Q    Okay.                                                                      12:03PM


 5   A    We don't have that much of time to play.                                   12:03PM


 6   Q    Understood.                                                                12:03PM


 7                     In 2008, Signal made a decision to recruit new                12:03PM


 8   Indian H-2B workers to come to the company; right?                              12:03PM


 9   A    Right.                                                                     12:03PM


10   Q    And your father was part of that recruitment; wasn't he?                   12:03PM


11   A    No.                                                                        12:03PM


12   Q    Your father had nothing to do with the recruitment?                        12:03PM


13   A    No.                                                                        12:03PM


14                     My father took my cousin and a few more people to             12:04PM


15   Mumbia.                                                                         12:04PM


16   Q    So --                                                                      12:04PM


17   A    Selection.                                                                 12:04PM


18   Q    Are you aware of reports to Signal --                                      12:04PM


19   A    Say again.                                                                 12:04PM


20   Q    Are you aware of reports to Signal that your father was                    12:04PM


21   involved in the recruitment of Indian H-2B workers?                             12:04PM


22   A    No.                                                                        12:04PM


23   Q    You're not aware of that?                                                  12:04PM


24   A    He's not a recruiter there, no.                                            12:04PM


25   Q    Okay.                                                                      12:04PM




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 1              MR. BHATNAGAR:    Can we pull up Exhibit No. 913, please.            12:04PM


 2   BY MR. BHATNAGAR:                                                               12:04PM


 3   Q    Mr. Ramesh, this is an email.       I'm going see if this helps            12:04PM


 4   refresh your recollection as to whether or not you personally                   12:04PM


 5   were aware of any of these reports.        And you're not a party to            12:04PM


 6   this email so I'm only going to ask you about the accuracy of                   12:04PM


 7   what's contained therein.      And I'll give you a second to look at            12:04PM


 8   the document.                                                                   12:04PM


 9                    It's an email chain between Mr. Darrell Snyder and             12:04PM


10   Ms. Rhonda George.                                                              12:05PM


11                    Can you say who Rhonda George is again?                        12:05PM


12              MS. BOLLMAN:    Objection, Your Honor.       Foundation.             12:05PM


13              THE COURT:    So he's -- just a second.       So he didn't           12:05PM


14   write the email or receive it?                                                  12:05PM


15              MR. BHATNAGAR:    He did not write or receive the email.             12:05PM


16   But he and his father are referred to, and I just want to ask                   12:05PM


17   him about the accuracy.                                                         12:05PM


18              THE COURT:    You can ask him about those facts but take             12:05PM


19   it down.    Take the exhibit down.                                              12:05PM


20              MR. BHATNAGAR:    Oh, sure.    Okay.                                 12:05PM


21   BY MR. BHATNAGAR:                                                               12:05PM


22   Q    So, Mr. Ramesh, if I told you that Rhonda George wrote to                  12:05PM


23   Darrell Snyder, quote:      Rumor on the home front is that Ramesh's            12:05PM


24   dad was standing out front and anyone that wanted in to                         12:05PM


25   interview with Signal in (CU) had to pay dad to get inside.                     12:05PM




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 1   I've been trying to find out the amount he was collecting.                      12:06PM


 2                    Would that refresh your recollection as to whether             12:06PM


 3   or not you were aware of reports that your father was involved                  12:06PM


 4   in H-2B recruiting in India to come to Signal?                                  12:06PM


 5   A    No.                                                                        12:06PM


 6   Q    No?                                                                        12:06PM


 7   A    I want to explain to you that.                                             12:06PM


 8   Q    Please.                                                                    12:06PM


 9   A    My father is not a recruiter there.        And there was a testing         12:06PM


10   facilities going on for the test for pipe, welder.          They should         12:06PM


11   pay a test fee there.      So they got my cousin, my brother and a              12:06PM


12   few other friends, they went there.        They might be paying the             12:06PM


13   testing fees.     That's what my dad said.      That he is not an agent         12:06PM


14   or he's not H-2B recruiter.                                                     12:06PM


15   Q    Was your dad collecting fees from any of the applicants?                   12:06PM


16   A    No.                                                                        12:06PM


17   Q    No?                                                                        12:06PM


18   A    He's collected to pay that for my brother for his pipe test.               12:06PM


19   Q    So I'm going read you another email from Ms. George, and                   12:06PM


20   also you can let me know if this refreshes your recollection;                   12:07PM


21   okay?                                                                           12:07PM


22                    This is again from Rhonda George to Darrell                    12:07PM


23   Snyder:    Additional word is if they got by, quote, dad it costs               12:07PM


24   $8,000 to the agent to get a job here.         If dad -- in quotes              12:07PM


25   again -- stopped them, he collected $12,000 and gave $8,000 to                  12:07PM




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 1   the agent and pocketed $4,000.           Word has it that dad -- in               12:07PM


 2   quotes again -- got money from thirty guys.                 That a tidy sum for   12:07PM


 3   dad if it is true.         This just kind of fit in with what you said            12:07PM


 4   about meeting Ramesh's dad one day and you not knowing why he                     12:07PM


 5   kept hanging out around front.           He supposedly told them, if they         12:07PM


 6   paid him, that his son was a big man with the company and                         12:07PM


 7   because of this he could get help them get on with the Signal                     12:07PM


 8   quicker/easier.                                                                   12:07PM


 9                      Does that refreshing your recollection?                        12:07PM


10   A      No.                                                                        12:07PM


11   Q      Are those statements inaccurate?                                           12:07PM


12   A      My dad never said anything else.         I don't know why his name         12:08PM


13   came up.                                                                          12:08PM


14   Q      So your dad never collected any money --                                   12:08PM


15   A      No.                                                                        12:08PM


16   Q      -- from Indian H-2B recruits?                                              12:08PM


17   A      No.                                                                        12:08PM


18   Q      And your dad never stood outside an H-2B recruiting or                     12:08PM


19   testing facility?                                                                 12:08PM


20   A      No.    Just was standing there to go do tests at the facility              12:08PM


21   there.       That's it.                                                           12:08PM


22   Q      So, if I told you that Rhonda George sent that email, you'd                12:08PM


23   say that she was mistaken; right?                                                 12:08PM


24   A      Might be.    But -- I never had that confrontation with my                 12:08PM


25   dad.    I have nothing else.        He passed away in August.                     12:08PM




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 1   Q    Were you a big man with the company?                                       12:08PM


 2   A    No.   I'm a zero man with the company.                                     12:08PM


 3   Q    You're a zero man with a company?                                          12:08PM


 4   A    Yeah.    As an Indian.   And as a worker like the rest of the              12:08PM


 5   workers in the company.                                                         12:08PM


 6   Q    So why were you a zero man with the company as an Indian?                  12:08PM


 7   A    No.   You said I'm a big man.      That's what I'm saying, like            12:08PM


 8   I'm just a normal work, as usually the rest of the workers                      12:08PM


 9   there.                                                                          12:08PM


10   Q    So let's move on to, Ms. Bollman asked you about the green                 12:08PM


11   card issue.                                                                     12:09PM


12                     She mentioned that Signal told you that they would            12:09PM


13   sponsor you for a guard; right?                                                 12:09PM


14   A    Say again?                                                                 12:09PM


15   Q    Signal told you at some point in 2008 that they would                      12:09PM


16   sponsor you for a green card.                                                   12:09PM


17                THE COURT:   Mr. Bhatnagar, this might be a good time to           12:09PM


18   take our lunch break, if you're switching topics in your                        12:09PM


19   testimony.                                                                      12:09PM


20                     Let's do that.   We'll come back at 1:10.                     12:09PM


21                     I want to remind you to comply with all the                   12:09PM


22   instructions that you've given you earlier.                                     12:09PM


23                     (Jury exits.)                                                 12:09PM


24                THE COURT:   So I think we've dealt with everything that           12:10PM


25   we needed to for this afternoon, so I'll see you all at 1:10.                   12:10PM




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 1                    (Proceedings in recess.)                                       12:10PM


 2

 3

 4                                  CERTIFICATE

 5

 6
                         I, Susan A. Zielie, Official Court Reporter,
 7   do hereby certify that the foregoing transcript is correct.

 8

 9
                                          /S/ SUSAN A. ZIELIE, FCRR
10                                         ____________________________
                                            Susan A. Zielie, FCRR
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